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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
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10    IN RE: Bard IVC Filters Products              No. MDL 15-02641-PHX-DGC
      Liability Litigation,
11
                                                    SUGGESTION OF REMAND AND
12                                                  TRANSFER ORDER
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14
15           This multidistrict litigation proceeding (“MDL”) involves personal injury cases
16    brought against Defendants C. R. Bard, Inc. and Bard Peripheral Vascular, Inc.
17    (collectively, “Bard”).   Bard manufactures and markets medical devices, including
18    inferior vena cava (“IVC”) filters. The MDL Plaintiffs have received implants of Bard
19    IVC filters and claim they are defective and have caused Plaintiffs to suffer serious injury
20    or death.
21           The MDL was transferred to this Court in August 2015 when 22 cases had been
22    filed. Doc. 1. More than 8,000 cases had been filed when the MDL closed to new cases
23    on May 31, 2019. Docs. 18079, 18128. Thousands of cases pending in the MDL have
24    settled in principle or are near settlement. See Docs. 16343, 19445, 19798-1, -2. The
25    remaining cases no longer benefit from centralized proceedings and are subject to remand
26    or transfer.
27           The cases listed on Schedule A, which were transferred to this MDL by the United
28    States Judicial Panel for Multidistrict Litigation (the “Panel”), should be remanded to the
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 1    transferor courts pursuant to 28 U.S.C. § 1407(a). The Court therefore provides this
 2    Suggestion of Remand to the Panel.1 The cases listed on Schedule B, which were
 3    directly filed in this MDL, will be transferred to appropriate districts pursuant to
 4    28 U.S.C. § 1404(a).
 5             To assist the courts that receive these cases, this order will describe events that
 6    have taken place in the MDL. A copy of this order, along with the case files and
 7    materials, will be available to courts after remand or transfer.
 8    I.       Suggestion of Remand.
 9             A.    Remand Standard.
10             The power to remand MDL cases rests solely with the Panel. 28 U.S.C. § 1407(a);
11    see Lexecon Inc. v. Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26, 28 (1998).
12    The Panel typically relies on the transferee court to suggest when remand should be
13    ordered. J.P.M.L. Rule 10.1(b)(i); see In re Motor Fuel Temperature Sales Practices
14    Litig., No. 07-MD-1840-KHV, 2012 WL 1963350, at *1 (D. Kan. May 30, 2012).
15    Indeed, the Panel “is reluctant to order a remand absent the suggestion of the transferee
16    judge[.]” J.P.M.L. Rule 10.3(a); see In re Regions Morgan Keegan Sec., Derivative &
17    ERISA Litig., No. 2:09-md-2009-SHM, 2013 WL 5614285, at *2 (W.D. Tenn. Feb. 28,
18    2013). The transferee court may suggest remand when cases are “ready for trial, or . . .
19    would no longer benefit from inclusion in the coordinated or consolidated pretrial
20    proceedings.” In re Multi-Piece Rim Prods. Liab. Litig., 464 F. Supp. 969, 975 (J.P.M.L.
21    1979); see In re TMJ Implants Prods. Liab. Litig., 872 F. Supp. 1019, 1038 (D. Minn.
22    1995).
23             B.    The Panel Should Remand the Cases Listed on Schedule A.
24             The primary purposes of this MDL – coordinated pretrial discovery and resolution
25    of common issues – have been fulfilled. All common fact and expert discovery has been
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27
               The Court previously suggested the remand of ten “mature” cases that were
               1
28    nearly ready for trial when the MDL was formed. Doc. 12534.



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 1    completed.    The Court has also resolved many Daubert motions and Defendants’
 2    summary judgment motion based on preemption, as well as other summary judgment and
 3    in limine motions in the bellwether cases. Three bellwether trials were held, and the
 4    parties prepared for a fourth that settled on the eve of trial. As noted, a settlement
 5    process is in place.
 6           The MDL cases listed on Schedule A are not likely to settle soon and no longer
 7    benefit from centralized proceedings. The remaining case-specific issues in these cases
 8    are best left to the transferor courts to resolve. The Court therefore suggests that the
 9    Panel remand the cases on Schedule A to the transferor courts for further proceedings.
10    See In re TMJ Implants, 872 F. Supp. at 1038 (suggesting remand of cases that no longer
11    benefited from consolidated pretrial proceedings).
12           Defendants raise venue and personal jurisdiction objections in cases in which the
13    transferor district is not where the filter at issue was implanted. See Docs. 19445 at 4-6,
14    19445-4, 19798-3. The Court may not resolve venue issues in cases transferred by the
15    Panel under § 1407(a). See Lexecon, 523 U.S. at 39; Manual for Complex Litigation,
16    Fourth, § 20.132 n.666. And for reasons explained below, the Court finds that personal
17    jurisdiction issues are best resolved by the transferor courts.         Defendants’ right to
18    challenge venue and personal jurisdiction upon remand is preserved.
19    II.    Transfer Under 28 U.S.C. § 1404(a).
20           A.     Transfer Standard.
21           Section 1404(a) provides that “[f]or the convenience of parties and witnesses, in
22    the interest of justice, a district court may transfer any civil action to any other district or
23    division where it might have been brought or to any district or division to which all
24    parties have consented.”
25           B.     The Direct-Filed Cases Listed on Schedule B Will Be Transferred.
26           Not all MDL cases were transferred to the Court by the Panel. Pursuant to Case
27    Management Order No. 4 (“CMO 4”), many cases were filed directly in the MDL
28    through use of a short form complaint. Doc. 363 at 3 (as amended by Docs. 1108, 1485).



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 1    Plaintiffs were required to identify in the short form complaint the district where venue
 2    would be proper absent direct filing in the MDL. See id. at 7. CMO 4 provides that,
 3    upon the MDL’s closure, each pending direct-filed case shall be transferred pursuant
 4    § 1404(a) to the district identified in the short form complaint. Id. at 3.
 5                  1.      Cases Where the Parties Agree to Venue.
 6           The parties have provided a list of the direct-filed cases in which they agree to the
 7    venue identified in the short form complaint. Doc. 19798-4. The parties also agree that
 8    certain other cases should be transferred to the venue where the plaintiff was implanted
 9    with the filter and not to the venue identified in the short form complaint. Doc. 19798-5.
10    Pursuant to § 1404(a), the Court will transfer these cases to the agreed-upon districts. See
11    Lifehouse Holdings, LLC v. Certain Underwriters at Lloyd’s London, No. 13-CV-02161-
12    LHK, 2013 WL 5754381, at *1 (N.D. Cal. Oct. 23, 2013) (transferring case where the
13    “second prong of Section 1404 – consent – [was] satisfied”); In re Biomet M2a Magnum
14    Hip Implant Prods. Liab. Litig., No. 3:12-MD-2391, 2018 WL 7683307, at *1 (N.D. Ind.
15    Sept. 6, 2018) (transferring cases under § 1404(a) where they would “no longer benefit
16    from centralized proceedings[] and the remaining case-specific issues are best left to
17    decision by the courts that will try the cases”).2
18                  2.      Cases Where the Parties Disagree on Venue or Jurisdiction.
19           CMO 4 provides that, prior to transfer, Defendants may object to the district
20    specified in the short form complaint based on venue or personal jurisdiction. Id. at 4.
21    Defendants have identified cases where they intend to raise venue or jurisdiction
22    objections to Plaintiffs’ chosen forums.       See Docs. 19445 at 6, 19454-1, 19798-5.
23    Defendants do not oppose transfer of these cases to the forums chosen by Plaintiffs, but
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25
26
             2
              In one direct-filed case, Plaintiffs identified no proper venue in their short form
27    complaint. See Doc. 19798-12; Doc. 1, Maietta v. C. R. Bard, Inc., No. CV-16-04125-
      PHX-DGC (Apr. 29, 2016). This case will be transferred to the Eastern District of
28    Pennsylvania, the venue where the filter implant and alleged injuries occurred. See id.



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 1    seek to preserve their right to object to venue and personal jurisdiction upon transfer. See
 2    Doc. 19445 at 3, 6; Doc 19798-5 at 1.
 3           Plaintiffs oppose this approach, asserting that the resolution of venue and
 4    jurisdictional challenges after transfer would be inefficient. Doc. 19445 at 3. But more
 5    than a dozen cases involve potential venue or personal jurisdictional challenges. See
 6    Doc. 19798-5. Resolving such disputes generally involves consideration of case-specific
 7    factors, including the law for the forum. See Jones v. GNC Franchising, Inc., 211 F.3d
 8    495, 498 (9th Cir. 2000) (“A motion to transfer venue under § 1404(a) requires the court
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      to weigh multiple factors in its determination whether transfer is appropriate in a
10
      particular case.”); Calder v. Jones, 465 U.S. 783, 788, (1984) (in judging the minimum
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      contacts required for personal jurisdiction, “a court properly focuses on ‘the relationship
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      among the defendant, the forum, and the litigation’”) (citation omitted).           The best
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      approach is to transfer the cases to Plaintiffs’ chosen forum and allow the receiving
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      courts to address any potential venue and personal jurisdictional issues. Defendants’
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      right to object to venue and personal jurisdiction upon transfer is preserved.
16
             Plaintiffs assert that, depending on the various state savings statutes, dismissal for
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      lack of personal jurisdiction after transfer could result in timely-filed cases being barred
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      from re-filing in an appropriate district based on the statute of limitations. Doc. 19445
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20    at 3-4. But “[o]nce a district court determines that it lacks personal jurisdiction, it is

21    within its discretion to transfer the case to a court of proper jurisdiction and venue if it

22    finds that it is within the interests of justice to do so.” Romero v. Cajun Stabilizing Boats,

23    Inc., No. CIV.A.G 05 483, 2006 WL 367871, at *4 (S.D. Tex. Feb. 14, 2006) (citing 28

24    U.S.C. §§ 1406(a), 1631); see Dumitrescu v. DynCorp Int’l, LLC, 257 F. Supp. 3d 13, 20
25    (D.D.C. 2017); Goldlawr, Inc. v. Heiman, 369 U.S. 463, 466 (1962). Plaintiffs are free to
26    argue in the receiving courts that the interests of justice favor transfer rather than
27    dismissal of any timely-filed case that would be barred from re-filing if dismissed. See
28    In re Ski Train Fire In Kaprun, Austria on Nov. 11, 2000, 257 F. Supp. 2d 717, 734-35



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 1    (S.D.N.Y. 2003) (“If this case is dismissed, . . . plaintiffs will be unable to establish
 2    jurisdiction in Colorado because they will be barred from refiling in Colorado by the two
 3    year statute of limitations. To deny plaintiffs the opportunity to sue . . . defendants in a
 4    jurisdiction where they could have originally brought suit . . . solely because they
 5    selected the wrong forum at the outset of this case would be grossly unfair.”); see also
 6    Manieri v. Layirrison, No. CIV. A. 98-501, 1998 WL 458186, at *3 n.3 (E.D. La.
 7    July 31, 1998) (noting that “[t]he curative effects of §§ 1404(a), 1406(a) and 1631 were
 8
      intended to apply only in those circumstances where the action would have been timely
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      filed in the transferee court at the time of filing in the transferor court”).
10
      III.   The MDL Proceedings.
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             A summary of the MDL proceedings to date is provided below to assist courts on
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      remand, if ordered by the Panel, and courts receiving transfers under § 1404(a). CMOs,
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      discovery orders, and other significant rulings are listed in Exhibit 1. The status of the
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      remaining case-specific discovery and other pretrial issues for these cases, and the
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      estimated time needed to resolve such issues and make the cases ready for trial, will be
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      determined by the parties and reported to the district courts on remand or transfer.
17
             A.      Plaintiffs’ Claims and the Pleadings.
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             The IVC is a large vein that returns blood to the heart from the lower body. An
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      IVC filter is a small device implanted in the IVC to catch blood clots before they reach
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      the heart and lungs. This MDL involves multiple versions of Bard’s retrievable IVC
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      filters – the Recovery, G2, G2X, Eclipse, Meridian, and Denali.                  These filters are
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      umbrella-shaped devices that have multiple limbs fanning out from a cone-shaped head.
23
      The limbs consist of legs with hooks that attach to the IVC wall and curved arms to catch
24
      or break up blood clots. Each of these filters is a variation of its predecessor.3
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             3
26             In early 2019, Defendants moved to expand the scope of the MDL to include
      cases concerning Bard’s Simon Nitinol Filter (“SNF”), a permanent device that predated
27    the other filters in this litigation. The Panel denied the motion as moot because more
      than 80 SNF cases already had been filed in the MDL. Most of the SNF cases are near
28    settlement. Doc. 19547. The remaining cases are subject to remand or transfer and are



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 1           The MDL Plaintiffs allege that Bard filters are more dangerous than other IVC
 2    filters because they have higher risks of tilting, perforating the IVC, or fracturing and
 3    migrating to vital organs. Plaintiffs further allege that Bard failed to warn patients and
 4    physicians about these higher risks.   Defendants dispute these allegations, contending
 5    that Bard filters are safe and effective, that their complication rates are low and
 6    comparable to those of other IVC filters, and that the medical community is aware of the
 7    risks associated with IVC filters.
 8           CMO 2, entered October 30, 2015, required the creation of a master complaint, a
 9    master answer, and templates of short-form complaints and answers. Doc. 249 at 6. The
10    master complaint and answer were filed December 12, 2015. Docs. 364, 366. They are
11    the operative pleadings for most of the cases in this MDL.
12           The master complaint gives notice, pursuant to Rule 8, of the allegations that
13    Plaintiffs assert generally. The master complaint asserts seventeen state law claims:
14    manufacturing defect (Counts I and V); failure to warn (Counts II and VII); design defect
15    (Counts III and IV); failure to recall (Count VI); misrepresentation (Counts VIII
16    and XII); negligence per se (Count IX); breach of warranty (Counts X and XI);
17    concealment (Count XIII); consumer fraud and deceptive trade practices (Count XIV);
18    loss of consortium (Count XV); and wrongful death and survival (Counts XVI and XVII).
19    Doc. 364 at 34-63. Plaintiffs seek both compensatory and punitive damages. Id. at 63.
20           Plaintiff-specific allegations are contained in individual short-form complaints or
21    certain complaints served on Defendants before the filing of the master complaint. See
22    Docs. 249, 363, 365. Plaintiffs also provided Defendants with profile forms and fact
23    sheets that describe their individual claims and conditions. See Doc. 365.
24           B.     Case Management Orders.
25           The primary orders governing pretrial management of this MDL are a series
26    of CMOs, along with certain amendments. To date, the Court has issued 45 CMOs.
27
28    included, as appropriate, on Schedules A and B. See id.; Doc. 19798-9.



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 1    These orders are discussed below and can be found on this District’s website at
 2    http://www.azd.uscourts.gov/case-info/bard.
 3           C.     Lead Counsel.
 4           CMO 1, entered October 30, 2015, appointed Co-Lead/Liaison Counsel for
 5    Plaintiffs (“Lead Counsel”) to manage the litigation on behalf of Plaintiffs, and set out
 6    the responsibilities of Lead Counsel. Doc. 248. Plaintiffs’ Lead Counsel has changed
 7    since the inception of the MDL. Mr. Ramon Lopez, of Lopez McHugh, LLP, in Newport
 8    Beach, California, and Mr. Mark O’Connor, of Beus Gilbert PLLC, in Phoenix, Arizona,
 9    are now Lead Counsel for Plaintiffs. Doc. 5285. Mr. Richard North of Nelson Mullins
10    Riley & Scarborough, LLP, in Atlanta, Georgia, is Defendants’ Lead Counsel.
11           D.     Plaintiffs’ Steering Committee and Common Benefits Fund.
12           CMO 1 directed the selection and appointment of a Plaintiffs’ Steering Committee
13    (“PSC”) to assist in the coordination of pretrial activities and trial planning. Plaintiffs’
14    Lead Counsel and the PSC together form the Plaintiffs’ Leadership Counsel (“PLC”).
15    The PLC assists all Plaintiffs in the MDL by overseeing discovery, appearing in court,
16    attending status conferences, and preparing motions and responses regarding case-wide
17    discovery matters.    CMO 1 has been amended to select and appoint a Plaintiffs’
18    Executive Committee (“PEC”) to assist Lead Counsel in the administration, organization,
19    and strategic decisions of the PLC. Doc. 4016. The configuration of the PSC has
20    changed during the course of the litigation. See Docs. 248, 4016, 5285.
21           CMO 6, entered December 18, 2015, set forth rules, policies, procedures, and
22    guidelines for fees and expenses incurred by attorneys acting for the common benefit of
23    all MDL Plaintiffs. Doc. 372. In May 2019, the Court increased the common benefit
24    attorneys’ fees assessment from 6% to 8%, but declined to increase the 3% assessment
25    for costs. Doc. 18038.
26           E.     Status Conferences.
27           Since the inception of the MDL, the Court has held regular status conferences with
28    Lead Counsel for the parties to discuss issues related to the litigation. The initial case



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 1    management conference was held in October 2015. Doc. 246. Deadlines were set for,
 2    among other things, the filing of master and short-form pleadings, profile forms, a
 3    proposed protective order (including Rule 502 provisions), a proposed protocol
 4    governing the production of electronically stored information (“ESI”), as well as
 5    deadlines to complete first-phase MDL discovery and address privilege log issues.
 6    Doc. 249. Thereafter, the Court held periodic status conferences to ensure that the parties
 7    were on task and to address routine discovery issues and disputes. In addition to the
 8    status conferences, the Court conducted telephone hearings to address time-sensitive
 9    issues, as well as numerous additional conferences to consider various matters such as
10    dispositive motions and general case management issues.
11           F.     Discovery.
12                  1.     General Fact Discovery.
13           Prior to the establishment of this MDL, Plaintiffs’ counsel had conducted
14    substantial common discovery against Bard concerning all aspects of Bard IVC filters,
15    including the design, testing, manufacturing, marketing, labeling, and post-market
16    surveillance of these devices.       Bard produced numerous documents and ESI and
17    responded to thousands of written discovery requests, and more than 80 corporate witness
18    depositions were taken. The pre-MDL general fact discovery was made available by
19    Bard to all Plaintiffs in the MDL.
20           This MDL was formed to centralize all pretrial proceedings and complete all
21    common fact and expert discovery concerning Bard IVC filters.           Doc. 1.    CMO 8
22    established a procedure concerning re-deposing witnesses in the MDL.              Doc. 519.
23    CMO 14 established deposition protocols generally. Doc. 2239. The Court allowed
24    additional depositions of a handful of corporate witnesses that had been previously
25    deposed, as well as numerous depositions of other Bard corporate witnesses, including
26    several Rule 30(b)(6) depositions. Docs. 3685, 4311. CMO 9 governed the production
27    of ESI and hard-copy documents. Doc. 1259.
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 1           Discovery in the MDL was separated into multiple phases. The parties completed
 2    the first phase of MDL discovery in early 2016. Doc. 519. First-phase MDL discovery
 3    included production of documents related to an FDA inspection and warning letter to
 4    Bard, an updated production of complaint and adverse event files, and an updated version
 5    of Bard’s complaint database relating to IVC filters. Doc. 249. Plaintiffs also conducted
 6    a Rule 30(b)(6) deposition concerning the FDA inspection and warning letter, and a
 7    deposition of corporate witness Kay Fuller.
 8           The parties completed the second phase of MDL fact discovery in February 2017.
 9    CMO 8 set deadlines for the second phase, which included all common fact and
10    expert issues in the MDL, but not case-specific issues to be resolved after remand or
11    transfer.    Docs. 249, 519.    Second-phase discovery included extensive additional
12    discovery related to Bard’s system architecture for ESI, Bard’s ESI collection efforts, ESI
13    relating to Bard’s IVC filters, and Bard’s national and regional sales and marketing
14    practices.   Plaintiffs also deposed two corporate witnesses in connection with Kay
15    Fuller’s allegations that a submission to the FDA regarding the Recovery filter did not
16    bear her original signature. Doc. 1319 (CMO 10). Plaintiffs deposed additional corporate
17    witnesses concerning the FDA inspections and warning letter. Id.
18           Bard also produced discovery regarding the sales and marketing materials related
19    to the SNF, documents comparing filter performance and failure rates to the SNF, and
20    internal and regulatory communications relating to the SNF. Docs. 1319, 10489. The
21    Court denied Plaintiffs’ request to obtain ESI discovery from Bard’s overseas operations.
22    Doc. 3398. The Court denied Defendants’ request to discover communications between
23    Plaintiffs’ counsel and NBC news related to stories about the products at issue in this
24    litigation, and third-party financing that may be in place with respect to MDL Plaintiffs.
25    Docs. 3313, 3314.      Plaintiffs were required to produce communications between
26    Plaintiffs and the FDA related to the FDA warning letter, but the Court denied
27    Defendants’ request to depose Plaintiffs’ counsel regarding these communications.
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 1    Docs. 3312, 4339. Defendants also produced punitive damages discovery, and Plaintiffs
 2    conducted a Rule 30(b)(6) deposition related to Bard’s net worth.
 3           All common fact discovery in these cases has now been completed except for
 4    preservation depositions for certain witnesses who will not be traveling to testify live at
 5    the trials of remanded and transferred cases. The parties are engaged in the meet and
 6    confer process as to these depositions and shall complete them by September 1, 2019.
 7    See Doc. 16343 (CMO 43). Thus, courts receiving these cases need not be concerned
 8    with facilitating general fact discovery on remand or transfer.
 9                  2.     Case-Specific Discovery.
10           CMO 5 governed initial case-specific discovery and required the parties to
11    exchange abbreviated profile forms. Doc. 365 (as amended by Doc. 927). Plaintiffs were
12    required to provide Defendants with a Plaintiff profile form (“PPF”) that described their
13    individual conditions and claims. Id. at 5-9. Upon receipt of a substantially complete
14    PPF, Defendants were required to provide the individual plaintiff with a Defendants’
15    profile form (“DPF”) that disclosed information and documents concerning Defendants’
16    contacts and relationship with the plaintiff’s physicians, tracking and reporting of the
17    plaintiff’s claims, and certain manufacturing related information for the plaintiff’s filter.
18    Id. at 12-14. Completed profile forms were considered interrogatory answers under
19    Rule 33 or responses to requests for production under Rule 34, and were governed by the
20    standards applicable to written discovery under Rules 26 through 37. Id. at 2-3. CMO 5
21    also set deadlines and procedures for resolving any purported deficiencies with the
22    parties’ profile forms, and for dismissal of cases that did not provide substantially
23    completed profile forms. Id. at 2.4
24           Further discovery was conducted in a group of forty-eight cases (“Group 1”)
25    selected for consideration in the bellwether trial process from the pool of cases filed and
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             4
              The Court has dismissed certain cases where Plaintiffs failed to provide a PPF.
28    Doc. 19874.



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 1    properly served on Defendants in the MDL as of April 1, 2016 (“Initial Plaintiff Pool”).
 2    Docs. 1662, 3214, 4311 (CMOs 11, 15, 19). Plaintiffs in Group 1 were required to
 3    provide Defendants with a Plaintiff fact sheet (“PFS”) that described their individual
 4    conditions and claims in greater detail, and provided detailed disclosures concerning their
 5    individual background, medical history, insurance, fact witnesses, prior claims, and
 6    relevant documents and records authorizations. Docs. 1153-1, 1662 at 3.
 7           Upon receipt of a PFS, Defendants were required to provide the individual
 8    plaintiff with a Defendants fact sheet (“DFS”) that disclosed in greater detail information
 9    concerning Defendants’ contacts and relationship with the plaintiff, plaintiff’s physicians,
10    or anyone on behalf of the plaintiff, Defendants’ tracking and reporting of the plaintiff’s
11    claims, sales and marketing information for the implanting facility, manufacturing
12    information for the plaintiff’s filter, and other relevant documents. Docs. 1153-2, 1662
13    at 3. Completed fact sheets were considered interrogatory answers under Rule 33 or
14    responses to requests for production under Rule 34, and were governed by the standards
15    applicable to written discovery under Rules 26 through 37. Doc. 1662 at 3. CMO 11 set
16    deadlines and procedures for resolving any purported deficiencies with the parties’ fact
17    sheets. Id. at 2, 4-5. CMO 12 governed records discovery for Group 1. Doc. 1663. The
18    parties agreed to use The Marker Group to collect medical, insurance, Medicare,
19    Medicaid, prescription, Social Security, workers’ compensation, and employment records
20    for individual plaintiffs from third-parties designated as custodians for such records in the
21    PFS. Id. at 1.
22           From Group 1, twelve cases were selected for further consideration as bellwether
23    cases (“Discovery Group 1”). Docs. 1662, 3685, 4311 (CMOs 11, 18, 19). CMO 20 set
24    deadlines for preliminary case-specific discovery in that group. Doc. 4335. Pursuant to
25    the protocols set in CMOs 14 and 21, the parties were permitted to depose Plaintiffs, a
26    spouse or significant family member of Plaintiffs, the implanting physician, an additional
27    treating physician, and either a Bard sales representative or supervisor. Docs. 2239, 4866
28    at 1-2. From Discovery Group 1, six Plaintiffs were selected for potential bellwether



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 1    trials and further case-specific discovery (“Bellwether Group 1”). Docs. 1662, 3685,
 2    4311, 5770, 11659 (CMOs 11, 18, 19, 23, and 34).
 3           Except for the forty-eight cases in Group 1, the parties did not conduct
 4    case-specific fact discovery for the cases listed on Schedules A and B during the MDL
 5    proceedings, other than exchanging abbreviated profile forms. The Court has concluded
 6    that any additional case-specific discovery in these cases should await their remand or
 7    transfer.
 8                  3.     Expert Discovery.
 9           CMO 8 governed expert disclosures and discovery. Doc. 519. The parties
10    designated general experts in all MDL cases and case-specific experts in individual
11    bellwether cases. General expert discovery closed July 14, 2017. Doc. 3685 (CMO 18).
12    The parties did not conduct case-specific expert discovery for the cases listed on
13    Schedules A and B during the MDL proceedings. The Court has concluded that case-
14    specific expert discovery in these cases should await their remand or transfer.
15                  4.     Privileged Materials.
16           CMO 2 required Defendants to produce privilege logs in compliance with the
17    Federal Rules of Civil Procedure. Doc. 249. The parties were then required to engage in
18    an informal privilege log meet and confer process to resolve any privilege disputes.
19    Defendants produced several privilege logs identifying documents withheld pursuant to
20    the attorney-client privilege, the work-product doctrine, and other privileges. The parties
21    regularly met and conferred regarding the privilege logs and engaged in negotiations
22    regarding certain entries identified by Plaintiffs. As part of that meet and confer process,
23    Defendants provided Plaintiffs with a small number of these identified items for
24    inspection and, in some cases, withdrew certain claims of attorney-client privilege and
25    produced the previously withheld items.
26           CMO 3 governed the non-waiver of any privilege or work-product protection in
27    this MDL, pursuant to Federal Rule of Evidence 502(d), by Defendants’ disclosure or
28



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 1    production of documents on its privilege logs as part of the meet and confer process.
 2    Doc. 314.
 3           In late 2015, Plaintiffs challenged a substantial number of documents on
 4    Defendants’ privilege log. The parties engaged in an extensive meet and confer process,
 5    and Defendants produced certain documents pursuant to the Rule 502(d) order. See id.
 6    Plaintiffs moved to compel production of 133 disputed documents. The Court granted
 7    the motion in part. Doc. 2813. The parties identified several categories of disputed
 8    documents and provided sample documents for in camera review. The Court denied
 9    Plaintiffs’ motion with respect to seven of eight categories of documents and found only
10    one of the sample documents in one of the categories to contain unprivileged portions
11    that should be produced. The Court found all other documents protected by the attorney-
12    client privilege or work product doctrine. The Court directed the parties to use this ruling
13    as a guide to resolve remaining privilege disputes.
14           Since this ruling, there have been no further challenges to Defendants’ privilege
15    logs. Defendants continued to provide updated privilege logs throughout the discovery
16    process, and the parties met and conferred to resolve privilege disputes. Privilege issues
17    should not be a concern for courts that receive these cases.
18                  5.     Protective Order and Confidentiality.
19           A stipulated protective order governing the designation, handling, use, and
20    disclosure of confidential discovery materials was entered in November 2015. Doc. 269.
21    CMO 7, entered January 5, 2016, governed redactions of material from additional
22    adverse event reports, complaint files, and related documents in accordance with the
23    Health Insurance Portability Act of 1996 (“HIPAA”) and under 21 C.F.R. § 20.63(f).
24    Doc. 401.
25           In September 2016, to expedite production of ESI, the parties agreed to a primarily
26    “no-eyes-on” document production as to relevancy while still performing a privilege
27    review for this expedited ESI document production. CMO 17 (Doc. 3372) modified the
28    protections and requirements in the stipulated protective order (Doc. 269) and CMO 7



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 1    (Doc. 401) for ESI produced pursuant to this process.           CMO 17 was amended in
 2    November 2016. Doc. 4015.
 3           Defendants filed a motion to seal certain trial exhibits at the conclusion of the first
 4    bellwether trial. Doc. 11010. The Court denied this motion and Defendants’ subsequent
 5    motion for reconsideration. Docs. 11642, 11766, 12069. Defendants also filed a motion
 6    to enforce the protective order for the second and third bellwether trials collectively.
 7    Doc. 13126. This motion was denied. Doc. 14446. A list of exhibits admitted at the
 8    bellwether trials (excluding case-specific medical records) and documents deemed no
 9    longer subject to the protective order are attached as Exhibit 2.
10           G.     Bellwether Cases and Trials.
11           Six Plaintiffs were selected for bellwether trials. Docs. 5770, 11659 (CMOs 23,
12    34). The Court held three bellwether trials: Booker v. C. R. Bard, Inc., No. CV-16-
13    00474, Jones v. C. R. Bard, Inc., No. CV-16-00782, and Hyde v. C. R. Bard, Inc., No.
14    CV-16-00893. The Court granted summary judgment in one of the six bellwether cases,
15    Kruse v. C. R. Bard, Inc., No. CV-15-01634, and removed another from the bellwether
16    trial schedule at the request of Plaintiffs, Mulkey v. C. R. Bard, Inc., No. CV-16-00853.
17    Docs. 12202, 13329. The final bellwether case, Tinlin v. C. R. Bard, Inc., No. CV-16-
18    00263, settled shortly before trial in May 2019. The Court determined that further
19    bellwether trials were not necessary. Docs. 12853, 13329 (CMOs 38, 40).
20                  1.     Booker, No. CV-16-00474.
21           The first bellwether trial concerned Plaintiff Sherr-Una Booker and involved a
22    Bard G2 filter. The filter had tilted, migrated, and fractured. Plaintiff required open
23    heart surgery to remove the fractured limbs and repair heart damage caused by a
24    percutaneous removal attempt. Plaintiff withdrew her breach of warranty claims before
25    Defendants moved for summary judgment. The Court granted Defendants’ motion for
26    summary judgment on the claims for manufacturing defects, failure to recall,
27    misrepresentation, negligence per se, and breach of warranty. Docs. 8873, 8874. The
28



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 1    remaining claims for failure to warn, design defect, and punitive damages were tried to a
 2    jury over a three-week period in March 2018.
 3           The jury found for Plaintiff Booker on her negligent failure-to-warn claim, and in
 4    favor of Defendants on the design defect and strict liability failure-to-warn claims.
 5    Doc. 10595. The jury returned a verdict of $2 million in compensatory damages (of
 6    which $1.6 million was attributed to Defendants after apportionment of fault) and $2
 7    million in punitive damages. Id.; Doc. 10596. The Court denied Defendants’ motions for
 8    judgment as a matter of law and a new-trial. Docs. 10879, 11598. Defendants have
 9    appealed. Docs. 11934, 11953. Plaintiff filed and later dismissed with prejudice a cross-
10    appeal. Docs. 12070, 17916.
11                  2.      Jones, No. CV-16-00782.
12           The second bellwether trial concerned Plaintiff Doris Jones and involved a Bard
13    Eclipse filter. Plaintiffs withdrew the manufacturing defect, failure to recall, and breach
14    of warranty claims. The Court granted summary judgment on the misrepresentation,
15    negligence per se, and unfair trade practices claims. Doc. 10404. The remaining claims
16    for failure to warn, design defect, and punitive damages were tried to a jury over a three-
17    week period in May 2018. The jury returned a defense verdict. Doc. 11350. Plaintiff
18    filed a motion to contact the jurors, which was denied. Docs. 11663, 12068. Plaintiff’s
19    appeal of the court’s rulings excluding cephalad migration death evidence is pending.
20    Docs. 12057, 12071.
21                  3.      Kruse, No. CV-15-01634.
22           Plaintiff Carol Kruse’s case was set for trial in September 2018. The Court
23    granted Defendants’ summary judgment motion on statute of limitations grounds.
24    Doc. 12202.
25                  4.      Hyde, No. CV-16-00893.
26           The third bellwether trial concerned Plaintiff Lisa Hyde and involved either a Bard
27    G2X or Eclipse filter (the exact model was in dispute). Ms. Hyde’s case was moved to
28    the September 2018 bellwether slot in lieu of Ms. Kruse’s case. Doc. 11867. Plaintiffs



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 1    withdrew their claims for manufacturing defect and breach of express warranty. The
 2    Court granted summary judgment on the claims for breach of implied warranty, failure to
 3    warn, failure to recall, misrepresentation, concealment, and fraud. Doc. 12007. The
 4    Court also entered judgment in favor of Defendants on the negligence per se claim after
 5    concluding that it was impliedly preempted under 21 U.S.C. § 337(a). Doc. 12589. The
 6    remaining claims for design defect, loss of consortium, and punitive damages were tried
 7    to a jury over three weeks in September 2018. After the close of Plaintiffs’ evidence, the
 8    Court granted in part Defendants’ motion for judgment as a matter of law with respect to
 9    future damages for any cardiac arrhythmia Ms. Hyde may experience, but denied as to
10    the remaining claims. Doc. 12805. The jury returned a defense verdict. Doc. 12891.
11    Plaintiff appealed. Docs. 13465, 13480.
12                  5.     Mulkey, No. CV-16-00853.
13           Plaintiff Debra Mulkey’s case involved an Eclipse filter and was set for trial in
14    February 2019. Before trial, Plaintiffs asked the Court to remove the Mulkey case from
15    the bellwether trial schedule because it was similar to the Jones and Hyde cases and
16    would not provide meaningful information to the parties.             Doc. 12990.   The Court
17    granted the motion. Doc. 13329.
18                  6.     Tinlin, No. CV-16-00263.
19           The final bellwether trial concerned Plaintiff Debra Tinlin and involved a Bard
20    Recovery filter. Plaintiffs withdrew their claims for manufacturing defect, failure to
21    recall, negligence per se, and breach of warranty. The Court granted summary judgment
22    on the misrepresentation and deceptive trade practices claims.            Doc. 17008.   The
23    remaining claims for failure to warn, design defect, concealment, loss of consortium, and
24    punitive damages were scheduled for trial in May 2019, but the case settled.
25           H.     Key Legal and Evidentiary Rulings.
26           The Court has made many rulings in this MDL that could affect the remanded and
27    transferred cases.    The Court provides the following summary of key legal and
28    evidentiary rulings to assist the courts that receive these cases.



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 1                   1.    Medical Monitoring Class Action Ruling.
 2           In May 2016, Plaintiffs’ counsel filed a medical monitoring class action that was
 3    consolidated with the MDL. See Barraza v. C. R. Bard, Inc., No. CV-16-01374. The
 4    Barraza Plaintiffs moved for class certification for medical monitoring relief on behalf of
 5    themselves and classes of individuals who have been implanted with a Bard IVC filter,
 6    have not had that filter removed, and have not filed a claim or lawsuit for personal injury
 7    related to the filter. Id., Doc. 54. The Court declined to certify the class. Id., Doc. 95.
 8           The class certification motion recognized that only 16 states permit claims for
 9    medical monitoring. The Court concluded that the classes could not be certified under
10    Rule 23(b)(3) because individual issues would predominate. Id. at 20-21. The Court
11    further concluded that the class could not be certified under Rule 23(b)(2) because the
12    medical monitoring relief primarily constituted monetary rather than injunctive relief, and
13    the class claims were not sufficiently cohesive to permit binding class-wide relief. Id.
14    at 21-32. Finally, the Court concluded that typicality under Rule 23(a)(3) had not been
15    established.   Id. at 32-34.    The Barazza Plaintiffs dismissed their claims without
16    prejudice. Docs. 106, 107. No appeal has been filed.
17                   2.    Federal Preemption Ruling.
18           Defendants moved for summary judgment on the grounds that Plaintiffs’ state law
19    claims are expressly preempted by the Medical Device Amendments of 1976 (“MDA”),
20    21 U.S.C. § 360 et seq., and impliedly preempted by the MDA under the Supreme
21    Court’s conflict preemption principles.      Doc. 5396.     The Court denied the motion.
22    Doc. 8872. Defendants have appealed this ruling. Docs. 11934, 11953.
23           The MDA curtails state regulation of medical devices through a provision that
24    preempts state requirements that differ from or add to federal requirements. 21 U.S.C.
25    § 360k. The Bard IVC filters at issue in this litigation were cleared for market by the
26    FDA through section “510k” review, which focuses primarily on equivalence rather than
27    safety and effectiveness. See § 360c(f)(1)(A).
28



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 1          The Supreme Court in Medtronic, Inc. v. Lohr, 518 U.S. 470 (1996), held that
 2    § 360k does not preempt state law claims directed at medical devices cleared through the
 3    510(k) process because substantial equivalence review places no federal requirements on
 4    a device.   Id. at 492-94.   Lohr also noted that the “510(k) process is focused on
 5    equivalence, not safety.” Id. at 493 (emphasis in original). Although the Safe Medical
 6    Devices Act of 1990 (“SMDA”), Pub. L. 101-629, injected safety and effectiveness
 7    considerations into 510(k) review, it did so only comparatively. The Court found that
 8    Lohr remains good law and that clearance of a product under 510(k) generally does not
 9    preempt state common law claims. Doc. 8872 at 12-14.
10          The Court further found that Defendants failed to show that the 510(k) reviews for
11    Bard IVC filters imposed device-specific requirements as needed for preemption under
12    § 360k. Id. at 14-20. Even if device-specific federal requirements could be ascertained,
13    Defendants made no showing that any particular state law claim is expressly preempted
14    by federal requirements. Id. at 21-22.
15          The Court concluded that Plaintiffs’ state law claims are not impliedly preempted
16    because Defendants failed to show that it is impossible to do under federal law what the
17    state laws require. Id. at 22-24. Defendants are pursuing their preemption arguments in
18    the Booker appeal.
19                 3.      The Lehmann Report Privilege and Work Product Rulings.
20          The Court granted Defendants’ motion for a protective order to prevent Plaintiffs
21    from using a December 15, 2004 report of Dr. John Lehmann. Doc. 699. Dr. Lehmann
22    provided various consulting services to Bard at different times. Following Bard’s receipt
23    of potential product liability claims involving the Recovery filter, Bard’s legal
24    department retained Dr. Lehmann in November 2004 to provide an assessment of the
25    risks associated with the Recovery filter and the extent of Bard’s legal exposure.
26    Dr. Lehmann prepared a written report of his findings at the request of the legal
27    department and in anticipation of litigation. The Court found the report to be protected
28    from disclosure by the work product doctrine. Id. at 4-12. The Court further found that



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 1    Plaintiffs had not shown a substantial need for the report or undue hardship if the report
 2    was not disclosed. Id. at 13-15. The Court agreed with the parties that this ruling does
 3    not alter any prior rulings by transferor judges in specific cases. Id. at 22.
 4                  4.     Daubert Rulings.
 5           The Court has ruled on the parties’ Daubert motions and refers the transferor
 6    courts to the following orders:
 7
 8                                  Daubert Order                               Doc. Nos.
 9
10            Plaintiffs’ Expert Dr. Thomas Kinney                           9428, 10323

11
              Plaintiffs’ Experts Drs. Scott Resnick, Robert                 9432
12            Vogelzang, Kush Desai, and Robert Lewandowski
13
              Plaintiffs’ Experts Drs. David Kessler and Suzanne             9433
14            Parisian
15
              Plaintiffs’ Experts Drs. Thomas Kinney, Anne Christine         9434
16            Roberts, and Sanjeeva Kalva
17
              Plaintiffs’ Expert Dr. Mark Eisenberg                          9770
18
19
              Plaintiffs’ Expert Dr. Derek Muehrcke                          9771
20
21            Plaintiffs’ Expert Dr. Darren Hurst                            9772
22
              Plaintiffs’ Expert Dr. Rebecca Betensky                        9773
23
24            Defendants’ Expert Dr. Clement Grassi                          9991, 10230
25
              Plaintiffs’ Expert Dr. Robert McMeeking                        10051, 16992
26
27            Plaintiffs’ Expert Dr. Robert Ritchie                          10052
28



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 1
                 Plaintiffs’ Experts Drs. David Garcia and Michael Streiff   10072
 2
 3               Defendants’ Expert Dr. Christopher Morris                   10230, 10231,
                                                                             17285
 4
 5
                      5.     Motion in Limine Rulings.
 6
                             a.     FDA Evidence (Cisson Motion).
 7
             In the Booker bellwether trial, Plaintiffs sought to exclude, under Federal Rules of
 8
      Evidence 402 and 403, evidence of the FDA’s 510(k) clearance of Bard IVC filters and
 9
      the lack of FDA enforcement action against Bard. Doc. 9529. The Court denied the
10
      motion. Docs. 9881, 10323.
11
             The Court found that under Georgia law, which applied in both the Booker and
12
      Jones bellwether cases, compliance with federal regulations may not render a
13
      manufacturer’s design choice immune from liability, but evidence of Bard’s compliance
14
      with the 510(k) process was nonetheless relevant to the design defect and punitive
15
      damages claims.       Doc. 9881 at 3-4.      The Court acknowledged concerns that FDA
16
      evidence might mislead the jury or result in a mini-trial. Id. at 5-6 (citing In re C.R.
17
      Bard, Inc., Pelvic Repair Sys. Prods. Liab. Litig. (Cisson), No. 2:10-CV-01224, 2013 WL
18
      3282926, at *2 (S.D.W. Va. June 27, 2013)). But the Court concluded that such concerns
19
      could adequately be addressed by efficient management of the evidence and adherence to
20
      the Court’s time limits for trial, and, if necessary, by a limiting instruction regarding the
21
      nature of the 510(k) process. Id. at 6-7.5
22
             The Court noted that the absence of any evidence regarding the 510(k) process
23
      would run the risk of confusing the jury, as many of the relevant events in this litigation
24
      occurred in the context of the FDA’s 510(k) review and are best understood in that
25
26
27
             5
             The Court did not find a limiting instruction necessary at the close of either the
28    Booker or Jones trials. See Doc. 10694 at 9.



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 1    context. Doc. 9881 at 7. Nor was the Court convinced that all FDA references could
 2    adequately be removed from the evidence. Id.
 3           The Court further concluded that it would not exclude evidence and arguments by
 4    Defendants that the FDA took no enforcement action against Bard with respect to the G2
 5    or Eclipse filters, or evidence regarding information Bard provided to the FDA in
 6    connection with the 510(k) process. Docs. 10323 at 2-3 (Booker), 11011 at 4-5 (Jones).
 7    The Court found that the evidence was relevant to the negligent design and punitive
 8    damages claims under Georgia law. Id. The Court determined at trial that it had no basis
 9    to conclude that the FDA’s lack of enforcement was intended by the FDA as an assertion,
10    and therefore declined to exclude the evidence as hearsay. Doc. 10568 at 87.
11                         b.     FDA Warning Letter.
12           Defendants moved to exclude evidence of the July 13, 2015 FDA warning letter
13    issued to Bard. Doc. 9864 at 2-3. The Court granted the motion in part, excluding as
14    irrelevant topics 1, 2, 4(a), 4(b), 5, 6, 7, and 8 of the warning letter. Docs. 10258 at 6-8
15    (Booker), 10805 at 1 (Jones), 12736 (Hyde), 17401 at 10 (Tinlin). Topics 1 and 2
16    concern the Recovery Cone retrieval system; Topic 4(a) concerns the filter cleaning
17    process; and Topics 4(b), 5, 6, 7, and 8 concern the Denali Filter. The Court concluded
18    that none of these topics was relevant to the issues in the bellwether cases involving a G2
19    filter (Booker), an Eclipse filter (Jones), either a G2X or Eclipse filter (Hyde), and a
20    Recovery filter (Tinlin). Id.
21           The Court deferred ruling on the relevance of topic 3 until trial in all bellwether
22    cases. The Court found that topic 3, concerning Bard’s complaint handling and reporting
23    of adverse events with respect to the G2 and Eclipse filters, as well as the adequacy of
24    Bard’s evaluation of the root cause of the violations, was relevant to rebut the implication
25    at trial that the FDA took no action with respect to Bard IVC filters. See Doc. 10693 at
26    13-15; Doc. 11256. The Court concluded that the warning letter was admissible under
27    Federal Rule of Evidence 803(8), and was not barred as hearsay. Doc. 10258 at 7. The
28    Court further concluded that the probative value of topic 3 was not substantially



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 1    outweighed by the danger of unfair prejudice to Bard under Rule 403. Id. The Court
 2    admitted the warning letter in redacted form during the three bellwether trials. See
 3    Docs. 10565, 11256, 12736. The Court noted that topic 3 included reference to the G2,
 4    the filter at issue in Booker, and reached similar conclusions in Jones and Hyde.
 5    Doc. 17401 at 11. The parties disputed the relevance of topic 3 in Tinlin because it did
 6    not include reference to the Recovery, the filter at issue in Tinlin. Id. The Court did not
 7    decide this issue because the Tinlin case settled.
 8                          c.     Recovery Cephalad Migration Death Evidence.
 9             Defendants moved to exclude evidence of cephalad migration (i.e., migration of
10    the filter toward the patient’s heart) by a Recovery filter resulting in patient death. The
11    Court denied the motion for the Booker bellwether trial, which involved a G2 filter.
12    Docs. 10258 at 4-5, 10323 at 4. Defendants have appealed this ruling. Docs. 11934,
13    11953.
14             The Court granted the motion for the Jones bellwether trial, which involved an
15    Eclipse filter, and denied Plaintiff’s requests for reconsideration of the ruling before and
16    during the trial. See Docs. 10819, 10920, 11041, 11113, 11256, 11302; see also
17    Doc. 11409 at 94-96. Plaintiff Jones has appealed those rulings. Docs. 12057, 12071.
18             The Court granted the motion for the Hyde bellwether trial, which involved either
19    a G2X or Eclipse filter. Doc. 12533 at 6-7. Plaintiff Hyde has appealed this ruling.
20    Docs. 13465, 13480.
21             The Court denied Defendants’ motion for the Tinlin bellwether trial, which
22    involved a Recovery filter. Doc. 17401 at 7-10. The Tinlin case settled before trial.
23             The Court concluded for purposes of the Booker bellwether trial that evidence of
24    cephalad migrations by a Recovery filter resulting in patient death was necessary for the
25    jury to understand the issues that prompted creation and design of the next-generation G2
26    filter, and thus was relevant to Plaintiff’s design defect claims. Doc. 10323 at 4. In
27    addition, because the Recovery filter was the predicate device for the G2 filter in
28    Defendants’ 510(k) submission to the FDA, and Defendants asserted to the FDA that the



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 1    G2 was as safe and effective as the Recovery, the Court concluded that the safety and
 2    effectiveness of the Recovery filter was at issue. Id. The Court was concerned, however,
 3    that too heavy an emphasis on deaths caused by cephalad migration of the Recovery
 4    filter – a kind of migration which did not occur in the G2 filter generally or the Booker
 5    case specifically – would result in unfair prejudice to Defendants that substantially
 6    outweighed the probative value of the evidence. Id. Defendants did not object during
 7    trial that Plaintiffs were over-emphasizing the death evidence.
 8           The Court initially concluded for purposes of the Jones bellwether trial, which
 9    involved an Eclipse filter, that evidence of cephalad migration deaths by the Recovery
10    filter was inadmissible because it was only marginally relevant to Plaintiff’s claims and
11    its marginal relevancy was substantially outweighed by the risk of unfair prejudice. See
12    Docs. 10819, 10920, 11041, 11113, 11256, 11302. This is because cephalad migration
13    did not continue in any significant degree beyond the Recovery; cephalad migration
14    deaths all occurred before the Recovery was taken off the market in late 2005; Ms. Jones
15    did not receive her Eclipse filter until 2010; the Recovery-related deaths said nothing
16    about three of Ms. Jones’ four claims (strict liability design defect and the failure to warn
17    claims); and instances of cephalad migration deaths were not substantially similar to
18    complications experienced by Ms. Jones and therefore did not meet the Georgia standard
19    for evidence on punitive damages. Docs. 10819, 11041.
20           The Court also found that deaths caused by a non-predicate device (the Recovery
21    was not the predicate device for the Eclipse in Defendants’ 510(k) submission), and by a
22    form of migration that was eliminated years earlier, were of sufficiently limited probative
23    value that their relevancy was substantially outweighed by the danger of unfair prejudice
24    because the death evidence may prompt a jury decision based on emotion. Id. The Court
25    further concluded that Plaintiff Jones would not be seriously hampered in her ability to
26    prove Recovery filter complications, testing, and design when references to cephalad
27    migration deaths are removed. Doc. 11041. As a result, the Court held that such
28    references should be redacted from evidence presented during the Jones trial.



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 1           The Court balanced this concern with the competing concern that it would be
 2    unfair for Defendants to present statistics about the Recovery filter and not allow
 3    Plaintiffs to present competing evidence that included Recovery deaths.          See, e.g.,
 4    Doc. 11391 at 12. Based on this concern, Plaintiffs argued at various points during the
 5    trial that Defendants had opened the door to presenting evidence about Recovery
 6    cephalad migration deaths. The Court repeatedly made fact-specific determinations on
 7    this point, holding that even though Defendants presented some evidence that made the
 8    Recovery evidence more relevant, the danger of unfair prejudice continued to
 9    substantially outweigh the probative value of the cephalad migration death evidence. See
10    Docs. 11113, 11302; see also Doc. 11409 at 94-96.
11           The Court concluded for purposes of the Hyde bellwether trial, which involved
12    either a G2X or Eclipse filter, that evidence of Recovery filter cephalad migration deaths
13    should be excluded under Rule 403 for the reasons identified in the Jones bellwether trial.
14    Doc. 12533 at 6-7. The Court concluded that this evidence had marginal relevance to
15    Plaintiff’s claims because Ms. Hyde received either a G2X or Eclipse filter, two or three
16    generations after the Recovery filter; Ms. Hyde did not receive her filter until 2011, more
17    than five years after cephalad migration deaths stopped when the Recovery was taken off
18    the market; the deaths did not show that G2X or Eclipse filters – which did not cause
19    cephalad migration deaths – had design defects when they left Defendants’ control; nor
20    did the cephalad migration deaths, which were eliminated by design changes in the G2,
21    shed light on Defendants’ state of mind when designing and marketing the G2X and
22    Eclipse filters. Id. at 7.
23           The Court concluded for purposes of the Tinlin bellwether trial, which involved a
24    Recovery filter, that Recovery deaths and Defendants’ knowledge of those deaths were
25    relevant to Plaintiffs’ design defect claim under Wisconsin law because they went
26    directly to the Recovery’s foreseeable risks of harm and whether it was unreasonably
27    dangerous. Doc. 17401 at 7-8. The Court also concluded that the Recovery death
28    evidence was relevant to Plaintiffs’ failure to warn and concealment claims because it



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 1    was probative on the causation issue – that is, whether her treating physician would have
 2    selected a different filter for Ms. Tinlin had he been warned about the Recovery’s true
 3    risks, as Plaintiffs describe them. Id. at 8. In addition, because this evidence would be
 4    used to impeach expert testimony from Defendants that the Recovery filter was safe and
 5    effective, the Court concluded that substantial similarity was not required. Id. at 8-9.
 6    The Court further concluded that the death evidence was relevant to Bard’s state of mind
 7    and to show the reprehensibility of its conduct for purposes of punitive damages. Id.
 8    at 9-10. The Court reached a different conclusion in Jones and Hyde because cephalad
 9    migration deaths stopped when the Recovery was taken off the market in 2005, and the
10    deaths shed little light on Defendants’ state of mind when marketing different, improved
11    filters years later. Id. at 9 n.4. As noted, the Tinlin case settled before trial.
12                          d.      SNF Evidence.
13           Plaintiffs sought to exclude evidence of complications associated with the SNF,
14    claiming that they were barred from conducting relevant discovery into the design and
15    testing of the SNF under CMO 10. Doc. 10487; see Doc. 1319. The Court denied
16    Plaintiffs’ request. Doc. 10489. The Court did not agree that Plaintiffs were foreclosed
17    from obtaining relevant evidence for rebuttal.         The Court foreclosed this discovery
18    because Plaintiffs did not contend that the SNF was defective. Id. at 2. Plaintiffs also
19    had rebuttal evidence showing that reported failure rates for SNF were lower than
20    Recovery and G2 failure rates. Id. The Court ultimately concluded it would not preclude
21    Defendants from presenting its SNF evidence on the basis of a discovery ruling and
22    permitted Plaintiffs to make appropriate evidentiary objections at trial. Id. at 3.
23                          e.      Use of Testimony of Withdrawn Experts.
24           Defendants sought to preclude Plaintiffs’ use at trial of the depositions of three
25    defense experts, Drs. Moritz, Rogers, and Stein, who originally were retained by Bard but
26    were later withdrawn in some or all cases. Doc. 10255 at 2. The Court denied the
27    request in part. Doc. 10382. The Court found that Defendants failed to show that the
28    depositions of these experts were inadmissible on hearsay grounds, but agreed that it



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 1    would be unfairly prejudicial under Rule 403 to disclose to the jury that the experts
 2    originally were retained by Bard.       Id. at 2-3.   The Court therefore concluded that
 3    Plaintiffs could use portions of the experts’ depositions that support Plaintiffs’ claims, but
 4    could not disclose to the jury that the experts originally were retained by Bard. Id. at 3.
 5    The Court was concerned about the presentation of cumulative evidence, and therefore
 6    required Plaintiffs to show that no other expert of similar qualifications was available or
 7    that the unavailable expert had some unique testimony to contribute, before the
 8    deposition of any withdrawn expert could be used at trial. Id. at 3-4.
 9                         f.     Other Motion in Limine Rulings.
10           Other motion in limine (“MIL”) rulings may be useful in other jurisdictions. See
11    Docs. 10075, 10235, 10258, 10947.          The Court refers the receiving courts to the
12    following motions and orders to assist in preparing for trial:6
13
             • Parties’ Joint Stipulation on MILs in Booker: The Court, on stipulation of
14             the parties, excluded evidence concerning several case-specific issues in the
               Booker bellwether trial, as well as a few general issues, including: Bard’s 1994
15             criminal conviction; other lawsuits or claims against Bard; advertising by
               Plaintiff’s counsel; Plaintiff’s counsel specializing in personal injury or
16             products liability litigation; contingency fee agreements; and advertising by
17             any counsel nationally for IVC filter cases. Doc. 10235.

18           • Defendants MIL 1 in Booker: The Court permitted evidence and testimony
               concerning Recovery complications. Doc. 10258 at 1-5; see Doc. 10819
19             (Jones). As noted above, the Court permitted evidence and testimony
               concerning Recovery filter cephalad migration deaths in the Booker bellwether
20             trial involving a G2 filter (Doc. 10323 at 4), but excluded such evidence in the
               trials involving a G2X or Eclipse filter (Docs. 10819, 10920, 11041).
21
             • Defendants’ MIL 2 in Booker: The Court permitted evidence and testimony
22             relating to the development of the Recovery filter. Doc. 10258 at 5-6; see
               Doc. 10819 at 2-3 (Jones).
23
24
25
26           6
               The Court also ruled on the parties’ MILs concerning several case-specific
      issues. See Docs. 10075 (Plaintiff’s MIL 12 in Booker), 10258 (Plaintiff’s’ MILs 6
27    and 13 in Booker), 10947 (Defendants’ MIL 1 and Plaintiff’s MILs 1-4 and 7 in Jones),
      12533 (Plaintiff’s MIL 3 in Hyde), 17285 (Plaintiff’s MIL 1 in Tinlin), 17401 (Plaintiff’s
28    MILs 2, 3, and 6 in Tinlin).



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 1          • Defendants’ MIL 4 in Booker: The Court excluded evidence and testimony
              concerning a photograph of Bard employee Michael Randall making an
 2            offensive gesture to a camera. Doc. 10075 at 1-2.
 3          • Defendants’ MIL 5 in Booker: The Court permitted Plaintiff’s expert
              Dr. Thomas Kinney to be called as a fact witness, but prohibited him from
 4            testifying regarding his prior work for Bard as an expert witness in two prior
              IVC filter cases or as a paid consultant to Bard. Docs. 10075 at 2-3, 10323
 5            at 4.
 6          • Plaintiff’s MIL 2 in Booker: The Court reserved ruling until trial on evidence
 7            and testimony regarding the nature of Bard’s business, including the nature,
              quality, and usefulness of its products, the conscientiousness of its employees,
 8            and references to its mission statement. Doc. 10075 at 3-4.

 9          • Plaintiff’s MIL 3 in Booker: The Court permitted evidence and testimony
              concerning the benefits of IVC filters, including testimony describing Bard
10            filters as “lifesaving” devices. Doc. 10258 at 8.

11          • Plaintiff’s MIL 4 in Booker: The Court permitted evidence and testimony
              that IVC filters, including Bard’s filters, are within the standard of care for the
12            medical treatment of pulmonary embolism. Doc. 10258 at 8-9. Defendants
              agreed to not characterize IVC filters as the “gold standard” for the treatment
13            of pulmonary embolisms. Id. at 8.
14          • Plaintiff’s MIL 5 in Booker: The Court denied as moot the motion to exclude
              evidence and argument relating to failure rates, complication rates,
15            percentages, or comparative analysis of any injuries that were not produced to
              Plaintiffs during discovery, as all such information was produced. Doc. 10075
16            at 4.
17          • Plaintiff’s MIL 7 in Booker: The Court excluded evidence and argument
              relating to prior judicial opinions about Plaintiffs’ experts, including the
18            number of times their testimony has been precluded in other cases. Id.
19          • Plaintiff’s MIL 8 in Booker: The Court excluded evidence and argument that
20            a verdict against Defendants will have an adverse impact on the medical
              community, future medical device research or costs, and the availability of
21            medical care. Id. at 4-5.

22          • Plaintiff’s MIL 9 in Booker: The Court deferred ruling on the relevance of
              statements or lack of statements from medical societies, including the Society
23            of Interventional Radiologists (“SIR”), until trial. Doc. 10258 at 14-18. The
              Court ultimately admitted this evidence in both the Booker and Jones
24            bellwether trials.
25          • Plaintiff’s MIL 10 in Booker: The Court excluded evidence and testimony
              that Bard needed FDA consent to add warnings to its labels, send warning
26            letters to physicians and patients, or recall its filters. Id. at 18-19. The Court
              permitted evidence and argument explaining the reasons why Bard filters were
27            not recalled, FDA’s potential involvement in any recall effort, and the fact that
              warnings about failure rates and increased risks could not be based on MDR
28            and MAUDE data alone. Id.



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 1          • Plaintiff’s MIL 11 in Booker: The Court permitted evidence and argument
              relating to the informed consent form signed by Plaintiff prior to insertion of
 2            the IVC filter, even though the form is not specific to IVC filters or Bard
              filters. Doc. 10075 at 5-6.
 3
            • Plaintiff’s MIL 14 in Booker: The Court reserved ruling until trial on
 4            evidence and argument relating to background information and personal traits
              of Bard employees and witnesses. Id. at 7.
 5
            • Plaintiff’s MIL 6 in Jones: The Court permitted evidence and testimony
 6            concerning whether a party’s expert had been retained by the same attorneys in
 7            other litigation. Doc. 10947 at 8-9.

 8          • Plaintiff’s MIL 5 in Jones: The Court excluded evidence and testimony that
              Bard employees or their relatives have received Bard IVC filter implants. Id.
 9            at 9-10.

10          • Defendants’ MIL 2 in Jones: The Court excluded evidence and testimony of
              other lawsuits against Bard. Id. at 11.
11
            • Plaintiff’s MILs 4 and 5 in Hyde: The Court permitted evidence and
12            testimony concerning Bard’s Instructions for Use (“IFU”) and SIR Guidelines.
              Doc. 12507.
13
            • Plaintiff’s MIL 2 in Hyde: The Court permitted evidence and testimony
14            concerning “The Surgeon General’s Call to Action to Prevent Deep Vein
              Thrombosis and Pulmonary Embolism.” Doc. 12533 at 4-6.
15
            • Defendants’ MIL 3 in Hyde: The Court permitted evidence and testimony
16            that Bard’s SNF is a reasonable alternative design. Id. at 7.
17          • Defendants’ MIL 4 in Hyde: The Court excluded testimony from Dr.
              Muehrcke about his personal feelings of betrayal and his moral and ethical
18            issues with Bard’s conduct. Id. at 7-8.
19          • Defendants’ MIL 6 in Hyde: The Court permitted evidence and testimony
20            regarding informed consent. Id. at 8-9.

21          • Plaintiff’s MIL 4 in Tinlin: The Court reserved ruling until trial on evidence
              and argument relating to a chart created by Defendants from their internal
22            TrackWise database regarding reporting rates of IVC filter complications.
              Doc. 17401 at 5.
23
            • Plaintiff’s MIL 5 in Tinlin: The Court permitted evidence and testimony
24            concerning a chart comparing the sales of the permanent SNF with those of
              retrievable filters between 2002 and 2016. Id. at 5-6.
25
            • Defendants’ MIL 3 in Tinlin: The Court permitted evidence and testimony
26            concerning the Recovery Filter Crisis Communications Plan that Bard had
              prepared in 2004 to help manage damaging media coverage about a Recovery
27            migration death. Id. at 11-12.
28          • Defendants’ MIL 4 in Tinlin: The Court excluded evidence and testimony
              concerning Dr. Muehrcke’s untimely disclosed opinion that one of his patients


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     Case 2:15-md-02641-DGC Document 19899 Filed 08/20/19 Page 30 of 95



 1               died from cardiac tamponade caused by a fractured strut that had embolized to
                 her heart. Id. at 12-13.
 2
 3
                    6.       Deposition Designation Rulings.
 4
             The Court has ruled on numerous objections to deposition designations for trial
 5
      and refers the transferor courts to the following orders:7
 6
 7
                             Deponent                      Depo. Date    Doc. No(s).
 8
 9           Bill Altonaga                                 10/22/2013   10497, 10922

10           Christine Brauer                              05/23/2014   10922,
11                                                         08/02/2017   10922

12           David Ciavarella                              11/12/2013   10403
13           Gary Cohen                                    01/25/2017   10438
14
             Robert Cortelezzi                             11/11/2016   10438, 11064
15
             Len DeCant                                    05/24/2016   10438, 11080
16
17           John DeFord                                   06/02/2016   10524, 11080

18           Mary Edwards                                  01/20/2014   10438
19           Robert Ferrara                                04/17/2017   10438
20
             Chris Ganser                                  10/11/2016   10438, 11073
21
             Jason Greer                                   08/11/2014   10438, 10922
22
23           Janet Hudnall                                 11/01/2013   10403

24           Brian Hudson                                  01/17/2014   10403
25           John Lehmann                                  08/07/2014   10922
26
27
             7
             In addition to the depositions identified in the table above, the Court ruled on
28    numerous objections to case-specific deposition designations for trial.



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     Case 2:15-md-02641-DGC Document 19899 Filed 08/20/19 Page 31 of 95



 1
                            Deponent                      Depo. Date    Doc. No(s).
 2
            William Little                                07/27/2016   10438, 11064
 3
 4          John McDermott                                02/05/2014   10438

 5          Patrick McDonald                              07/29/2016   10486, 11064
 6          Mark Moritz                                   07/18/2017   10922
 7
            Daniel Orms                                   08/16/2016   10403, 11073
 8
            Abithal Raji-Kubba                            07/18/2016   11064
 9
10          Gin Schulz                                    01/30/2014   10403

11          Christopher Smith                             08/03/2017   11073
12          William Stavropoulos                          02/01/2017   10524
13
            Jack Sullivan                                 11/03/2016   10486,
14                                                        09/16/2016   11080
15
            Melanie Sussman                               04/07/2017   11073
16
            Mehdi Syed                                    03/02/2018   11313
17
18          Scott Trerotola                               01/20/2017   10524

19          Douglas Uelmen                                10/04/2013   10403, 11080
20          Carol Vierling                                05/11/2016   10486, 11073
21
            Mark Wilson                                   01/31/2017   10922
22
            Natalie Wong                                  10/18/2016   10403
23
24
25          I.    Further Proceedings in Remanded or Transferred Cases.
26                1.        General Discovery.
27          Because all general fact and expert discovery has been completed in this MDL, the
28    courts receiving these cases need not be concerned with facilitating general expert,



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     Case 2:15-md-02641-DGC Document 19899 Filed 08/20/19 Page 32 of 95



 1    corporate, and third-party discovery. This observation is not meant to restrict the power
 2    of transferor courts for good cause or in the interest of justice to address issues that may
 3    be unique and relevant in remanded or transferred cases.
 4                  2.     Case-Specific Discovery and Trial Preparation.
 5           According to the parties, the status of the remaining discovery and other pretrial
 6    issues for the cases being remanded or transferred, and the estimated time needed to
 7    resolve such issues and make the cases ready for trial, will be determined on remand or
 8    transfer. Final trial preparation in the bellwether trials was governed by certain Court
 9    orders. See Docs. 8871, 10323, 10587, 11011, 11320, 11321, 11659, 11871, 12061,
10    12853, 12971.
11           J.     Documents to Be Sent to Transferor Courts.
12           If the Panel agrees with the Court’s suggestion of remand of the cases listed on
13    Schedule A and issues a final remand order (“FRO”), the Clerk of the Court for this
14    District will issue a letter to the transferor courts, via email, setting out the process for
15    transferring the individual cases listed in the FRO. The letter and certified copy of the
16    FRO will be sent to each transferor court’s email address.
17           The parties have submitted a stipulated designation of record for remanded cases.
18    Doc. 19444-1; see J.P.M.L Rule 10.4(a). Upon receipt of the FRO, the Clerk of this
19    District shall transmit to the respective transferor courts the following concerning each
20    remanded action: (1) a copy of the individual docket sheet for each action remanded,
21    (2) a copy of the master docket sheet in this MDL, (3) the entire file for each action
22    remanded, as originally received from the transferor district, and (4) the record on
23    remand designated by the parties. See Doc. 19444-1; J.P.M.L Rule 10.4(b).
24           The Court has concluded that the cases listed on Schedule B should be transferred
25    to appropriate districts pursuant to 28 U.S.C. § 1404(a). Upon receipt of this transfer
26    order, the Clerk for this District shall follow the same procedures prescribed above for
27    each of the individual cases listed on Schedule B.
28



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     Case 2:15-md-02641-DGC Document 19899 Filed 08/20/19 Page 33 of 95



 1           If a party believes that the docket sheet for a particular case being remanded or
 2    transferred is not correct, a party to that case may, with notice to all other parties in the
 3    case, file with the receiving court a designation amending the record. Upon receiving
 4    such designation, the receiving court may make any needed changes to the docket. If the
 5    docket is revised to include additional documents, the parties should provide those
 6    documents to the receiving court.
 7    IV.    Conclusion.
 8           Pursuant to J.P.M.L. Rule 10.1(b)(i), the Court suggests that the Panel remand the
 9    cases listed on Schedule A to their transferor districts for further proceedings. The Clerk
10    shall forward a certified copy of this order to the Panel.
11           Pursuant to 28 U.S.C. § 1404(a), the Clerk of this District is directed to transfer
12    the cases listed on Schedule B to appropriate districts for further proceedings.
13           IT IS SO ORDERED.
14           Dated this 19th day of August, 2019.
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                     In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                 SUGGESTION OF REMAND AND TRANSFER ORDER
                                 Schedule A – Cases that Should Be Remanded by the Panel




              Case Caption                 Current Case Number        Transferor District      Original Case Number

Jessica Parker v. C. R. Bard, Inc.        2:15-cv-01739          Ala. N.D.                     5:15-cv-00787
Dean Becker v. C. R. Bard, Inc.           2:15-cv-02155          Cal. C.D.                     2:15-cv-07937
David Sizemore v. C.R. Bard, Inc.         2:15-cv-01638          Cal. C.D.                     2:15-cv-01945
David Woolley v. C. R. Bard, Inc.         2:16-cv-01271          Cal. C.D.                     8:16-cv-00068
Christopher Cronan v. C. R. Bard, Inc.    2:15-cv-01719          Cal. E.D.                     2:15-cv-01418
Patricia Martin v. C. R. Bard, Inc.       2:16-cv-02362          Conn.                         3:16-cv-01113
Gary Milton v. C. R. Bard, Inc.           2:15-cv-01625          Ga. M.D.                      5:14-cv-00351
Patricia Jones v. C. R. Bard, Inc.        2:15-cv-02647          Ga. N.D.                      1:15-cv-04178
Emily Landress v. C. R. Bard, Inc.        2:15-cv-01884          Ga. N.D.                      1:15-cv-02672-LMM
Vanessa Rose v. C. R. Bard, Inc.          2:19-cv-01744          Ga. N.D.                      1:19-cv-00841
Alice Jackson v. C. R. Bard, Inc.         2:15-cv-01649          Ill. N.D.                     1:14-cv-04080
Jennifer Shropshire v. C. R. Bard, Inc.   2:15-cv-02655          Ky. E.D.                      5:15-cv-00374-JMH
Thomas Fregeau v. C. R. Bard, Inc.        2:15-cv-01721          Mass.                         1:15-cv-13111
Stephanie Barton v. C. R. Bard, Inc.      2:17-cv-02646          Mo. E.D.                      4:17-cv-00770
Catherine Rowden v. C. R. Bard, Inc.      2:15-cv-02091          Mo. E.D.                      4:15-cv-01489-NAB
Tonya Munson v. C. R. Bard, Inc.          2:15-cv-01646          Miss. N.D.                    3:14-cv-00279-MPM
Jeffrey Miner v. C. R. Bard, Inc.         2:16-cv-01254          Neb.                          4:16-cv-00305
Alana Bond v. C. R. Bard, Inc.            2:16-cv-00598          N.J.                          2:15-cv-08773-SDW

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                    In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                SUGGESTION OF REMAND AND TRANSFER ORDER
                                Schedule A – Cases that Should Be Remanded by the Panel



              Case Caption                   Current Case Number        Transferor District   Original Case Number

Brittany Ann Hough v. C. R. Bard, Inc.       2:15-cv-01690         N.J.                       2:15-cv-01892
Joseph Rowe v. C. R. Bard, Inc.              2:15-cv-01641         N.M.                       1:15-cv-00173
Jessica Deserio-Mintz v. C. R. Bard, Inc.    2:15-cv-01710         N.Y. E.D.                  2:14-cv-04942-LDW
Evan Casey Hulick v. C. R. Bard, Inc.        2:17-cv-03178         N.Y. S.D.                  7:17-cv-06404
Steven Roeder v. C.R. Bard, Inc.             2:15-cv-01655         Ohio N.D.                  3:15-cv-00858
Betty Ann Nichols v. C. R. Bard, Inc.        2:19-cv-00189         Okla. N.D.                 4:18-cv-00601
Jennifer Campbell Tate v. C. R. Bard, Inc.   2:15-cv-02139         Pa. W.D.                   2:15-cv-01220-CRE
Amber Nordin v. C. R. Bard, Inc.             2:16-cv-00171         S.D.                       4:16-cv-04005-RAL
Debra Branch v. C. R. Bard, Inc.             2:15-cv-01658         Tex. N.D.                  3:15-cv-01131
Charles Conn v. C. R. Bard, Inc.             2:15-cv-01660         Tex. S.D.                  4:14-cv-00298
Juanita Graham v. C. R. Bard, Inc.           2:15-cv-01659         Tex. S.D.                  2:15-cv-00205
Joyce Teague v. C. R. Bard, Inc.             2:16-cv-00987         Tex. S.D.                  4:16-cv-00685
Luis Castillo v. C. R. Bard, Inc.            2:15-cv-01725         Tex. W.D.                  5:15-cv-00544
Mary Jo Anderson v. C. R. Bard, Inc.         2:15-cv-01663         Wis. E.D.                  1:15-cv-00574




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             Case 2:15-md-02641-DGC Document 19899 Filed 08/20/19 Page 36 of 95
             In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-DGC

                      SUGGESTION OF REMAND AND TRANSFER ORDER
                         Schedule B – Direct-Filed Cases to Be Transferred


                   Case Caption                       Case Number             Transferee District
Lisa Crandell v. C. R. Bard, Inc.              2:17-cv-04638             Ala. M.D.
Rorethia Long v. C. R. Bard, Inc.              2:16-cv-03169             Ala. M.D.
Effie Delphine Rodgers v. C. R. Bard, Inc.     2:17-cv-02268             Ala. M.D.
Dorothy Kay Alexander, v. C. R. Bard, Inc.     2:16-cv-00690             Ala. N.D.
Linda Allen v. C. R. Bard, Inc.                2:17-cv-02646             Ala. N.D.
Mary Ann Eaton v. C. R. Bard, Inc.             2:16-cv-02429             Ala. N.D.
Dawn Farish v. C. R. Bard, Inc.                2:19-cv-02031             Ala. N.D.
Billy Jerry Smith v. C. R. Bard, Inc           2:17-cv-00687             Ala. N.D.
Ted Smith v. C. R. Bard, Inc.                  2:19-cv-03024             Ala. N.D.
Virginia Stone v. C. R. Bard, Inc.             2:19-cv-00058             Ala. N.D.
Betty Walker v. C. R. Bard, Inc.               2:16-cv-04001             Ala. N.D.
Jarvis Griffin v. C. R. Bard, Inc.             2:18-cv-00132             Ala. S.D.
Michael Bradford Kendall v. C. R. Bard, Inc.   2:18-cv-03887             Ala. S.D.
Kyler Ketnor v. C. R. Bard, Inc.               2:17-cv-00636             Ala. S.D.
Kimberly Kyle v. C. R. Bard, Inc.              2:16-cv-03168             Ala. S.D.
Derrick Jermaine Thrower v. C. R. Bard, Inc.   2:19-cv-01628             Ark. E.D.
Landon Ewing v. C. R. Bard, Inc.               2:18-cv-02716             Ark. W.D.
Steve Young v. C. R. Bard, Inc.                2:16-cv-01657             Ark. W.D.
James Fagrell v. C. R. Bard, Inc               2:17-cv-02713             Cal. C.D.
Kenneth Hays v. C. R. Bard, Inc.               2:18-cv-00604             Cal. C.D.
Andrew Mattle v. C. R. Bard, Inc.              2:19-cv-02478             Cal. C.D.
Peter McGrath v. C. R. Bard, Inc.              2:18-cv-01317             Cal. C.D.

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             Case 2:15-md-02641-DGC Document 19899 Filed 08/20/19 Page 37 of 95
             In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-DGC

                      SUGGESTION OF REMAND AND TRANSFER ORDER
                         Schedule B – Direct-Filed Cases to Be Transferred

                   Case Caption                       Case Number             Transferee District
Clarence McNair v. C. R. Bard, Inc.            2:17-cv-02388             Cal. C.D.
Michael Michaleczko v. C. R. Bard, Inc.        2:16-cv-03870             Cal. C.D.
Keely Niemeyer v. C. R. Bard, Inc.             2:16-cv-02236             Cal. C.D.
Matthew Silvas v. C. R. Bard, Inc.             2:17-cv-04505             Cal. C.D.
Ronell Smith v. C. R. Bard, Inc.               2:17-cv-04211             Cal. C.D.
Michael Toth v. C. R. Bard, Inc.               2:16-cv-01976             Cal. C.D.
Deanna Wolfe v. C. R. Bard, Inc.               2:19-cv-01615             Cal. C.D.
Callisa Zuniga v. C. R. Bard, Inc.             2:19-cv-01356             Cal. C.D.
Kathleen Boyer v. C. R. Bard, Inc.             2:19-cv-02747             Cal. E.D.
John Clifford v. C. R. Bard, Inc.              2:18-cv-00832             Cal. E.D.
Ann Denzer v. C. R. Bard, Inc.                 2:17-cv-01496             Cal. E.D.
Julia Gibson v. C. R. Bard, Inc.               2:18-cv-00810             Cal. E.D.
Anthony Gonzalez v. C. R. Bard, Inc.           2:18-cv-00980             Cal. E.D.
Mariya Karpenko v. C. R. Bard, Inc.            2:18-cv-01638             Cal. E.D.
Roger Knotts v. C. R. Bard, Inc.               2:16-cv-00138             Cal. E.D.
Anna Martinez v. C. R. Bard, Inc.              2:18-cv-02389             Cal. E.D.
Lisa Broocks v. C. R. Bard, Inc.               2:19-cv-00295             Cal. E.D.
Sandra Reynolds v. C. R. Bard, Inc.            2:18-cv-00510             Cal. E.D.
Ann Marie Ross v. C. R. Bard, Inc.             2:18-cv-02637             Cal. E.D.
Shirley Thompson v. C. R. Bard, Inc.           2:16-cv-01351             Cal. E.D.
David Todd v. C. R. Bard, Inc.                 2:19-cv-01617             Cal. E.D.
Rebecca Wallace v. C. R. Bard, Inc.            2:18-cv-02233             Cal. E.D.
Francis Laloli v. C. R. Bard, Inc.             2:16-cv-04558             Cal. N.D.
                                                 2
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             In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-DGC

                      SUGGESTION OF REMAND AND TRANSFER ORDER
                         Schedule B – Direct-Filed Cases to Be Transferred

                   Case Caption                          Case Number          Transferee District
Michelle Layman-Hanes v. C. R. Bard, Inc.         2:16-cv-00061          Cal. N.D.
Jillian Nava v. C. R. Bard, Inc.                  2:16-cv-03099          Cal. N.D.
Neil Schultz v. C. R. Bard, Inc.                  2:18-cv-01135          Cal. N.D.
Christopher Svedise v. C. R. Bard, Inc.           2:16-cv-00844          Cal. N.D.
David Burton Fish v. C. R. Bard, Inc.             2:16-cv-01093          Cal. S.D.
Travis Godek v. C. R. Bard, Inc.                  2:19-cv-02494          Cal. S.D.
Jeannie Bautista Plummer v. C. R. Bard, Inc.      2:17-cv-00608          Cal. S.D.
Adriana Rodriguez Hernandez v. C. R. Bard, Inc.   2:18-cv-01006          Colo.
Patrick Jones v. C. R. Bard, Inc.                 2:18-cv-01358          Colo.
Maria Lopez v. C. R. Bard, Inc.                   2:18-cv-00942          Colo.
Therese Mahoney v. C. R. Bard, Inc.               2:16-cv-02146          Colo.
Jamie Mathews v. C. R. Bard, Inc.                 2:16-cv-02147          Colo.
William Owens, Jr. v. C. R. Bard, Inc.            2:15-cv-02142          Colo.
Michael Plaksy v. C. R. Bard, Inc.                2:16-cv-03754          Colo.
Jimmie Quiller v. C. R. Bard, Inc.                2:16-cv-03761          Colo.
Edward Romero v. C. R. Bard, Inc.                 2:19-cv-00789          Colo.
Richard Rowe v. C. R. Bard, Inc.                  2:16-cv-03762          Colo.
Eric Todd Scott v. C. R. Bard, Inc.               2:19-cv-01313          Colo.
Norma Weller v. C. R. Bard, Inc.                  2:16-cv-01633          Colo.
George Cirish v. C. R. Bard, Inc.                 2:19-cv-03741          Conn.
Valerie Duncan v. C. R. Bard, Inc.                2:16-cv-00704          Conn.
Robin Eldridge v. C. R. Bard, Inc.                2:18-cv-00139          Conn.
Krystle Flemming v. C. R. Bard, Inc.              2:18-cv-03295          Conn.
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             Case 2:15-md-02641-DGC Document 19899 Filed 08/20/19 Page 39 of 95
             In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-DGC

                      SUGGESTION OF REMAND AND TRANSFER ORDER
                         Schedule B – Direct-Filed Cases to Be Transferred

                  Case Caption                        Case Number             Transferee District
Susan Phillips-Plese v. C. R. Bard, Inc.       2:18-cv-01279             Conn.
Rodney Thomas v. C. R. Bard, Inc.              2:18-cv-03043             Conn.
Robert Van Heiningen v. C. R. Bard, Inc.       2:16-cv-01340             Conn.
Cheryl Berkley v. C. R. Bard, Inc.             2:19-cv-01532             D.C.
Bridget Cager v. C. R. Bard, Inc.              2:16-cv-00703             D.C
Cynthia McNair v. C. R. Bard, Inc.             2:17-cv-02498             D.C.
Christopher Ferrara v. C. R. Bard, Inc.        2:18-cv-00475             Del.
Janet Adam v. C. R. Bard, Inc.                 2:19-cv-01633             Fla. M.D.
Christina Atkinson v. C. R. Bard, Inc.         2:18-cv-00339             Fla. M.D.
Christine Baker v. C. R. Bard, Inc.            2:17-cv-04582             Fla. M.D.
Juliette Boyd v. C. R. Bard, Inc.              2:16-cv-02791             Fla. M.D.
Craig Boyer v. C. R. Bard, Inc.                2:18-cv-00645             Fla. M.D.
Rebecca Bray v. C. R. Bard, Inc.               2:17-cv-02455             Fla. M.D.
Timothy Case v. C. R. Bard, Inc.               2:16-cv-01091             Fla. M.D.
Donna Day v. C. R. Bard, Inc.                  2:16-cv-00440             Fla. M.D.
Alexandra Dixon v. C. R. Bard, Inc.            2:17-cv-00695             Fla. M.D.
Patrick Duncan v. C. R. Bard, Inc.             2:18-cv-03252             Fla. M.D.
Dianne Gaskin v. C. R. Bard, Inc.              2:19-cv-03946             Fla. M.D.
Deloris Glenn v. C. R. Bard, Inc.              2:18-cv-00735             Fla. M.D.
Susan Hall v. C. R. Bard, Inc.                 2:17-cv-02454             Fla. M.D.
Deborah Halle v. C. R. Bard, Inc.              2:16-cv-02989             Fla. M.D.
John Hamilton v. C. R. Bard, Inc.              2:19-cv-03775             Fla. M.D.
Lynn Tate Hess v. C. R. Bard, Inc.             2:18-cv-00230             Fla. M.D.
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                  Case Caption                        Case Number             Transferee District
Charles Hollis v. C. R. Bard, Inc.             2:17-cv-01655             Fla. M.D.
Deborah Lee Jarem v. C. R. Bard, Inc.          2:17-cv-04725             Fla. M.D.
Vonnetta Johnson v. C. R. Bard, Inc.,          2:16-cv-00771             Fla. M.D.
Rudolph Julius v. C. R. Bard, Inc.             2:19-cv-03671             Fla. M.D.
Dana Jung v. C. R. Bard, Inc.                  2:19-cv-00902             Fla. M.D.
Phillip Keene v. C. R. Bard, Inc.              2:19-cv-02145             Fla. M.D.
Craig Konopko v. C. R. Bard, Inc.              2:18-cv-02713             Fla. M.D.
Mary Larson v. C. R. Bard, Inc.                2:16-cv-01952             Fla. M.D.
Sandra Luscomb v. C. R. Bard, Inc.             2:18-cv-02378             Fla. M.D.
Katheryn Maulden v. C. R. Bard, Inc.           2:19-cv-02046             Fla. M.D.
John McCormick v. C. R. Bard, Inc.             2:19-cv-04030             Fla. M.D.
Sarah Merrifield v. C. R. Bard, Inc.           2:16-cv-00525             Fla. M.D.
Kathleen Murat v. C. R. Bard, Inc.             2:17-cv-00484             Fla. M.D.
Julius Orban v. C. R. Bard, Inc.               2:18-cv-00836             Fla. M.D.
Donald Osbon v. C. R. Bard, Inc.               2:18-cv-00992             Fla. M.D.
Robert Paschal v. C. R. Bard, Inc.             2:16-cv-00309             Fla. M.D.
Damaris Pinero v. C. R. Bard, Inc.             2:19-cv-01355             Fla. M.D.
Sabrina Priest v. C. R. Bard, Inc.             2:18-cv-01728             Fla. M.D.
Rodney Jay Rodriguez v. C. R. Bard, Inc.       2:16-cv-02729             Fla. M.D.
Donna Segars v. C. R. Bard, Inc.               2:17-cv-01223             Fla. M.D.
Matthew Smith v. C. R. Bard, Inc.              2:16-cv-00217             Fla. M.D.
Trevor Dean White v. C. R. Bard, Inc.          2:19-cv-01616             Fla. M.D.
Janet Workmaster v. C. R. Bard, Inc.           2:19-cv-02124             Fla. M.D.
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                  Case Caption                        Case Number             Transferee District
Carol Ann Zimmermann v. C. R. Bard, Inc.       2:16-cv-02078             Fla. M.D.
Julius Bailey v. C. R. Bard, Inc.              2:18-cv-04284             Fla. M.D.
William Brooks v. C. R. Bard, Inc.             2:18-cv-00805             Fla. M.D.
Andrew Ford v. C. R. Bard, Inc.                2:18-cv-00629             Fla. M.D.
Eula Huff v. C. R. Bard, Inc.                  2:16-cv-04487             Fla. M.D.
Tanner Pratt v. C. R. Bard, Inc.               2:16-cv-00779             Fla. M.D.
Alyson Pyfrom v. C. R. Bard, Inc.              2:18-cv-04824             Fla. M.D.
Wilfred Vegiard v. C. R. Bard, Inc.            2:17-cv-04512             Fla. M.D.
Tami Bailey v. C. R. Bard, Inc.                2:17-cv-01046             Fla. M.D.
Earletta Blackwood v. C. R. Bard, Inc.         2:19-cv-00688             Fla. M.D.
Sherly Fairchild v. C. R. Bard, Inc.           2:16-cv-00213             Fla. M.D.
Anthony Irby v. C. R. Bard, Inc.               2:18-cv-00746             Fla. M.D.
Michel Kochensparger v. C. R. Bard, Inc.       2:18-cv-03623             Fla. M.D.
Alyssa Manger v. C. R. Bard, Inc.              2:17-cv-01217             Fla. M.D.
Michael Martinez v. C. R. Bard, Inc.           2:19-cv-01354             Fla. M.D.
Gina Niedzwiecki v. C. R. Bard, Inc.           2:17-cv-03669             Fla. M.D.
Michelle Ann O’Brien v. C. R. Bard, Inc.       2:17-cv-01768             Fla. M.D.
Frankie Rivera v. C. R. Bard, Inc.             2:19-cv-01619             Fla. M.D.
Larry Roger Rothi v. C. R. Bard, Inc.          2:18-cv-00814             Fla. M.D.
Mercedes Soler-Rodriguez v. C. R. Bard, Inc.   2:16-cv-03566             Fla. M.D.
Harleigh Alverson v. C. R. Bard, Inc.          2:17-cv-00642             Ga. M.D.
Starvensky Bowman v. C. R. Bard, Inc.          2:19-cv-01346             Ga. M.D.
Annie Burton v. C. R. Bard, Inc.               2:19-cv-02903             Ga. M.D.
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                   Case Caption                       Case Number             Transferee District
Donna Jarvis v. C. R. Bard, Inc.               2:17-cv-02912             Ga. M.D.
Jeremiah Beck v. C. R. Bard, Inc.              2:19-cv-02028             Ga. N.D.
Larry Dean Cheesman, Sr. v. C. R. Bard, Inc.   2:18-cv-03601             Ga. N.D.
Heather Christiansen v. C. R. Bard, Inc.       2:17-cv-04002             Ga. N.D.
Thomas Crozier v. C. R. Bard, Inc.             2:19-cv-01534             Ga. N.D.
Robert Garrett, Jr. v. C. R. Bard, Inc.        2:18-cv-01178             Ga. N.D.
Gary Lloyd Granttham v. C. R. Bard, Inc.       2:17-cv-03180             Ga. N.D.
Troy Henley v. C. R. Bard, Inc.                2:19-cv-00786             Ga. N.D.
Benjamin Hildebrant v. C. R. Bard, Inc.        2:17-cv-01512             Ga. N.D.
Toney Holland v. C. R. Bard, Inc.              2:18-cv-00120             Ga. N.D.
Damian Knight v. C. R. Bard, Inc.              2:17-cv-02407             Ga. N.D.
Alphonso Little v. C. R. Bard, Inc.            2:17-cv-04027             Ga. N.D.
Frances McCallister v. C. R. Bard, Inc.        2:16-cv-01656             Ga. N.D.
Jeff Stewart v. C. R. Bard, Inc.               2:17-cv-00297             Ga. N.D.
Anthony Tweedell v. C. R. Bard, Inc.           2:16-cv-04509             Ga. N.D.
Pamela Wells v. C. R. Bard, Inc.               2:19-cv-01666             Ga. N.D.
Barney Bivins v. C. R. Bard, Inc.              2:17-cv-01875             Ga. S.D.
Deanna Boykin v. C.R. Bard, Inc.               2:16-cv-04207             Ga. S.D.
Mary Castleberry v. C. R. Bard, Inc.           2:17-cv-04690             Ga. S.D.
Andrew Christensen v. C. R. Bard, Inc.         2:19-cv-03326             Ga. S.D.
William David Creech v. C. R. Bard, Inc.       2:19-cv-02825             Ga. S.D.
Dorothy Ellison v. C. R. Bard, Inc.            2:18-cv-01269             Ga. S.D.
Raymond Leclair v. C. R. Bard, Inc.            2:18-cv-00638             Ga. S.D.
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                    Case Caption                       Case Number              Transferee District
Mary Odom v. C. R. Bard, Inc.                   2:19-cv-01667             Ga. S.D.
Rebecca Sebold v. C. R. Bard, Inc.              2:17-cv-04579             Ga. S.D.
John Willie Tanks, II v. C. R. Bard, Inc.       2:18-cv-02069             Ga. S.D.
Teresa Wilson v. C. R. Bard, Inc.               2:19-cv-03076             Ga. S.D.
Shelly Evans v. C. R. Bard, Inc.                2:17-cv-01068             Iowa N.D.
Kenneth Hill v. C. R. Bard, Inc.                2:17-cv-01596             Iowa N.D.
Brian Van Brocklin v. C. R. Bard, Inc.          2:16-cv-00523             Iowa N.D.
Susan Christine Cole v. C. R. Bard, Inc.        2:17-cv-04583             Iowa S.D.
Michele Roland v. C. R. Bard, Inc.              2:19-cv-02551             Iowa S.D.
Julie Doorn v. C. R. Bard, Inc.                 2:16-cv-01421             Ill. C.D.
Robert Hite v. C. R. Bard, Inc.                 2:17-cv-02875             Ill. C.D.
Sheila Middleton v. C. R. Bard, Inc.            2:15-cv-02145             Ill. C.D.
Teresa Paquin v. C. R. Bard, Inc.               2:17-cv-01842             Ill. C.D.
William Parks v. C. R. Bard, Inc.               2:19-cv-01631             Ill. C.D.
Paula Sittler v. C. R. Bard, Inc.               2:17-cv-00372             Ill. C.D.
Karen Thurman v. C. R. Bard, Inc.               2:19-cv-02902             Ill. C.D.
Patricia Titsworth v. C. R. Bard, Inc.          2:18-cv-01600             Ill. C.D.
James Andersen v. C. R. Bard, Inc.              2:16-cv-01087             Ill. N.D.
Irene Baker v. C. R. Bard, Inc.                 2:19-cv-02919             Ill. N.D.
Celina Bienias v. C. R. Bard, Inc.              2:17-cv-01134             Ill. N.D.
Don Hudson v. C. R. Bard, Inc.                  2:18-cv-00593             Ill. N.D.
Alberta McKamey v. C. R. Bard, Inc.             2:19-cv-03235             Ill. N.D.
Gail Mersinger v. C. R. Bard, Inc.              2:19-cv-01622             Ill. N.D.
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                  Case Caption                        Case Number               Transferee District
Kenneth Miller v. C. R. Bard, Inc.             2:17-cv-01760             Ill. N.D.
Sheila Richard v. C. R. Bard, Inc.             2:17-cv-00792             Ill. N.D.
Ruth Sutton v. C. R. Bard, Inc.                2:18-cv-03414             Ill. N.D.
Paul Thornsberry v. C. R. Bard, Inc.           2:17-cv-00156             Ill. N.D.
Wilma Tuthill v. C. R. Bard, Inc.              2:18-cv-00634             Ill. N.D.
Cathy Agin v. C. R. Bard, Inc.                 2:19-cv-03242             Ill. S.D.
Rodney Fout v. C. R. Bard, Inc.                2:17-cv-01221             Ind. N.D.
Rose Stanley v. C. R. Bard, Inc.               2:17-cv-02804             Ind. N.D.
Pamela Webster v. C. R. Bard, Inc.             2:16-cv-03471             Ind. N.D.
Robert Traughber v. C. R. Bard, Inc.           2:16-cv-01660             Ind. S.D.
Donald Brink v. C. R. Bard, Inc.               2:17-cv-03042             Kan.
Birdie Crathers v. C. R. Bard, Inc.            2:16-cv-01085             Kan.
Brock Kristofer Evans v. C. R. Bard, Inc.      2:19-cv-01610             Kan.
Tina Kennedy v. C. R. Bard, Inc.               2:17-cv-04586             Kan.
Sonia Nunn v. C. R. Bard, Inc.                 2:16-cv-00257             Kan.
Kevin Saffle v. C. R. Bard, Inc.               2:17-cv-02500             Kan.
Cheri Ann Wager v. C. R. Bard, Inc.            2:17-cv-01153             Kan.
Darlene Adams v. C. R. Bard, Inc.              2:18-cv-00601             Ky. E.D.
Donna Briggs v. C. R. Bard, Inc.               2:16-cv-02620             Ky. E.D.
John Brooks v. C. R. Bard, Inc.                2:18-cv-00162             Ky. E.D.
Donna Ferguson v. C. R. Bard, Inc.             2:18-cv-02445             Ky. E.D.
William Fraley v. C. R. Bard, Inc.             2:17-cv-01687             Ky. E.D.
Wanda Faye Jensen v. C. R. Bard, Inc.          2:16-cv-00264             Ky. E.D.
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                  Case Caption                        Case Number             Transferee District
Michael Messer v. C. R. Bard, Inc.             2:16-cv-03691             Ky. E.D.
Amilee Miller v. C. R. Bard, Inc.              2:19-cv-00787             Ky. E.D.
Ashley Marshall v. C. R. Bard, Inc.            2:17-cv-00395             Ky. E.D.
Heather Renee Mullins v. C. R. Bard, Inc.      2:16-cv-02157             Ky. E.D.
Dereck Phillips v. C. R. Bard, Inc.            2:19-cv-02922             Ky. E.D.
Joanna Settles v. C. R. Bard, Inc.             2:16-cv-01562             Ky. E.D.
Ronda Norris v. C. R. Bard, Inc.               2:16-cv-01350             Ky. W.D.
Craig Couturier v. C. R. Bard, Inc.            2:17-cv-02310             La. E.D.
Patricia Levy v. C. R. Bard, Inc.              2:16-cv-00219             La. E.D.
Thaddeus Pierce v. C. R. Bard, Inc.            2:16-cv-02689             La. E.D.
James Dyer, Jr. v. C. R. Bard, Inc.            2:18-cv-01008             La. M.D.
Patricia Abdella v. C. R. Bard, Inc.           2:18-cv-02380             Mass.
Sara Alexakos v. C. R. Bard, Inc.              2:17-cv-00640             Mass.
Rebecca Bechard v. C. R. Bard, Inc.            2:16-cv-01536             Mass.
Natacha Bien-Aime v. C. R. Bard, Inc.          2:17-cv-00719             Mass.
Amanda Boutin v. C. R. Bard, Inc.              2:16-cv-00913             Mass.
Danielle Filo v. C. R. Bard, Inc.              2:18-cv-04823             Mass.
Nicole Elizabeth Gross v. C. R. Bard, Inc.     2:16-cv-00161             Mass.
Eric Hoover v. C. R. Bard, Inc.                2:17-cv-01513             Mass.
Judith Knights v. C. R. Bard, Inc.             2:16-cv-00773             Mass.
Bernardette McBride v. C. R. Bard, Inc.        2:16-cv-01090             Mass.
Alexander Santiago v. C. R. Bard, Inc.         2:18-cv-01318             Mass.
Lynn-Marie Tervo v. C. R. Bard, Inc.           2:17-cv-00791             Mass.
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                  Case Caption                        Case Number             Transferee District
Valerie Brown v. C. R. Bard, Inc.              2:17-cv-04781             Md.
Joseph Geeenhawk v. C. R. Bard, Inc.           2:19-cv-03186             Md.
Renee Goins v. C. R. Bard, Inc.                2:19-cv-03670             Md.
Antwon Hamlett, Sr. v. C. R. Bard, Inc.        2:18-cv-01578             Md.
Freida Harris v. C. R. Bard, Inc.              2:19-cv-03746             Md.
Kimberly Kargbo v. C. R. Bard, Inc.            2:17-cv-02325             Md.
Ohnmar Karlin v. C. R. Bard, Inc.              2:16-cv-00866             Md.
Lamont Mealy v. C. R. Bard, Inc.               2:18-cv-02422             Md.
Sharon Moyer v. C. R. Bard, Inc.               2:18-cv-01573             Md.
Angela Porter v. C. R. Bard, Inc.              2:19-cv-00788             Md.
Sherita Sewell v. C. R. Bard, Inc.             2:16-cv-04272             Md.
Jeannette Spears v. C. R. Bard, Inc.           2:19-cv-02094             Md.
Michael Stem v. C. R. Bard, Inc.               2:17-cv-01642             Md.
Denise Tomlin v. C. R. Bard, Inc.              2:19-cv-01623             Md.
Andre Torrence, Sr. v. C. R. Bard, Inc.        2:18-cv-01576             Md.
Tama Udoema v. C. R. Bard, Inc.                2:19-cv-01629             Md.
Jerome Weiss v. C. R. Bard, Inc.               2:17-cv-04588             Md.
Gary Bussell v. C. R. Bard, Inc.               2:16-cv-01094             Me.
Karlene Duval v. C. R. Bard, Inc.              2:17-cv-01067             Me.
Robert Boodt v. C. R. Bard, Inc.               2:18-cv-02436             Mich. E.D.
Noreen Frances Decuir v. C. R. Bard, Inc.      2:19-cv-01614             Mich. E.D.
Andrew Evans v. C. R. Bard, Inc.               2:18-cv-01695             Mich. E.D.
Mary Lou McMan v. C. R. Bard, Inc.             2:16-cv-04561             Mich. E.D.
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Michael Williams v. C. R. Bard, Inc.           2:16-cv-00239             Mich. E.D.
David Cleeves v. C. R. Bard, Inc.              2:18-cv-02216             Mich. W.D.
Jackson Benson v. C. R. Bard, Inc.             2:16-cv-01685             Minn.
Christian Nicholson v. C. R. Bard, Inc.        2:18-cv-00743             Minn.
Evelyn Rognstad v. C. R. Bard, Inc.            2:18-cv-00834             Minn.
Doreen Yauch v. C. R. Bard, Inc.               2:19-cv-01668             Minn.
Devon Young v. C. R. Bard, Inc.                2:19-cv-01634             Minn.
Shannon Gruhlke v. C. R. Bard, Inc.            2:16-cv-03897             Minn.
Evelyn Eichschlag v. C. R. Bard, Inc.          2:17-cv-02917             Mo. E.D.
Barbara Flanigan v. C. R. Bard, Inc.           2:19-cv-01635             Mo. E.D.
Susan Fregeau v. C. R. Bard, Inc.              2:19-cv-02687             Mo. E.D.
Wanda Meyer v. C. R. Bard, Inc.                2:16-cv-03757             Mo. E.D.
Christopher Montgomery v. C. R. Bard, Inc.     2:19-cv-00752             Mo. E.D.
Terry Stromquist v. C. R. Bard, Inc.           2:19-cv-01314             Mo. E.D.
Joyce Compton v. C. R. Bard, Inc.              2:19-cv-02651             Mo. W.D.
Stacy Hughes v. C. R. Bard, Inc.               2:19-cv-01338             Mo. W.D.
Savanna Kraft v. C. R. Bard, Inc.              2:16-cv-01262             Mo. W.D.
Mel Lampton v. C. R. Bard, Inc.                2:16-cv-04486             Mo. W.D.
Gary Levingston v. C. R. Bard, Inc.            2:18-cv-00476             Mo. W.D.
Rosemarie Marengo v. C. R. Bard, Inc.          2:16-cv-02991             Mo. W.D.
Nicole McMillian v. C. R. Bard, Inc.           2:18-cv-00428             Mo. W.D.
Melvin Prince v. C. R. Bard, Inc.              2:19-cv-03323             Mo. W.D.
Christopher Snapp v. C. R. Bard, Inc.          2:18-cv-00565             Mo. W.D.
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Adrienne Ward v. C. R. Bard, Inc.             2:16-cv-01576             Mo. W.D.
Rodney Dale Bryant v. C. R. Bard, Inc.        2:18-cv-01894             Miss. N.D.
Billy Cupit v. C. R. Bard, Inc.               2:16-cv-03472             Miss. N.D.
Lacy Dodd v. C. R. Bard, Inc.                 2:18-cv-00350             Miss. N.D.
Regina Gates v. C. R. Bard, Inc.              2:18-cv-02442             Miss. N.D.
Bruce Johnson v. C. R. Bard, Inc.             2:19-cv-01577             Miss. N.D.
Johnny Kestner v. C. R. Bard, Inc.            2:16-cv-00215             Miss. N.D.
Robert Mars v. C. R. Bard, Inc.               2:17-cv-04771             Miss. N.D.
Robert Wells v. C. R. Bard, Inc.              2:19-cv-01625             Miss. N.D.
Tymese Williams v. C. R. Bard, Inc.           2:17-cv-04783             Miss. N.D.
Katina Anderson v. C. R. Bard, Inc.           2:19-cv-02857             Miss. S.D.
Jennifer Bryant v. C. R. Bard, Inc.           2:16-cv-01347             Miss. S.D.
Shirley Dance v. C. R. Bard, Inc.             2:16-cv-00332             Miss. S.D.
Charles Dennis v. C. R. Bard, Inc.            2:17-cv-01473             Miss. S.D.
Jessica Dewitt v. C. R. Bard, Inc.            2:17-cv-01634             Miss. S.D.
Roy Wayne Dillard v. C. R. Bard, Inc.         2:17-cv-03849             Miss. S.D.
Gary Dykes v. C. R. Bard, Inc.                2:18-cv-02425             Miss. S.D.
Malcom Fortune v. C. R. Bard, Inc.            2:17-cv-02420             Miss. S.D.
December Faye Klock v. C. R. Bard, Inc.       2:16-cv-01681             Miss. S.D.
Gudrun Elisabet McGahey v. C. R. Bard, Inc.   2:18-cv-04099             Miss. S.D.
Melissa Milam v. C. R. Bard, Inc.             2:16-cv-03077             Miss. S.D.
Elizabeth Morgan v. C. R. Bard, Inc.          2:17-cv-04028             Miss. S.D.
Dennis Nelson v. C. R. Bard, Inc.             2:17-cv-03214             Miss. S.D.
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                      SUGGESTION OF REMAND AND TRANSFER ORDER
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                   Case Caption                       Case Number             Transferee District
Wendell Nowell v. C. R. Bard, Inc.             2:19-cv-03751             Miss. S.D.
Janice Porter v. C. R. Bard, Inc.              2:16-cv-00778             Miss. S.D.
Gerry Waites v. C. R. Bard, Inc.               2:17-cv-00266             Miss. S.D.
Dameon Lamont Wash v. C. R. Bard, Inc.         2:19-cv-01244             Miss. S.D.
Paulette Temple v. C. R. Bard, Inc.            2:18-cv-01005             Mont.
Donald Gregory v. C. R. Bard, Inc., Inc.       2:19-cv-02920             N.C. E.D.
Reginald Jackson v. C. R. Bard, Inc.           2:17-cv-04733             N.C. E.D.
Nicole Johnson v. C. R. Bard, Inc.             2:18-cv-01562             N.C. E.D.
David Pearson v. C. R. Bard, Inc.              2:16-cv-00923             N.C. E.D.
Nolan Averett v. C. R. Bard, Inc.              2:17-cv-00736             N.C. M.D.
Douglas Carlson v. C. R. Bard, Inc.            2:16-cv-04508             N.C. M.D.
Thad Kelly v. C. R. Bard, Inc.                 2:18-cv-00190             N.C. M.D.
Karl Schantz v. C. R. Bard, Inc.               2:17-cv-00994             N.C. M.D.
Curtis Davis v. C. R. Bard, Inc.               2:18-cv-02375             N.C. W.D.
Mary Parrish v. C. R. Bard, Inc.               2:19-cv-02871             N.C. W.D.
Timothy Black v. C. R. Bard, Inc.              2:17-cv-00789             Neb.
Donna Cordle v. C. R. Bard, Inc.               2:19-cv-03077             Neb.
Deborah Kozusko v. C. R. Bard, Inc.            2:17-cv-00654             Neb.
David Vigil v. C. R. Bard, Inc.                2:16-cv-01264             Neb.
Everett Kimball v. C. R. Bard, Inc.            2:17-cv-02251             N.H.
Martin Gutierrez v. C. R. Bard, Inc.           2:19-cv-03390             N.M.
Pauline Hill v. C. R. Bard, Inc.               2:18-cv-01347             N.M.
Keith Thomas v. C. R. Bard, Inc.               2:18-cv-01574             N.M.
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                   Case Caption                       Case Number             Transferee District
Donna Cardona v. C. R. Bard, Inc.              2:18-cv-02416             Nev.
Stephanie Spilotro v. C. R. Bard, Inc.         2:17-cv-01804             Nev.
Reece Freeman v. C. R. Bard, Inc.              2:17-cv-01526             Nev.
William Joseph Giambra v. C. R. Bard, Inc.     2:17-cv-00191             Nev.
Deborah Hammes v. C. R. Bard, Inc.             2:17-cv-02469             Nev.
Toni Perry v. C. R. Bard, Inc.                 2:16-cv-04158             Nev.
Criss Rogers v. C. R. Bard, Inc.               2:16-cv-01600             Nev.
Joseph Scholer v. C. R. Bard, Inc.             2:16-cv-02576             Nev.
Suzanne Sekuler v. C. R. Bard, Inc.            2:17-cv-01689             Nev.
Robert Singer v. C. R. Bard, Inc.              2:17-cv-01690             Nev.
Sherrie Davis v. C. R. Bard, Inc.              2:18-cv-00640             Nev.
Jennifer Tilden v. C. R. Bard, Inc.            2:17-cv-01548             Nev.
Caesar Torres v. C. R. Bard, Inc.              2:17-cv-02711             Nev.
Keresha Woods v. C. R. Bard, Inc.              2:17-cv-01691             Nev.
Vincent Basile v. C. R. Bard, Inc.             2:16-cv-02237             N.Y. E.D.
Denis Carr v. C. R. Bard, Inc.                 2:17-cv-03957             N.Y. E.D.
Tyrone Gilbert v. C. R. Bard, Inc.             2:17-cv-00553             N.Y. E.D.
Pamela Jimenez v. C. R. Bard, Inc.             2:17-cv-03981             N.Y. E.D.
Michael Johnson v. C. R. Bard, Inc.            2:18-cv-02936             N.Y. E.D.
Alexandro Kopoulos v. C. R. Bard, Inc.         2:16-cv-03089             N.Y. E.D.
Gladys Noguet v. C. R. Bard, Inc.              2:18-cv-00975             N.Y. E.D.
Jennifer Richards v. C. R. Bard, Inc.          2:16-cv-01749             N.Y. E.D.
Saverio Sportella v. C. R. Bard, Inc.          2:18-cv-00069             N.Y. E.D.
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                   Case Caption                       Case Number             Transferee District
Michael Thompson v. C. R. Bard, Inc.           2:19-cv-00648             N.Y. E.D.
Wayne Doran v. C. R. Bard, Inc.                2:18-cv-00823             N.Y. N.D.
Anna Malott v. C. R. Bard, Inc.                2:18-cv-01563             N.Y. N.D.
Barbara Pero v. C. R. Bard, Inc.               2:18-cv-02395             N.Y. N.D.
Paul Phillips v. C. R. Bard, Inc.              2:17-cv-01136             N.Y. N.D.
Maria Zackowski v. C. R. Bard, Inc.            2:16-cv-02216             N.Y. N.D.
Rachel Bailey v. C. R. Bard, Inc.              2:16-cv-00600             N.Y. S.D.
Angela DiMaria v. C. R. Bard, Inc.             2:18-cv-01744             N.Y. S.D.
Nelson Hernandez v. C. R. Bard, Inc.           2:18-cv-01313             N.Y. S.D.
Miranda Johnson v. C. R. Bard, Inc.            2:19-cv-01621             N.Y. S.D.
Barbara Petro v. C. R. Bard, Inc.              2:17-cv-00405             N.Y. S.D.
Norman Stoff v. C. R. Bard, Inc.               2:18-cv-02215             N.Y. S.D.
Kerry Tompkins v. C. R. Bard, Inc.             2:19-cv-02313             N.Y. S.D.
Shirley Whaley v. C. R. Bard, Inc.             2:16-cv-00776             N.Y. S.D.
Alan Alcott v. C. R. Bard, Inc.                2:17-cv-02383             N.Y. W.D.
Karen Anderozzi v. C. R. Bard, Inc.            2:19-cv-02905             N.Y. W.D.
Joseph DiFrancesco v. C. R. Bard, Inc.         2:18-cv-02383             N.Y. W.D.
Jessica Gibson v. C. R. Bard, Inc.             2:16-cv-03615             N.Y. W.D.
Derek Brandi v. C. R. Bard, Inc.               2:16-cv-01261             Ohio N.D.
Marton Forkosh v. C. R. Bard, Inc.             2:17-cv-02240             Ohio N.D.
Lisa Franks v. C. R. Bard, Inc.                2:17-cv-03287             Ohio N.D.
Lisa Hart v. C. R. Bard, Inc.                  2:16-cv-03220             Ohio N.D.
Ethlyn Kennedy v. C. R. Bard, Inc.             2:18-cv-00495             Ohio N.D.
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                   Case Caption                        Case Number            Transferee District
Janet Pellegrin v. C. R. Bard, Inc.             2:18-cv-00771            Ohio N.D.
Sara Roe v. C. R. Bard, Inc.                    2:18-cv-00824            Ohio N.D.
Steven Schwartz v. C. R. Bard, Inc.             2:19-cv-01862            Ohio N.D.
Barry Tuttle v. C. R. Bard, Inc.                2:16-cv-04229            Ohio N.D.
Chadwick Wiltrout v. C. R. Bard, Inc.           2:16-cv-04224            Ohio N.D.
Barbara Barton v. C. R. Bard, Inc.              2:17-cv-00325            Ohio S.D.
Christopher Mark Bernhard v. C. R. Bard, Inc.   2:19-cv-01197            Ohio S.D.
Gregory Grooms v. C. R. Bard, Inc.              2:18-cv-01009            Ohio S.D.
Timothy Johnson v. C. R. Bard, Inc.             2:18-cv-02447            Ohio S.D.
Crystal Nicole Land v. C. R. Bard, Inc.         2:19-cv-03419            Ohio S.D.
Tamara Palmer v. C. R. Bard, Inc.               2:18-cv-02394            Ohio S.D.
Michael Salamone v. C. R. Bard, Inc.            2:17-cv-03971            Ohio S.D.
Robert Waldon v. C. R. Bard, Inc.               2:17-cv-00762            Okla. E.D.
Diane Chatman v. C. R. Bard, Inc.               2:16-cv-03595            Okla. N.D.
Maureen LaBurt v. C. R. Bard, Inc.              2:16-cv-02668            Okla. W.D.
Waneva Morris v. C. R. Bard, Inc.               2:17-cv-04513            Okla. W.D.
Rodney Phillips v. C. R. Bard, Inc.             2:17-cv-01670            Okla. W.D.
Rhonda Smith v. C. R. Bard, Inc.                2:19-cv-01624            Okla. W.D.
Timothy Haddon v. C. R. Bard, Inc.              2:19-cv-01613            Or.
Wendy Rhoades v. C. R. Bard, Inc.               2:17-cv-00551            Or.
Craig Willis v. C. R. Bard, Inc.                2:16-cv-01971            Or.
Kimberly Anderson v. C. R. Bard, Inc.           2:17-cv-04780            Pa. E.D.
Linda Barber v. C. R. Bard, Inc.                2:17-cv-00388            Pa. E.D.
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                  Case Caption                        Case Number             Transferee District
Scott Davis v. C. R. Bard, Inc.                2:16-cv-01089             Pa. E.D.
Robert Finger v. C. R. Bard, Inc.              2:19-cv-00294             Pa. E.D.
Brendan Kelly v. C. R. Bard, Inc.              2:16-cv-04170             Pa. E.D.
George Kusner v. C. R. Bard, Inc.              2:18-cv-01115             Pa. E.D.
Laura Maietta v. C. R. Bard, Inc.              2:16-cv-04125             Pa. E.D.
James Miller v. C. R. Bard, Inc.               2:16-cv-03165             Pa. E.D.
Kenneth Mimnaugh v. C. R. Bard, Inc.           2:19-cv-01612             Pa. E.D.
Karen Odor v. C. R. Bard, Inc.                 2:16-cv-03593             Pa. E.D.
Jose Oseguera-Bonilla v. C. R. Bard, Inc.      2:17-cv-04548             Pa. E.D.
Elizabeth Ross v. C. R. Bard, Inc.             2:18-cv-01278             Pa. E.D.
Jeffrey Bunch v. C. R. Bard, Inc.              2:16-cv-01678             Pa. M.D.
Stacy Fortney v. C. R. Bard, Inc.              2:18-cv-01325             Pa. M.D.
Kathy Harris v. C. R. Bard, Inc.               2:18-cv-00818             Pa. M.D.
Rose Henderson v. C. R. Bard, Inc.             2:19-cv-01357             Pa. M.D.
Nicole Shovlin v. C. R. Bard, Inc.             2:17-cv-00630             Pa. M.D.
Douglas Weaver v. C. R. Bard, Inc.             2:17-cv-01550             Pa. M.D.
Jack Zerembo v. C. R. Bard, Inc.               2:19-cv-01606             Pa. M.D.
William Diamond, Jr. v. C. R. Bard, Inc.       2:19-cv-01627             Pa. W.D.
Jodi McGee v. C. R. Bard, Inc.                 2:17-cv-03110             Pa. W.D.
Robert Taylor v. C. R. Bard, Inc.              2:17-cv-02102             Pa. W.D.
Billy Gene Brummett v. C. R. Bard, Inc.        2:16-cv-02875             S.C.
Florine Brunson v. C. R. Bard, Inc.            2:19-cv-01669             S.C.
Margaret Buxbaum v. C.R. Bard, Inc.            2:16-cv-01092             S.C.
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                   Case Caption                       Case Number             Transferee District
James Dawidowicz v. C. R. Bard, Inc.           2:16-cv-01634             S.C.
Candy Bright Russell v. C. R. Bard, Inc.       2:17-cv-04754             S.C.
Inez Singleton v. C. R. Bard, Inc.             2:17-cv-01056             S.C.
Edward Stephan v. C. R. Bard, Inc.             2:17-cv-03977             S.C.
Allen Gene Erlitz v. C. R. Bard, Inc.          2:16-cv-00212             S.D.
Johnathon Hoffman v. C. R. Bard, Inc.          2:17-cv-04175             S.D.
Wanda Sinard v. C. R. Bard, Inc.               2:19-cv-00791             Tenn. E.D.
Meribeth Zane v. C. R. Bard, Inc.              2:16-cv-03170             Tenn. E.D.
Ronald Brigham v. C. R. Bard, Inc.             2:18-cv-00637             Tenn. M.D.
Jana Heads v. C. R. Bard, Inc.                 2:17-cv-01671             Tenn. M.D.
Justin Wayne Heath v. C. R. Bard, Inc.         2:17-cv-04224             Tenn. M.D.
Danny L. Hickman v. C. R. Bard, Inc.           2:16-cv-03771             Tenn. M.D.
Trudy Johnson v. C. R. Bard, Inc.              2:16-cv-01659             Tenn. M.D.
Lawrence David Kelley v. C. R. Bard, Inc.      2:17-cv-00423             Tenn. M.D.
James Nolen v. C. R. Bard, Inc.                2:18-cv-03296             Tenn. M.D.
Darlene Brasfield v. C. R. Bard, Inc.          2:18-cv-01402             Tenn. W.D.
Jo Hampton v. C. R. Bard, Inc.                 2:18-cv-00623             Tenn. W.D.
Jerry Jones v. C. R. Bard, Inc.                2:16-cv-01314             Tenn. W.D.
Tonya Lovett v. C. R. Bard, Inc.               2:16-cv-03759             Tenn. W.D.
Delbert Baker v. C. R. Bard, Inc.              2:16-cv-03973             Tex. E.D.
Patricia Fawcett v. C. R. Bard, Inc.           2:18-cv-00586             Tex. E.D.
Patricia Capers v. C. R. Bard, Inc.            2:19-cv-01626             Tex. E.D.
Eugenia Crawford v. C. R. Bard, Inc.           2:19-cv-01285             Tex. E.D.
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Suddie Harrison v. C. R. Bard, Inc.              2:19-cv-01283           Tex. E.D.
Audrey Oliver v. C.R. Bard, Inc.                 2:16-cv-00515           Tex. E.D.
Amy Shaffer v. C. R. Bard, Inc.                  2:18-cv-01324           Tex. E.D.
Brett Barton v. C. R. Bard, Inc.                 2:16-cv-01338           Tex. N.D.
James Blackwell v. C. R. Bard, Inc.              2:16-cv-04180           Tex. N.D.
Bobbie Jo Brown v. C. R. Bard, Inc.              2:16-cv-03629           Tex. N.D.
Tanya Bursen-Meals v. C. R. Bard, Inc.           2:16-cv-04208           Tex. N.D.
Rex Cox v. C. R. Bard, Inc.                      2:18-cv-01601           Tex. N.D.
Terry Kelly v. C. R. Bard, Inc.                  2:17-cv-02422           Tex. N.D.
Karin Mayberry v. C. R. Bard, Inc.               2:19-cv-04043           Tex. N.D.
Kristen McCollough v. C. R. Bard, Inc.           2:17-cv-01516           Tex. N.D.
Kenneth McNew v. C. R. Bard, Inc.                2:18-cv-00517           Tex. N.D.
William Moore v. C. R. Bard, Inc.                2:19-cv-02766           Tex. N.D.
Glenda Olge v. C. R. Bard, Inc.                  2:19-cv-03082           Tex. N.D.
Jerry Schmidt v. C. R. Bard, Inc.                2:18-cv-00587           Tex. N.D.
John Simmons v. C. R. Bard, Inc.                 2:17-cv-01527           Tex. N.D.
David Siri v. C. R. Bard, Inc.                   2:17-cv-01628           Tex. N.D.
Raymon Sweezey, IV v. C. R. Bard, Inc.           2:19-cv-01608           Tex. N.D.
Christopher Jowel Valderas v. C. R. Bard, Inc.   2:16-cv-00569           Tex. N.D.
Patricia Walker v. C. R. Bard, Inc.              2:17-cv-01048           Tex. N.D.
LaVinnia Walters v. C. R. Bard, Inc.             2:16-cv-03919           Tex. N.D.
Jessica Williams v. C. R. Bard, Inc.             2:16-cv-02977           Tex. N.D.
Schaneiqua Marie Wright v. C. R. Bard, Inc.      2:19-cv-01576           Tex. N.D.
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Bryan Wyers v. C. R. Bard, Inc.                   2:16-cv-03622          Tex. N.D.
Cynthia Burton v. C. R. Bard, Inc.                2:18-cv-01004          Tex. S.D.
Tony Cundiff v. C. R. Bard, Inc.                  2:16-cv-00494          Tex. S.D.
Shirley Doze-Johnson v. C. R. Bard, Inc.          2:16-cv-00285          Tex. S.D.
Bettie Jane Forbes v. C. R. Bard, Inc.            2:17-cv-04755          Tex. S.D.
Mary Hamilton v. C. R. Bard, Inc.                 2:18-cv-00591          Tex. S.D.
Teresa Holder v. C. R. Bard, Inc.                 2:16-cv-02704          Tex. S.D.
Amber Kay Kirschke v. C. R. Bard, Inc.            2:18-cv-02392          Tex. S.D.
Kathleen McPeak v. C. R. Bard, Inc.               2:16-cv-02242          Tex. S.D.
James Orn v. C. R. Bard, Inc.                     2:18-cv-02403          Tex. S.D.
Laura Ramirez v. C. R. Bard, Inc.                 2:17-cv-02430          Tex. S.D.
Elaine Scott v. C. R. Bard, Inc.                  2:17-cv-01630          Tex. S.D.
William Smith v. C. R. Bard, Inc.                 2:18-cv-03589          Tex. S.D.
Karen Arkadie v. C. R. Bard, Inc.                 2:18-cv-00737          Tex. W.D.
Augustine Badell v. C. R. Bard, Inc.              2:17-cv-01403          Tex. W.D.
Kristen Matthew Brandenburg v. C. R. Bard, Inc.   2:18-cv-00598          Tex. W.D.
Michael Escamilla v. C. R. Bard, Inc.             2:19-cv-02462          Tex. W.D.
Annabelle Espinoza v. C. R. Bard, Inc.            2:16-cv-04430          Tex. W.D.
Tama Gordon v. C. R. Bard, Inc.                   2:17-cv-03653          Tex. W.D.
Christopher M. Green v. C. R. Bard, Inc.          2:17-cv-01404          Tex. W.D.
Virgil Hopkins v. C. R. Bard, Inc.                2:19-cv-03302          Tex. W.D.
Linda Isaac v. C. R. Bard, Inc.                   2:16-cv-01497          Tex. W.D.
Robert Porter v. C. R. Bard, Inc.                 2:17-cv-03367          Tex. W.D.
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Cheryl Lynn Farnsworth v. C. R. Bard, Inc.     2:18-cv-00885             Utah
Sherlynn Harward v. C. R. Bard, Inc.           2:19-cv-01181             Utah
Matthew Lowe v. C. R. Bard, Inc.               2:19-cv-01618             Utah
William Edwards v. C. R. Bard, Inc.            2:18-cv-00740             Va. E.D.
Tameka Golden v. C. R. Bard, Inc.              2:16-cv-01398             Va. E.D.
Kimberly Gottlieb v. C. R. Bard, Inc.          2:19-cv-01609             Va. E.D.
John Eric Harrit v. C. R. Bard, Inc.           2:18-cv-00511             Va. E.D.
Nouhoun Keita v. C. R. Bard, Inc.              2:18-cv-03603             Va. E.D.
Darius Kiser v. CR Bard, Inc.                  2:19-cv-01353             Va. E.D.
James McConnell v. C. R. Bard, Inc.            2:17-cv-01514             Va. E.D.
Maria McCrea v. C. R. Bard, Inc.               2:17-cv-01515             Va. E.D.
Andrea Stith v. C. R. Bard, Inc.               2:16-cv-01849             Va. E.D.
Richard Toms v. C. R. Bard, Inc.               2:16-cv-01632             Va. E.D.
Lorraine Abraham v. C. R. Bard, Inc.           2:16-cv-03240             Va. W.D.
Robert Harbridge v. C. R. Bard, Inc.           2:16-cv-00008             Va. W.D.
Patricia Miller v. C. R. Bard, Inc.            2:18-cv-02388             Va. W.D.
Aleasia Jo Phillips v. C. R. Bard, Inc.        2:16-cv-03871             Va. W.D.
Barbara Satterwhite v. C. R. Bard, Inc.        2:16-cv-00679             Va. W.D.
James Berg v. C. R. Bard, Inc.                 2:19-cv-01607             Wash. E.D.
Randy Watkins v. C. R. Bard, Inc., Inc.        2:19-cv-02923             Wash. E.D.
Howard Barnhouse v. C. R. Bard, Inc.           2:18-cv-02441             Wash. W.D.
Gene Curtis Braffith v. C. R. Bard, Inc.       2:16-cv-03642             Wash. W.D.
Robert Brown v. C. R. Bard, Inc.               2:17-cv-02171             Wash. W.D.
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Loral Elliott v. C. R. Bard, Inc.                2:16-cv-04495           Wash. W.D.
Jennie Nelson v. C. R. Bard, Inc.                2:16-cv-00620           Wash. W.D.
Kimberly Pluard v. C. R. Bard, Inc.              2:17-cv-00790           Wash. W.D.
Alexandra Elizabeth Rourke v. C. R. Bard, Inc.   2:16-cv-03567           Wash. W.D.
Walter Solomon v. C. R. Bard, Inc.               2:17-cv-00680           Wash. W.D.
Harvey Talbert v. C. R. Bard, Inc.               2:17-cv-00271           Wash. W.D.
David Wayne Thomas, II v. C. R. Bard, Inc.       2:17-cv-00135           Wash. W.D.
Kris Albright v. C. R. Bard, Inc.                2:16-cv-04573           Wis. E.D.
Gary Brzakala v. C. R. Bard, Inc.                2:18-cv-01892           Wis. E.D.
Victoria Gibbs v. C. R. Bard, Inc.               2:16-cv-02217           Wis. E.D.
Marie E. Gruendemann v. C. R. Bard, Inc.         2:18-cv-00774           Wis. E.D.
Jeanne R. Lecher v. C. R. Bard, Inc.             2:17-cv-00113           Wis. E.D.
Karen Masters v. C. R. Bard, Inc.                2:19-cv-02688           Wis. E.D.
Chris Mentch v. C. R. Bard, Inc.                 2:18-cv-00389           Wis. E.D.
Audrey Michels v. C. R. Bard, Inc.               2:17-cv-01282           Wis. E.D.
Richard Stefan v. C. R. Bard, Inc.               2:17-cv-01152           Wis. E.D.
Timothy Geiger v. C. R. Bard, Inc.               2:16-cv-01951           Wis. W.D.
Natalie Johnson v. C. R. Bard, Inc.              2:19-cv-00936           Wis. W.D.
Robert Korhonen v. C. R. Bard, Inc.              2:19-cv-03241           Wis. W.D.
Angelo Reynolds v. C. R. Bard, Inc.              2:19-cv-00656           Wis. W.D.
Sheila Ann Casino v. C. R. Bard, Inc.            2:17-cv-03989           W. Va. S.D.
Sandra Lee Graham v. C. R. Bard, Inc.            2:17-cv-04584           W. Va. S.D.
Oma Hardwick v. C. R. Bard, Inc.                 2:16-cv-01953           W. Va. S.D.
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                      SUGGESTION OF REMAND AND TRANSFER ORDER
                         Schedule B – Direct-Filed Cases to Be Transferred

                Case Caption                          Case Number            Transferee District
Diane Lee Manns v. C. R. Bard, Inc.            2:17-cv-01088             W. Va. S.D.
Dianna Roush v. C. R. Bard, Inc.               2:19-cv-00790             W. Va. S.D.
Steven Clyde Sharpe v. C. R. Bard, Inc.        2:18-cv-00732             W. Va. S.D.
Mark Topping v. C. R. Bard, Inc.               2:16-cv-01339             W. Va. S.D.




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In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC


              SUGGESTION OF REMAND AND TRANSFER ORDER
                            Exhibit 1 – MDL Orders



                    CASE MANAGEMENT ORDERS (CMOs)

 Date Filed    Doc. No. Docket Text
 10/30/2015      248    CMO 1 re Leadership Counsel Appointments
 11/16/2016     4016    Amended CMO 1 re Leadership Counsel Appointments
 03/21/2017     5285    Second Amended CMO 1 re Plaintiff Leadership Team
 02/04/2019     15098   Third Amended CMO 1 re Plaintiff Leadership Team
 10/30/2015      249    CMO 2 re Setting Deadlines, First Phase of Discovery
 12/01/2015      314    CMO 3 re Non-waiver Order Pursuant to Rule 502(d)
 12/17/2015      363    CMO 4 re Master Complaint, Responsive Pleadings, Short
                        Form Complaint, Waiver, and Answer
 3/17/2016      1108    Amended CMO 4 re Master Complaint, Responsive
                        Pleadings, Short Form Complaint, Waiver, and Answer
 4/20/2016      1485    Second Amended CMO 4 re Master Complaint, Responsive
                        Pleadings, Short Form Complaint, Waiver, and Answer
 12/17/2015      365    CMO 5 re Plaintiff and Defendant Profile Forms
 03/03/2016      927    Amended CMO 5 re Plaintiff and Defendant Profile Forms
 12/18/2015      372    CMO 6 re Rules to Establishing Common Benefit Fee
 01/05/2016      401    CMO 7 re Stipulations Concerning Redactions
 02/02/2016      519    CMO 8 re Second Phase of Discovery
 03/31/2016     1259    CMO 9 re ESI and production protocol
 04/01/2016     1319    CMO 10 re Second Phase Discovery, Bellwether, ESI, FDA,
                        Deposition, and Privilege Log
 05/05/2016     1662    CMO 11 re Bellwether Selection Process
 05/05/2016     1663    CMO 12 re Joint Record Collection
 06/21/2016     2238    CMO 13 re ESI, FDA Warning Letter and Designations
 06/21/2016     2239    CMO 14 re Deposition Protocols

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                   CASE MANAGEMENT ORDERS (CMOs)

 Date Filed   Doc. No. Docket Text
 08/25/2016    3214     CMO 15 re Lexecon Waivers, ESI Discovery, Multi-plaintiff
                        Actions, and Deceased Plaintiffs
 08/25/2016    3215     CMO 16 re Deadlines Related to Barraza
 12/02/2016    4141     Amended CMO 16 re Deadlines Related to Barraza
 09/14/2016    3372     CMO 17 re Protective Order and Expedited ESI Production
 11/16/2016    4015     Amended CMO 17 re Protective Order and Redactions of
                        Material from Expedited ESI Production
 10/17/2016    3685     CMO 18 re Adjusted Discovery Schedule
 12/13/2016    4311     CMO 19 re ESI and Bellwether Selection
 12/22/2016    4335     CMO 20 re Discovery Deadlines for Discovery Group 1 and
                        Bellwether Group 1
 02/06/2017    4866     CMO 21 re Discovery Protocols for Discovery Group 1
 02/17/2017    5007     CMO 22 re Setting Deadlines
 05/05/2017    5770     CMO 23 re Expert Deposition Deadlines, Bellwether Case
                        Selection, Preemption Motion for Summary Judgment, and
                        Mature Cases
 05/19/2017    5881     CMO 23 re Discovery Protocols for Bellwether Group 1
 05/19/2017    5883     Amended CMO 24 re Discovery Protocols for Bellwether
                        Group 1
 06/06/2017    6227     CMO 25 re Bellwether Group 1 Amended Discovery
                        Schedule
 07/17/2017    6799     CMO 26 re Depositions of Dr. Henry and Dr. Altonaga,
                        Communications among Plaintiffs’ Experts, and Bellwether
                        Trial Issues
 10/10/2017    8113     CMO 27 re Privilege Issues, Bellwether Trial Schedule,
                        Plaintiffs’ Motion for Partial Summary Judgment, and
                        Recusal Unnecessary
 11/21/2017    8871     CMO 28 re Booker Bellwether Trial Schedule, and Mature
                        Cases



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                   CASE MANAGEMENT ORDERS (CMOs)

 Date Filed   Doc. No. Docket Text
 12/21/2017    9415     CMO 29 re Booker Bellwether Trial Schedule, Motion to
                        Certify Appeal, and Cisson Motion Briefing
 01/23/2018    9775     CMO 30 re Motions Hearings, Motions in Limine, and
                        Punitive Damages in Booker
 03/02/2018    10323    CMO 31 re Booker Trial
 05/07/2018    11011    CMO 32 re Jones Trial
 06/01/2018    11320    CMO 33 re Mulkey as Next Bellwether Selection, and
                        Mulkey Trial Schedule
 06/28/2018    11659    CMO 34 re Next 3 Bellwether Trials, Kruse Trial Schedule,
                        Use of Dr. Kandarpa at Trial, Sixth Bellwether Tinlin,
                        Disposition of SNF Cases, and Remand of Mature Cases
 07/13/2018    11871    CMO 35 re September, November and May Bellwether
                        Trials, and Hyde September Bellwether Trial Schedule
 08/02/2018    12061    CMO 36 re Tinlin Bellwether Pre-trial Schedule
 10/04/2018    12830    CMO 37 re Hyde Trial
 10/05/2018    12853    CMO 38 re Future Bellwether Trials, February and May
                        Bellwether Trials, Motion to Seal Trial Exhibits, Settlement
                        Talks and Remand, and SNF Cases
 10/16/2018    12971    CMO 39 re Tinlin Bellwether Case
 11/08/2018    13329    CMO 40 re Mulkey Bellwether Trial
 02/08/2019    15176    CMO 41 re Tinlin Trial, SNF Cases, Remand of Mature
                        Cases, and Possible Settlement Procedures
 03/21/2019    16343    CMO 42 re Tinlin Trial, SNF Cases, Duplicative Cases,
                        Settlement Procedures and Remand or Transfer
 05/02/2019    17494    CMO 43 re Tinlin Trial, Common Benefit Fund Fee and
                        Expense Accounts, Closing Date for New Cases and Remand
                        or Transfer, and SNF Cases




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                             DISCOVERY ORDERS

 Date Filed   Doc. No. Docket Text
 10/30/2015     249     CMO 2 re Setting Deadlines, First Phase of Discovery
 02/02/2016     519     CMO 8 re Second Phase of Discovery

 03/31/2016    1259     CMO 9 re Electronically Stored Information and production
                        protocol
 04/01/2016    1319     CMO 10 re Second Phase Discovery, Bellwether, ESI, FDA,
                        Deposition, and Privilege Log
 05/05/2016    1663     CMO 12 re Joint Record Collection
 06/21/2016    2238     CMO 13 re ESI, FDA Warning Letter and Designations
 06/21/2016    2239     CMO 14 re Deposition Protocols
 08/25/2016    3214     CMO 15 re Lexecon Waivers, ESI Discovery, Multi-plaintiff
                        Actions, and Deceased Plaintiffs
 08/29/2016    3272     Order re Deposition of Jim Beasley
 09/06/2016    3312     Order re discovery disputes concerning Plaintiffs’
                        communications with FDA
 09/06/2016    3313     Order re Plaintiffs’ communications with NBC or other
                        media outlets and admissibility at trial
 09/06/2016    3314     Order re Plaintiffs’ third party funding arrangements
 09/14/2016    3372     CMO 17 re Protective Order and Expedited ESI Production
 11/16/2016    4015     Amended CMO 17 re Protective Order and Redactions of
                        Material from Expedited ESI Production
 09/16/2016    3398     Order re ESI generated by foreign entities that sell filters
                        abroad
 10/17/2016    3685     CMO 18 re Adjusted Discovery Schedule
 12/13/2016    4311     CMO 19 re ESI and Bellwether Selection
 12/22/2016    4335     CMO 20 re Discovery Deadlines for Discovery Group 1 and
                        Bellwether Group 1
 12/24/2016    4339     Order re proposed depositions of and interrogatories to
                        Plaintiffs’ counsel



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                             DISCOVERY ORDERS

 Date Filed   Doc. No. Docket Text
 02/06/2017    4865     Order re discovery dispute on ex parte communications with
                        treating physicians and depositions of treating physicians and
                        sales representatives
 02/06/2017    4866     CMO 21 re Discovery Protocols for Discovery Group 1

 05/05/2017    5770     CMO 23 re Expert Deposition Deadlines, Bellwether Case
                        Selection, Preemption Motion for Summary Judgment, and
                        Mature Cases
 05/19/2017    5881     CMO 23 re Discovery Protocols for Bellwether Group 1

 05/19/2017    5883     Amended CMO 24 re Discovery Protocols for Bellwether
                        Group 1
 06/06/2017    6227     CMO 25 re Bellwether Group 1 Amended Discovery
                        Schedule
 07/17/2017    6799     CMO 26 re Depositions of Dr. Henry and Dr. Altonaga,
                        Communications among Plaintiffs’ Experts, and Bellwether
                        Trial Issues



                   DISCOVERY AND PRIVILEGE ORDERS

 Date Filed   Doc. No. Docket Text
 12/01/2015     314     CMO 3 re Non-waiver Order Pursuant to Rule 502(d)
 02/11/2016     699     Order re Motion for Protective Order concerning Dr. John
                        Lehmann's December 15, 2004, report as protected work
                        product
 07/25/2016    2813     Order re Plaintiffs’ Motion to Compel (Privilege Log Issues)
 02/06/2017    4865     Order re discovery dispute on ex parte communications with
                        treating physicians and depositions of treating physicians and
                        sales representatives
 07/17/2017    6799     CMO 26 re Depositions of Dr. Henry and Dr. Altonaga,
                        Communications among Plaintiffs’ Experts, and Bellwether
                        Trial Issues

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                   DISCOVERY AND PRIVILEGE ORDERS

 Date Filed   Doc. No. Docket Text
 10/10/2017    8113     CMO 27 re Privilege Issues, Bellwether Trial Schedule,
                        Plaintiffs’ Motion for Partial Summary Judgment, and
                        Recusal Unnecessary
 10/20/2017    8315     Order that Plaintiffs need not produce the withheld expert
                        communications or provide a privilege log on these
                        communications to Defendants.



                              DAUBERT ORDERS

 Date Filed   Doc. No. Docket Text
 12/21/2017    9428     Order re Motion to Disqualify Plaintiffs' Expert Thomas
                        Kinney, M.D.
 12/21/2017    9432     Order re Motion to Disqualify Plaintiffs' Experts Drs.
                        Resnick, Vogelzang, and Desai
 12/22/2017    9433     Order re Motion to Exclude Plaintiffs' Experts Drs. Parisian
                        and Kessler
 12/22/2017    9434     Order re Motion to Exclude Plaintiffs' Experts Drs. Kinney,
                        Roberts, and Kalva
 01/22/2018    9770     Order re Motion to Exclude Plaintiffs' Expert Dr. Eisenberg
 01/22/2018    9771     Order re Motion to Exclude Plaintiffs' Expert Dr. Muehrcke
 01/22/2018    9772     Order re Motion to Exclude Plaintiffs' Expert Dr. Hurst
 01/22/2018    9773     Order re Motion to Exclude Plaintiffs' Expert Dr. Betensky
 02/06/2018    9991     Order re Motion to Exclude Bard's Expert Dr. Grassi
 02/08/2018    10051    Order re Motion to Exclude Plaintiffs' Expert Dr.
                        McMeeking
 02/08/2018    10052    Order re Motion to Exclude Plaintiffs' Expert Dr. Ritchie
 02/12/2018    10072    Order re Motion to Exclude Plaintiffs' Experts Drs. Garcia
                        and Streiff
 02/21/2018    10230    Order re Motion to Exclude Bard's Experts Drs. Grassi and
                        Morris

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                              DAUBERT ORDERS

 Date Filed   Doc. No. Docket Text
 02/21/2018    10231    Order re Motion to Exclude Bard's Expert Dr. Morris
 04/16/2019    16992    Order re Motion to Exclude Plaintiffs’ Expert Dr.
                        McMeeking
 04/23/2019    17285    Order re Motion to Exclude Bard’s Expert Dr. Morris



                        MOTIONS IN LIMINE ORDERS

 Date Filed   Doc. No. Docket Text
 01/23/2018    9775     CMO 30 re Motions Hearings, Motions in Limine, and
                        Punitive Damages in Booker
 01/26/2018    9861     Joint Stipulation re prohibiting raising certain issues in the
                        presence of the jury for Booker Bellwether case
 01/29/2018    9881     Order re admissibility of (1) pre-market clearance of Bard
                        IVC filters by FDA and (2) the lack of FDA Enforcement
                        Action against Bard
 02/15/2018    10075    Order re Motions in Limine re Photographs of Mike Randall,
                        Dr. Kinney work for Bard, Benevolent Activities, Evidence
                        Not Produced in Complaint Files, Prior Judicial Opinions,
                        Adverse Impact of a Plaintiff's Verdict, Informed Consent
                        Form, Dr. Kang Social Media Posts, Personal Traits of
                        Employees and Witnesses for Booker Bellwether case
 02/22/2018    10235    Order re Parties' Joint Stipulation re prohibiting raising
                        certain issues in the presence of the jury for Booker
                        Bellwether case
 03/01/2018    10258    Order re Motions in Limine re Recovery® Filter
                        Complications, Recovery® Filter Development, FDA
                        Warning Letter, IVC Filter as Lifesaving Devices, IVC filters
                        are Gold Standard, Nonparties at Fault, Statements from
                        Associations and Other Groups, FDA Consent for Warnings
                        or Recalls for Booker Bellwether case
 03/09/2018    10382    Order re Plaintiff's use of the depositions of Drs. Moritz,
                        Rogers, and Stein at trial

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In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC


                        MOTIONS IN LIMINE ORDERS

 Date Filed   Doc. No. Docket Text
 03/19/2018    10489    Order re Simon Nitinol Filter complication evidence
 04/18/2018    10819    Order re reconsideration motions relating to Recovery®
                        Filter Evidence and cephalad Migration Deaths for Jones
                        Bellwether case
 04/27/2018    10920    Order re Plaintiff’s motion for reconsideration of Court Order
                        excluding evidence of Recovery® Filter Cephalad Migration
                        Deaths for Jones Bellwether case
 05/03/2018    10947    Order re Motions in Limine re (1) Case Specific Medical
                        Issues (2) Relatives receipt of IVC Filters, (3) Experts
                        Retained In Other Litigation, (4) Attorney Advertising, (5)
                        Other Lawsuits for Jones Bellwether case
 05/08/2018    11041    Order re cephalad migration deaths for Jones Bellwether case
 05/15/2018    11082    Order re reconsideration of Recovery migration deaths
 05/29/2018    11256    Order re cephalad migration, Recovery filter and deaths and
                        FDA evidence for Jones Bellwether case
 09/04/2018    12507    Order re SIR Guidelines and IFU for Hyde Bellwether case

 09/07/2018    12533    Order re cephalad migration deaths, SNF as reasonable
                        alternative design, personal opinions of Dr. Muehrcke,
                        informed consent, FDA evidence, Surgeon General’s Call to
                        Action, and falling accidents for Hyde Bellwether case
 04/23/2019    17285    Order re medical care as an intervening cause of injury for
                        Tinlin Bellwether case
 04/26/2019    17401    Order re Ms. Tinlin’s IVC Size, unrelated medical
                        conditions, rates of filter complications, retrievable filter
                        sales versus SNF sales, social security benefits, cephalad
                        migration deaths, FDA warning letter, crisis communications
                        plan, and patient at Dr. Muehrcke’s hospital for Tinlin
                        Bellwether case




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                      DEPOSITION DESIGNATION ORDERS

 Date Filed   Doc. No.   Docket Text
 03/07/2018    10348     Order re deposition designations for Booker Bellwether case
 03/12/2018    10403     Order re deposition designations for Booker Bellwether case
 03/14/2018    10438     Order re deposition designations for Booker Bellwether case
 03/19/2018    10486     Order re deposition designations for Booker Bellwether case
 03/21/2018    10497     Order re deposition designations for Booker Bellwether case
 03/26/2018    10524     Order re deposition designations for Booker Bellwether case
 05/01/2018    10922     Order re deposition designations for Jones Bellwether case
 05/10/2018    11064     Order re deposition designations for Jones Bellwether case
 05/11/2018    11073     Order re deposition designations for Jones Bellwether case
 05/14/2018    11080     Order re deposition designations for Jones Bellwether case
 05/31/2018    11313     Order re deposition designations for Jones Bellwether case
 08/27/2018    12357     Order re deposition designations for Hyde Bellwether case
 09/04/2018    12508     Order re deposition designations for Hyde Bellwether case
 09/12/2018    12590     Order re deposition designations for Hyde Bellwether case
 09/13/2018    12595     Order re deposition designations for Hyde Bellwether case
 09/17/2018    12598     Order re deposition designations for Hyde Bellwether case
 04/26/2019    17386     Order re deposition designations for Tinlin Bellwether case
 05/03/2019    17513     Order re deposition designations for Tinlin Bellwether case
 05/07/2019    17582     Order re deposition designations for Tinlin Bellwether case



                          MISCELLANEOUS ORDERS

 Date Filed   Doc. No. Docket Text
 11/10/2015     269      Amended Stipulated Protective Order re Confidentiality
 11/22/2017    8872      Order re Bard’s Motion for Summary Judgment on
                         Preemption Grounds


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                         MISCELLANEOUS ORDERS

 Date Filed   Doc. No. Docket Text
 11/22/2017    8874     Order re Bard’s Motion for Summary Judgment for Booker
                        Bellwether case
 03/12/2018    10404    Order re Bard’s Motion for Summary Judgment for Jones
                        Bellwether case
 03/30/2018    10587    Order re final trial preparation and setting Final Pretrial
                        Conference for Jones Bellwether case.
 06/01/2018    11321    Order re final trial preparation and setting Final Pretrial
                        Conference for Mulkey Bellwether case.
 06/28/2018    11659    Order re final trial preparation and setting Final Pretrial
                        Conference for Kruse Bellwether case.
 07/13/2018    11871    Order re final trial preparation and setting Final Pretrial
                        Conference for Hyde Bellwether case.
 07/26/2018    12007    Order re Bard’s Motion for Summary Judgment for Hyde
                        Bellwether case
 08/02/2018    12061    Order re final trial preparation for Tinlin Bellwether case.
 08/17/2018    12202    Order re Bard’s Motion for Summary Judgment for Kruse
                        Bellwether case
 09/12/2018    12589    Order re Preemption of Negligence Per Se for Hyde
                        Bellwether case
 09/13/2018    12593    Order re reconsideration of Order denying Wisconsin
                        Government Rules Rebuttable Presumption of Non-Defect
                        for Hyde Bellwether case
 10/05/2018    12853    Order re amended schedule for final trial preparation and
                        setting Final Pretrial Conference for Mulkey and Tinlin
                        Bellwether cases.
 10/16/2018    12971    Order re amended schedule for final trial preparation and
                        setting Final Pretrial Conference for Tinlin Bellwether case.
 04/16/2019    17008    Order re Bard’s Motion for Summary Judgment for Tinlin
                        Bellwether case
 05/31/2019    18038    Order re Plaintiffs Steering Committee’s Motion to Modify
                        CMO 6 to Increase the Common Benefit Assessments



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                  MASTER AND SHORT-FORM PLEADINGS

 Date Filed   Doc. No. Docket Text
 10/30/2015     249     CMO 2 re Setting Deadlines, First Phase of Discovery
 12/17/2015     363     CMO 4 re Master Complaint, Responsive Pleadings, Short
                        Form Complaint, Waiver, and Answer
 3/17/2016     1108     Amended CMO 4 re Master Complaint, Responsive
                        Pleadings, Short Form Complaint, Waiver, and Answer
 4/20/2016     1485     Second Amended CMO 4 re Master Complaint, Responsive
                        Pleadings, Short Form Complaint, Waiver, and Answer
 12/17/2015     364     Master Complaint for Damages for Individual Claims
 11/30/2015     302     Master Short Form Complaint for Damages for Individual
                        Claims
 12/17/2015     366     Defendants’ Answer to Plaintiffs’ Master Complaint
 12/17/2015     365     CMO 5 re Plaintiff and Defendant Profile Forms
 03/03/2016     927     Amended CMO 5 re Plaintiff and Defendant Profile Forms
 03/18/2016   1153-1    Plaintiff Fact Sheet
 03/18/2016   1153-2    Defendant Fact Sheet




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                                 SUGGESTION OF REMAND AND TRANSFER ORDER
       Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
              Notes                                                        Description
Ex. No.
  79                     2/19/2004 Characterization of RNF - Migration resistance; TPR-04-02-02 REV 0 Test protocol for migration
                         resistance Characterization of RNF - Migration resistance
 354                     9/19/2006 PPT re G2; Caudal Movement causes tilting which leads to perforation PPT last modified 3/16/2009
                         (custodian Mike Randall)
 443                     11/30/2008 G2 and G2X Fracture Analysis Reporting date range 7/1/2005 thru 11/30/2008
 447                     4/1/2009 Filter - Fracture Analysis (June 2010)
 495                     3/26/2015 Recovery Filter System; Recovery Filter Overview
 504                     Eclipse Concept POA
 545                     Altonaga Deposition, 10/22/2013, Exhibit 03 - 2/26-2/27/2004 E-mail exchange b/w Hudnall and David Rauch of
                         BPV Re. "Case for Caval Centering"
 546                     Altonaga Deposition, 10/22/2013, Exhibit 04, Lehmann Deposition 4/2/13, Ex. 14 and Ferarra, Ex. 7, Barry
                         Deposition, 01/31/2014, Exhibit 18 - 4/13-4/15/2004 E-mail exchange b/w Lee Lynch, Lehmann, and others Re.
                         "Crisis Plan and Supporting Documents for Your Review"
 552                     Asch 202, 5/18/1999 Letter from Thomas Kinst, Product Manager of Filters at NMT Medical, to Monica Coutanche,
                         Marketing Manager at Bard Canada, Inc.
 553                     Asch Deposition, 05/02/2016 - Exhibit 203 - 9/14/2002 Memo from Thomas Kinst to Recovery Filter Design History
                         File Re. Recovery Filter Compassionate Use, Subject: "Conference call with Bard Peripheral Technologies regarding
                         clinical assessment of Recovery Filter removal #5"
 556                     Asch Deposition, 05/02/2016 - Exhibit 207 - 1/26/2001 Letter from Mount Sinai Hospital to Dr. Asch Re.
                         "Assessment of a New Temporary/Removable IVC Filter" - and - 11/8/2001 Letter from Mount Sinai Research Ethics
                         Board Re. "MSH Reference #01-0161-U
 557                     Asch Ex. 208, BPV-17-01-00056765 -766, /28/2000 E-mail from Paul Stagg to Cavagnaro, Mellen, Uelmen,
                         Vierling, and Field Re. "Fwd [2]: compassionate IVC filters" (from Asch)
 559                     Asch Exh. 210, BPV-17-01-00052621, 4/17/2002- Email from George Cavagnaro to Doug Uelmen and Carol
                         Vierling, dated April 18, 2002


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                      In re Bard IVC Filters Products Liability Litigation, No. MDL 15-02641-PHX-DGC

                                 SUGGESTION OF REMAND AND TRANSFER ORDER
       Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
              Notes                                                          Description
Ex. No.
 561                     Asch Deposition, 05/02/2016 - Exhibit 212 - Special 510(k) Submission for the Recovery Filter System, K022236,
                         dated 11/27/2002
 563                     Asch Deposition, 05/02/2016 - Exhibit 218 - Information for Use - Recovery Filter System, Dated 2004
 567                     Asch Deposition, 05/02/2016 - Exhibit 223 - 3/10/2003 Letter from Dr. Asch Re support for RF
 571                     Baird Deposition, 06/09/2016 - Exhibit 301 - PowerPoint Presentation entitled BPV Filter Franchise Review dated
                         5/6/2008 (colored and 43 pages)
 587                     Baird Deposition, 06/09/2016 - Exhibit 318 - Aug. 2010 Article by Nicholson et al. entitled "Online First: Prevalence
                         of Fracture and Fragment Embolization of Bard Retrievable Vena Cava Filters and Clinical Implications Including
                         Cardiac Perforation and Tamponade"
 588                     Baird Deposition, 06/09/2016 - Exhibit 319 - 11/12/2009 E-mail from Bret Baird to Bill Little, John Van Vleet, and
                         Gin Schulz, with others CC’ed, Re. "Bard Filter Fractures presentation online"
 589                     Baird Deposition, 06/09/2016 - Exhibit 320 - ABA Project Agreement with BPV, Inc., dated 11/9/2010
 590                     Baird Deposition, 06/09/2016 - Exhibit 321 - 11/29-12/1/2010 E-mail exchange b/w Bret Baird and Jimmy Balwit Re.
                         "White Paper, Proof 2"
 591                     Baird Deposition, 06/09/2016 - Exhibit 322 - Bard Idea POA on the Denali Filter, Project No. 8108 Rev. 0.0, revised
                         August 2009 by Bret Baird
 592                     Baird Deposition, 06/09/2016 - Exhibit 325 - 4/28/2010 E-mail from Bret Baird to the Sales Team
 614                     Betensky 02/2017 Expert Report - Adverse event reports and monthly sales totals through May 2011
 631                     Betensky Expert Report - DFMEA070044, Rev. 3: G2 Express - Design Failure Mode and Effects Analysis
 635                     Betensky Expert Report - DFMEA070077, Rev. 1: Eclipse (Vail) Filter System - Design Failure Mode and Effects
                         Analysis
 677                     SOF Filter Fracture Analysis, August 2010, Reporting range 7/1/05 - 8/31/10, G2, G2X, and Eclipse
 691                     Boyle, 02/02/2017, Exhibit 842 - E-mail chain first one from John Van Vleet to Steve Williamson, dated 11/5/2015, 6
                         pages


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 Trial
              Notes                                                          Description
Ex. No.
 696                     Brauer Deposition, 05/23/2014 - Exhibit 16 - Testimony of Marcia Crosse, Director of Health Care, before the
                         Subcommittee on Health, Committee on Energy and Commerce, House of Representatives Re. "Medical Devices
                         ¬Shortcomings in FDA's Premarket Review, Postmarket Surveillance, and Inspections of Device Manufacturing
                         Establishments", dated 6/18/2009
 709                     Brauer, 08/02/2017, Exhibit 1046 - Bard Simon Nitinol Filter, Postmarket Surveillance Study Amendment, August
                         10, 2014
 730                     Carr Deposition, 04/17/2013 - Exhibit 01 - Class of Plaintiffs' Notice of Taking Rule 30(b)(6) Deposition Duces
                         Tecum in Case No. 12-80951- CIV-ROSENBAUM
 735                     Carr Deposition, 04/17/2013 - Exhibit 07 - Bard Idea POA - Eclipse Anchor Filter, caudal migration, Rev 0, 4/1/2010
                         E-mail exchange b/w Tracy Estrada and Ed Fitzpatrick
 737                     Carr Deposition, 04/17/2013 - Exhibit 09 - 8/22-8/25/2008 E-mail exchange b/w Bret Bard, Mike Randall, and
                         Natalie Wong Re. "[Redacted] Conference call - complaint on fracture"
 755                     Carr Deposition, 10/29/2014 - Exhibit 3A - E-mail exchange b/w Hudnall and others from 3/9-10/4/2005 Re. "Special
                         Accounts Roadshow"
 764      REDACTED       Carr Deposition, 11/05/2013 - Exhibit 14 - 5/27/2004 E-mail b/w Greer, Carr, Hudnall, and Sullivan re. "Bariatric
                         patients and filters", "Stay out of the buffet line", BPVE-01-00010858 -859
 769                     Carr Deposition, 12/19/2013 - Exhibit 05 - BPV Meridian Claims Matrix, dated 7/2/2010
 770                     Carr Deposition, 12/19/2013 - Exhibit 06 - Bard's Denali Concept Product Opportunity Appraisal, POA-8108, Rev.
                         1.0
 800                     Carr Deposition, 12/19/2014 - Exhibit 18 - NMT RNF PDT Meeting Notes re Product Development Team,
                         01/13/1998
 802                     Carr Deposition, 12/19/2014 - Exhibit 20 - NMT R&D Technical Report, RD-RPT-128, 09/01/2000, Investigation
                         Report of a Migrated Recovery Filter in the Human Use Experience at Mt. Sinai Hospital
 854      REDACTED       Carr Deposition, November 5, 2013 - Exhibit 15 - 12/12/2004 E-mail from Uelmen to Kellee Jones, attaching
                         12/9/2004 Remedial Action Plan (Revised) SPA-04-12-01


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              Notes                                                          Description
Ex. No.
 876                     Chanduszko Deposition, 04/23/2015 - Exhibit 17 - Pages 30-44 of Notebook No. 7013, Project: Recovery Filter Arm
                         Fatigue Testing
 905                     Ferrara Exh. 19, BPVE-01-00245186 -188, Email chain re G2 Caudal Migrations 12/27/2005
 922                     Ciavarella Deposition, 11/12/2013 - Exhibit 22 - Chart of Sales and Adverse Events for all competitors from Q3/00
                         through Q2/03, according to the MAUDE database.
 923                     Ciavarella Deposition, 11/12/2013 - Exhibit 24 - Summary of Sales and Adverse Events for all competitors from
                         01/00 through Q1/04
 924                     Ciavarella Deposition, 11/12/2013 - Exhibit 26 - Chart of Sales and Adverse Events for all competitors from 01/00
                         through Q1 2006, according to the MAUDE database.
 925                     Ciavarella Deposition, 11/12/2013 - Exhibit 28 - PowerPoint presentation entitled "Filters Complaint History Data as
                         of 7/31/2007" by Natalie Wong.
 926      REDACTED       Ciavarella Deposition, 11/12/2013 - Exhibit 31 - 8/3/2005 Memo from C. Ganser to T. Ring/J. Weiland Re. IVC
                         Recovery Filter Adverse Events (Migrations/Fractures)
 927                     Ciavarella Deposition, 11/12/2013 - Exhibit 35 - Health Hazard Evaluation Memo from Ciavarella to Uelmen Re.
                         "Recovery Filter - Consultant's report", dated 12/17/2004
 931                     Ciavarella Deposition, 11/12/2013 - Exhibit 39 - Draft of Updated Health Hazard Evaluation Memo from Ciavarella
                         to Uelmen, re: "Limb Fractures of Recovery Filter", dated 7/9/2004.
 932                     SWOT Analysis; 5/6/2008 PowerPoint presentation entitled "Filter Franchise Review" BPVE-01-00622862 - 900
 945                     Cohen Exh. 736, BPVE-01-00074004 - 006, IVC Filters - Covered Stents, Monthly Report April, 2004
 965                     Cohen Exh. 757, BPVEFILTER-01-00148562, E-mail dated 12/15/04, with attached FDA Filter Information, FDA
                         called Temple to speak with Cohen
 991                     Cortelezzi, 11/11/2016, Exhibit 586 - 12/23/2005 E-mail from David Ciavarella Re. "G2 Caudal Migrations",
                         forwarded to Brian Barry on 12/27. Worst case consequence of migrations - accompanied in a majority of tilt cases.
                         Would like to now look at G2 complaints.



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 Trial
              Notes                                                           Description
Ex. No.
 992                     Cortelezzi, 11/11/2016, Exhibit 588 - 7/16/2005 E-mail from Jason Greer to many Re. "Westy's situation…everyone's
                         situation", detailing Bard's need to respond to Cordis' bringing forward the Maude database to physicians and
                         "causing a problem"
 994                     D'Ayala Exh. 4, G2 Filter System for Permanent Placement, IFU, G2 Filter System, 10/2006, Rev. 5, PK5100030,
                         BPV-17-01-00137425 - 432 (also used with Muehrcke)
 1001                    D'Ayala Exh. 13, Evidence-Based Evaluation of Inferior Vena Cava Filter Complications Based on Filter Type
 1006                    DeCant Deposition, 05/24/2016 - Exhibit 254 - 12/9/2003 Meeting Minutes Memo from Brian Hudson to Len
                         DeCant, Mike Casanova, Robert Carr, and Alex Tessmer Re. "Special Design Review for Recovery (Project #'s 7081
                         and 8008)"
 1009     REDACTED       DeCant Deposition, 05/24/2016 - Exhibit 258 - 4/6/2004 Memo from Peter Palermo to Doug Uelmen Re. "Remedial
                         Action Plan - BPV Recovery Nitinol Vena Cava Filter", including the Remedial Action Plan SPA 04-03-01 on the
                         Recovery Filter, dated 3/26/2004
 1014     REDACTED       DeCant Deposition, 05/24/2016 - Exhibit 264 - 6/11/2004 Memo from Pete Palermo to Doug Uelmen Re. "Remedial
                         Action Plan - BPV Recovery Filter - Migration"
 1018     REDACTED       DeCant Deposition, 05/24/2016 - Exhibit 268 - 9/27/2004 Memo from Pete Palermo to Doug Uelmen Re. "Remedial
                         Action Plan - BPV Recovery Filter - Migration (SPA-04-05-01)"
 1022     REDACTED       DeCant Deposition, 05/24/2016 - Exhibit 274 - Failure Investigation Report on the Recovery Filter Migration, FIR-
                         04-12-01 Rev. 00
 1023                    DeCant Deposition, 05/24/2016 - Exhibit 275 - Internal Presentation on the G2 Filter System for Permanent Use,
                         detailing the design modifications, features/benefits, and comparison to the Recovery Filter
 1031     REDACTED       Deford Deposition, 06/02/2016 - Exhibit 283 - BPV File on The Recovery Filter Migration, including Minutes from
                         the 2/12/2004 Migration Meeting
 1036                    Deford Deposition, 06/02/2016 - Exhibit 296 - 9/26-9/27/2007 High Importance E-mail exchange b/w Dennis
                         Salzmann, John Van Vleet, and John Reviere of BPV, with others CC’ed, Re. "Comments on Rev H". Discussion
                         about concern for over-reporting of the SIR guidelines re- classification and removal of the retroperitoneal bleed, and
                         replacing consultant John Lehmann


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 Trial
            Notes                                                            Description
Ex. No.
 1053                   Edwards Deposition, 01/20/2014 - Exhibit 02 - 3/28/2003 Document RE. "Product Opportunity Appraisal for
                        Recovery Filter", FM070018, Doc No. POA-7081, Version 000
 1062                   BPV PowerPoint presentation entitled "BPV/AngioMed New Product Development Review Meeting - April 26,
                        2004"
 1130                   Ferrara Exh. 3, Email Chain from Regina Busenbark to Robert Ferrara 1-12-2006
 1133                   Ferrera Deposition, 04/07/2017, Exhibit 11 - Recovery Filter Arm Fracture, Remedial Action Plan September 2, 2004
 1140     REDACTED      Ferrera Deposition, 04/07/2017, Exhibit 25 - Presentation titled Filter-Fracture Analysis
 1149                   Fuller Deposition, 01/11/2016 - Exhibit 123 - NMT Report Entitled "Line Extension to the Simon Nitinol
                        Filter®/Straight Line System, To Be Referred As: TRADEMARK Retrievable Filter"
 1211                   Ganser Deposition, 10/11/2016 - Exhibit 516 - 21 U.S.C.A. § 351, Adultered Drugs and Devices, Effective 7/9/2012
 1214     REDACTED      Ganser Deposition, 10/11/2016 - Exhibit 523 - Several memos: (1) 12/8/2004 BPV Memo from John McDermott to
                        Tim Ring and John Weiland Re. "Monthly Global PV Report - November 2004"; (2) 12/8/2005 BPV Memo from
                        John McDermott to Tim Ring and John Weiland Re. "Monthly Global PV Report - November 2005; (3) 2/10/2006
                        BPV Memo from John McDermott to Tim Ring and John Weiland Re. "Monthly Global PV Report - January 2006;
                        and (4) 2/8/2007 BPV Memo from John McDermott to Tim Ring and John Weiland Re. "Monthly Global PV Report
                        - January 2007
 1216                   Ganser Deposition, 10/11/2016 - Exhibit 526 - Regulatory Affairs Manual Re. "Product Remedial Actions", RA-
                        STD-002 Rev. 08, dated 10/12/2000
 1219     REDACTED      Ganser Deposition, 10/11/2016 - Exhibit 529 - 6/30/2004 Updated Health Hazard Evaluation from David Ciavarella,
                        M.D. to Doug Uelmen Re. "Migration of Recovery Filter"
 1220     REDACTED      Ganser Deposition, 10/11/2016 - Exhibit 530 - 8/25/2004 E-mail from Avijit Mukherjee to Robert Carr, Janet Hudnall
                        CC’ed, Re. "Recovery Filter objective statement", proposing one objective statement for the Recovery Filter G1A
                        project, which Hudnall thought sounded "great"
 1221     REDACTED      Ganser Deposition, 10/11/2016 - Exhibit 533 - 2/15/2006 Health Hazard Evaluation from David Ciavarella to Gin
                        Schulz Re. "G2 Inferior Vena Cava Filter - Migration"


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 Trial
            Notes                                                          Description
Ex. No.
 1222     REDACTED      Ganser Deposition, 10/11/2016 - Exhibit 534 - PowerPoint Presentation for a meeting to analyze EVEREST and
                        MAUDE data and provide justifications for proposed changes to G2 filter
 1295                   Graves Deposition, 02/27/2014 - Exhibit 10 - 3/23/2006 E-mail exchange b/w Mickey Graves and Charlie Simpson,
                        FEA on G2, regarding Historical FEA analysis
 1335                   Hudnall Deposition, 11/01/2013, Exhibit 21 - Brochure - Recovery Cone Removal System
 1336                   Hudnall Deposition, 11/01/2013, Exhibit 22 - Recovery G2 Filter System brochure
 1337                   Hudnall Deposition, 11/01/2013, Exhibit 23 - G2 Brochure (permanent) - Patient Questions & Answers and Bard's
                        website page about G2 Filter System, Indicated for removal, 6/10/2010
 1339     REDACTED      Hudnall Deposition, 11/01/2013, Exhibit 29 - 7/6/2004 E-mail exchange b/w Hudnall and Bob Cortelezzi Re. "Maude
                        Website Discussion"
 1369                   Hudson Deposition, 01/17/2014 - Exhibit 16 - 3/24/2004 E-mail from Alex Tessmer to Charlie Benware and Ed
                        Fitzpatrick Re. "Starguide Filter Migration Test Results"
 1370                   Hudson Deposition, 01/17/2014 - Exhibit 18 - 12/11/2003 E-mail exchange b/w Brian Hudson and Janet Hudnall,
                        others CC’ed, Re. "Special Design Review for Recovery - Meeting Minutes".
 1383                   Hudson Deposition, 01/17/2014, Exhibit 13 - BPV Engineering Test Report - Characterization of Recovery Filter
                        Migration Resistance in Comparison to Competitive Product - Phase 1, ETR-04-03-02, Rev 0.
 1500                   Kessler Report - August 7, 2010, John Van Vleet emailed BPV President Jim Beasley, Marketing Director Bill Little,
                        and V.P. of QA Gin Schulz
 1517                   EVEREST Track wise and MAUDE PowerPoint, BPV-17-01-00188507
 1568                   Kessler Report - September 30, 2010 memo from Brett Baird to Eclipse DRT, with the subject line “Eclipse Post-
                        Market Design Review/Marketing Summary,” stated: “The objective of the Eclipse Filter project was to enhance the
                        G2 X filter surface finish…"
 1578                   ETR-06-28-29, revision 0, project #8049, Caudal Migration Test Method Development and G2 Filter Resistance Test
                        Report, 11/27/06, BPVE-01-00789532



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            Notes                                                           Description
Ex. No.
 1580     REDACTED      Kessler Report -July 12, 2004 email from Bard’s VP of Regulatory Sciences Chris Ganser, to Tim Ring and John
                        Weiland, attached “an executive summary of Recovery Filter adverse events (migration and fracture”
 1594     REDACTED      Lehmann Deposition, 04/02/2013 - Exhibit 08 - 2/16/2005 E-mail from Charlie Simpson to Hudnall Re. "American
                        Venous Forum - Mary Protocor presented an evaluation of filter related findings from the Maude database"
 1612                   Lehmann Deposition, 08/07/2014, Exhibit 08 - Updated Health Hazard Evaluation Memo from Ciavarella to Uelmen,
                        re: "Limb Fractures of Recovery Filter", dated 7/9/2004
 1613                   Lehmann Deposition, 08/07/2014, Exhibit 09 - 6/10/2004 E-mail exchange b/w Ciavarella and Cindi Walcott Re.
                        "Recovery Filter/Detachments"
 1616                   Little Deposition, 06/27/2016 - Exhibit 2003 - "Patient Questions & Answers" Brochure for the G2 Filter System
 1617                   Little Deposition, 06/27/2016 - Exhibit 2004 - Chart entitled "EVEREST/Cook Celect Clinical Comparison"
 1618                   Little Deposition, 06/27/2016 - Exhibit 2005 - 4/27/2010 BPV Memo from Filter Marketing to Bill Little Re. "Filter
                        naming", detailing the name rational for the Eclipse and Denali
 1621                   Little Deposition, 06/27/2016 - Exhibit 2009 - "Fractures of a Nitinol IVC Filter" presentation by Dr. W. Jay
                        Nicholson on www.CRTonline.org, in which he reviewed a single center experience on fractures with the Bard
                        Recovery and G2 filters
 1643                   McDermott Deposition, 02/05/2014 - Exhibit 02 - Bard's Product Performance Specification Report on the Recovery
                        Filter and Femoral Delivery System, PPS No. PPS070016 Rev. 0
 1680     REDACTED      McDonald Deposition, 07/29/2016 - Exhibit 21 - 7/13/2015 Warning Letter from the FDA regarding the 11/25/2014
                        Inspection of the C.R. Bard facility in NY and the 11/18/2014-1/5/2015 Inspection of the BPV facility in AZ
 1740                   Modra Deposition, 06/06/2014 - Exhibit 5 - 1/18/2010 E-mail from Bret Baird (Marketing Manager of IVC Filters) to
                        Sales Team list serve (TPE-PV Sales-DG) Re. "Important: Eclipse Vena Cava Filter Launch Details"
 1742                   Modra Deposition, 06/06/2014 - Exhibit 7 - Product Opportunity Appraisal for the G2 Platinum Concept, POA-8088
                        Rev. 1.0, Revised on 5/5/2009
 1763                   Modra, 01/26/2017, Exhibit 771A - Chart entitled "Design Failure Mode and Effects Analysis" on the Simon Nitinol
                        Filter - SNF/SL Filter Sets (DFMEA070042 Rev. 1)


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              Notes                                                          Description
Ex. No.
 1787                     Orms Deposition, 08/16/2016 - Exhibit 13 - 11/9/2010 E-mail Thread from Chris Smith Re. "Northside(S) Filter
                          Business"
 1788                     Orms Deposition, 08/16/2016 - Exhibit 14 - 10/2/2010 E-mail Thread from Jeffrey Pellicio Re. "Meridian
                          Commercialization Plan"
 1817                     Raji-Kubba Deposition, 07/18/2016 - Exhibit 301 - 5/14/2009 E-mail from Bill Edwards to Raji-Kubba and Mike
                          Randall Re. "Tomorrow"
 1821                     Raji-Kubba Deposition, 07/18/2016 - Exhibit 305 - 11/12/2009 E-mail from Bret Baird to Bill Little, John Van Vleet,
                          and Gin Schulz
 1822                     Raji-Kubba Deposition, 07/18/2016 - Exhibit 307 - 1/21/2010 Bard Memo from Jeffrey Pellicio to "Reviewers"
 1823                     Raji-Kubba Deposition, 07/18/2016 - Exhibit 308 - 1/4/2010 E-mail from Gin Schulz to Beasley, Raji-Kubba, Van
                          Vleet, Doherty, and Little Re. "Potential Actions"
 1825                     Raji-Kubba Deposition, 07/18/2016 - Exhibit 310 - 9/1/2009 E-mail from Mike Randall Re. "0809 Filters Monthly
                          Report.doc"
 1861     Only admitted   Randall, 01/18/2017, Exhibit 634 - Binder labeled "Meridian Design History File DHF, Vol. II"
          Pgs. 38 & 70
 1912                     Romney Deposition, 09/07/2016 - Exhibit 2039 3/16/2006 E-mail from Jason Greer to Janet Hudnall
 1926                     Romney, 01/18/2017, Exhibit 2061 - 8/6/2014 E-mail from Schyler Smith, Field Manager for BPV in Washington-
                          Idaho-Montana, to Kim Romney, Subject redacted, relaying that a redacted doctor had placed a Meridian in the past
                          year and discovered at retrieval that an arm fractured, which imaging confirmed had occurred within 1 week of
                          placement, and was now wondering if he should try to remove the filter or leave it in. Van Vleet forwarded to
                          Treratola in a high importance e-mail on 8/7, requesting that he contact the doctor on Bard's behalf.
 1940     REDACTED        Schulz Deposition, 01/30/2014 - Exhibit 11 - Chart of Adverse Events and Deaths for all competitors from Prior
                          Evaluation through Q3 2005 and from
 1941     REDACTED        Schulz Deposition, 01/30/2014 - Exhibit 12 - 11/30/2005 E-mail exchange b/w Gin Schulz and Kellee Jones re Gin,
                          G2 v. Maude and attachments, Spread Sheet - Filter Sales (IMS Q1 '00 to Q4 '04, + Trend Q1 - Q3 '05)


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 Trial
            Notes                                                           Description
Ex. No.
 1944                   Schulz Deposition, 01/30/2014 - Exhibit 15 - 5/19/2006 E-mail from Natalie Wong to Gin Schulz and Candi Long,
                        attaching the PowerPoint Presentation on "Recovery (Gen 1) Fracture Slides" (included in exhibit) and RNF Fracture
                        Report (not included), updated to be current as of 5/18/2006 for the Management Review
 1945                   Schulz Exh. 16, BPVEFILTER-01-00008798 - 851, 10/1/2006 E-mail from Natalie Wong to Several Re. "Fracture
                        Docs"
 1946                   Schulz Deposition, 01/30/2014 - Exhibit 17 - 2/2/2006 E-mail from Gin Schulz to Several Re. "Minutes"
 1947                   Schulz Deposition, 01/30/2014 - Exhibit 19 - 5/10/2006 E-mail from Natalie Wong Re. "FDA Proposed Response"
 1948                   Schulz Deposition, 01/30/2014 - Exhibit 2 - 1/31/2006 E-mail from Gin Schulz to Mickey Graves and Natalie Wong
                        Re. "Caudal"
 1949                   Schulz Deposition, 01/30/2014 - Exhibit 21 - 6/28/2011 Email Chain from Brian Hudson to Kevin Bovee and Chad
                        Modra Re Talking Points Including attachment
 1950                   Schulz Deposition, 01/30/2014 - Exhibit 4 - Meeting Summary of the IVC Filter Focus Group meeting held on
                        6/1/2006 in Chicago, IL at Hilton O'Hare
 1951                   Schulz Deposition, 01/30/2014 - Exhibit 5 - 1/31/2005 Memo from Peter Palermo to Kerry Chunko Re. "Quality Plan
                        2005"
 2045                   Sullivan Deposition, 09/16/2016 - Exhibit 431 - Marketing Brochure - G2 Filter System for Permanent Placement
 2048     REDACTED      Sullivan Deposition, 09/16/2016 - Exhibit 437 - Document entitled "Failure Investigations/R002 History Review"
 2049                   Sullivan Deposition, 09/16/2016 - Exhibit 439 - 11/17/2004 Updated Health Hazard Evaluation Memo from David
                        Ciavarella, M.D. to Doug Uelmen, Re: "Limb Fractures of Recovery Filter"
 2052                   Wong Exh. 546, BPVE-01-01239757 - 775, Draft of PowerPoint Presentation entitled "G2 and G2X Fracture
                        Analysis", dated 11/30/2008
 2057     REDACTED      Sullivan, 11/03/2016, Exhibit 442 - Recovery Filter Migration Remedial Action Plan SPA-04-12-01 dated 1/4/2005,
                        including the Lehmann Report and Dr. Ciavarella's 12/17/2004 HHE titled "Recovery Filter - Consultant's report"
 2059                   Tessmer Deposition, 06/12/2013 - Exhibit 02 - Project Status Report Form for the Recovery Filter, Project No. 7081,
                        initiated 7/1/2002 with the goal to "Investigate Migration"; FM0700160, Rev. 1

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            Notes                                                          Description
Ex. No.
 2061                  Tessmer 5, BPVE-01-00000230, 2/4/2004 E-mail from Alex Tessmer to Several Re. "Updated: Filter Migration Flow
                       Loop Test Fixture"
 2062                  Tessmer Deposition, 06/12/2013 - Exhibit 07 - 1/14/2004 Memo from Rob Carr to File Re. "Design Review Meeting
                       Minutes Response"
 2063                  Tessmer Deposition, 06/12/2013 - Exhibit 08 - 2/25/2004 E-mail from Alex Tessmer to Robert Carr and Brian
                       Hudson Re. "Filter Migration Test Results
 2065                  Tessmer Deposition, 06/12/2013 - Exhibit 11 - BPV Engineering Test Report - Characterization of Recovery Filter
                       Migration Resistance When Legs are Crossed or Hooks Removed - Phase 2, ETR-04-03-10, Rev 0
 2068                  Tessmer Deposition, 06/12/2013 - Exhibit 17 - 6/8/2004 "High" Importance E-mail from Alex Tessmer to Carr,
                       Chanduszko, and Hudson Re. "Filter Improvement DOE"
 2069                  Tessmer Deposition, 06/12/2013 - Exhibit 19 - 8/26/2004 E-mail from Alex Tessmer to Robert Carr and Avijit
                       Mukherjee Re. "Corporate Presentations"
 2090                  Tillman, 08/04/2017, Exhibit 1064 - NMT PowerPoint, Cprdos, 06/14/2000
 2105                  Trerotola, 01/20/2017, Exhibit 692 - 4/30/2015 E-mail from Dr. Trerotola to John Van Vleet, forwarding an article
                       from Forbes Magazine about ALN filters entitled "Effect of a Retrievable IVC Filter Plus Anticoagulation vs.
                       Anticoagulation Alone on Risk of Recurrent PE: A Randomized Clinic Trial". Per Trerotola, "not good for ALN...and
                       maybe not good for the industry". The article was discussed through 5/4, as they were meeting that day to review
                       articles before meeting with JVV.
 2149                  Vierling Deposition, 05/11/2016 - Exhibit 231 - 12/13/2001 E-mail from Carol Vierling to kaufmajo@ohsu.edu, Paul
                       Stagg, and Connie Murray Re. "RF Protocol"
 2153                  Vierling Deposition, 05/11/2016 - Exhibit 236 - 6/3/2002 Memo from Lynn Buchanan-Kopp to Project 7081 Design
                       History File Recovery Filter Project Team Re. "Project Phase Clarification", defining the 3 phases of the Recovery
                       filter project (I. Permanent; II. Intraprocedural Removal; and III. Long-Term Removable), as decided at the project
                       team meeting on 5/20/2002
 2217                  Williamson Deposition, 09/07/2016 - Exhibit 105 - Cover page entitled "Attachment 1.14", followed by the
                       1/23/2015 Memo from Ludwig to Chad Modra Re. "IVC Filters Retrospective Review", detailing the 2-year review


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            Notes                                                           Description
Ex. No.
                        of 939 filter complaints from 1/2013 to 1/2015, with a chart detailing whether the MDR classification changed for
                        any complaints
 2238                   Wilson, 01/31/2017, Exhibit 801 - E-mail string, Subject: Meridian Commercialization Plan
 2243                   Wong Deposition, 10/18/2016 - Exhibit 537 - 4/23/2004 E-mail from John Lehmann to Carr and Uelmen Re. "Draft
                        data set for statistician"
 2244     REDACTED      Wong Deposition, 10/18/2016 - Exhibit 538 - 12/17/2004 Health Hazard Evaluation from David Ciavarella to Doug
                        Uelmen Re. "Recovery Filter - Consultant's Report", detailing the 76 reports of the Recovery filter, with 32 serious
                        injury and 10 deaths of the 20,827 units sold during the reporting period
 2245                   Wong Exh. 540, Recovery Gen 1, Fracture and Migration Complaint Update, 6-20-2006
 2245                   Wong Deposition, 10/18/2016 - Exhibit 540 - Confidential PowerPoint Presentation entitled "Recovery (Gen 1) -
                        Fracture and Migration Complaint Update," dated 6/20/2006
 2246                   Wong Exh. 541, BPVE-01-01512188, Email from Natalie Wong to Gin Schulz Re RNF Fracture Report 8-1-06, 8-4-
                        2006
 2247                   Wong Deposition, 10/18/2016 - Exhibit 542 - 12/2/2009 E-mail exchange b/w Sandy Kerns and Natalie Wong Re.
                        "Filter Fractures"
 2248                   Wong Deposition, 10/18/2016 - Exhibit 543 - PAT PowerPoint Presentation entitled "G2 Caudal Migration Update,"
                        dated 3/2/2006, which Wong circulated via e-mail on 3/2/2006 to several for the presentation that afternoon
 2249                   Wong Deposition, 10/18/2016 - Exhibit 544 - 5/18/2006 Natalie Wong meeting documents, email re "Caudal
                        Investigation" with attachments of G2 Caudal Report 05.18.06 and Caudal Pre-PAT minutes
 2250                   Wong Deposition, 10/18/2016 - Exhibit 545 - BPV's Failure Investigation Report on the G2 Filter - Caudal Migration,
                        FIR-06-01-01, unsigned and forwarded by Wong to Gin Schulz for her review, in anticipation of the Friday deadline
 2251                   Wong Deposition, 10/18/2016 - Exhibit 547 - 4/10/2006 High Importance E-mail from Cindi Walcott to Allen,
                        Schulz, and McDermott Re. "FW: FDA Request for Information"
 2252                   Wong Deposition, 10/18/2016 - Exhibit 548 - 9/25/2007 E-mail from John Lehmann to John Van Vleet and John
                        Reviere Re. "EVEREST FSR rev H and supporting redlines


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 Trial
            Notes                                                           Description
Ex. No.
 2253                   Wong Deposition, 10/18/2016 - Exhibit 549 - 5/27/2004 E-mail from Natalie Wong to Doug Uelmen Re. "Recovery
                        Stats"
 2254                   Wong Deposition, 10/18/2016 - Exhibit 552 - 2/17/2006 Memo from Mickey Graves and Natalie Wong Re.
                        "Recovery Filter (Generation 1) Product Assessment Team Minutes - Fractures"
 3262     REDACTED      Complaint File - 03/09/2010, 263280, G2 - RF310F, 2907 Detachment of device or device component
 3270     REDACTED      Complaint File - 03/30/2010, 266286, G2 - RF310F, 2907 Detachment of device or device component
 3304     REDACTED      Complaint File - 07/28/2010, 282326, Eclipse - EC500J, 2907 Detachment of device or device component; 2907M
                        Filter Limb(s)
 3572                   Securities and Exchange Commission Form 10-K for C.R. Bard, Inc. for the fiscal year ended December 31st, 2016
 3573                   Securities and Exchange Commission Form 10-Q for C.R. Bard, Inc. for the quarterly period ended September 30th,
                        2017
 4327     REDACTED      2/10/06 monthly meeting - redesign due to caudal migration (excludes last 4 pages)
 4328                   Ganser Exh. 517 Device Labeling Guidance, General Program Memorandum
 4330                   Asch Deposition, 05/02/2016 - Exhibit 206, July 21, 1999 letter to Dr. Freeland from Dr. Asch
 4332                   Updated CV of Murray Asch
 4392                   Truthfulness and Accuracy Statement Vierling Deposition, Exhibit 227
 4409                   G2 Brochure 2
 4412                   Email from: Gin Schulz to Kevin Shiffrin regarding Recovery Filter Limb Fractures with attachment of RF Limb
                        detach
 4414                   Email from Brian Reinkensmeyer to Baird cc Pellicio and Randall re "Filter study Idea"
 4415                   Email from Mike Randall to Carr and Raji-Kubba re "Misclassified??"
 4416                   Bill Little email re Eclipse Filter Naming
 4420     REDACTED      Meridian Vena Cava Filter and Jugular Delivery System Product Performance Specification PPS, Revision 3


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 Trial
              Notes                                                          Description
Ex. No.
 4428                     Eclipse Vena Cava Filter Ad
 4430                     Eclipse Vena Cava Filter Brochure
 4433                     Eclipse Vena Cava Filter Patient Questions & Answers
 4438                     G2 Express Vena Cava Filter Brochure
 4454                     Eclipse Vena Cava Filter Concept POA, Revision 2
 4455                     Vail Vena Cava Filter DIS
 4456                     Eclipse Vena Cava Filter Product Performance Specification (PPS)
 4457                     Vail Filter System DFMEA
 4459                     Eclipse Vena Cava Filter Jugular Vein Approach IFU
 4467                     8/12/2011 email from Mike Randall to Joni Creal re Corp approval needed for Cleveland Clinic Studies w/ attached
                          PowerPoint slides re Filter Fixation and Migration: Forces and Design
 4468                     6/10/2011 email from Mike Randall re Meridian Presentation for SSM 2011
 4469                     Data Source Evaluation memo from Natalie Wong to Quality Systems Coordinator, October 2010
 4486                     G2 Express Project Plan FM0700150 Rev 6 1-30-07
 4499                     Meridian Vena Cava Filter vs. Eclipse Vena Cava Filter
 4504     REDACTED        Monthly Management Report, dated 4/8/09
 4507     REDACTED        Monthly Management Report, dated 7/9/09
 4509     REDACTED        Monthly Management Report, dated 10/8/09
 4512     REDACTED        Monthly Management Report, dated 1/1/10
 4514     REDACTED        Monthly Management Report, dated 3/8/10
 4515     Only admitted   Monthly Management Report, dated 4/8/10
          pgs. 12 & 13


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            Notes                                                           Description
Ex. No.
 4519     REDACTED      Monthly Management Report, dated 8/9/10
 4522     REDACTED      Monthly Management Report, dated 11/8/10
 4528     REDACTED      Monthly Management Report, dated 5/9/11
 4532     REDACTED      Monthly Management Report, dated 9/9/11
 4533     REDACTED      Monthly Management Report, dated 10/10/11
 4534     REDACTED      Monthly Management Report, dated 11/8/11
 4552                   Decant Deposition Exhibit 273, Failure Investigation Report, Recovery Filter Migration FIR-04-12-02, Rev. 00
 4554                   NMT Medical, BSC Presentation, 5/22/2000
 4565                   FRE 1006 Chart - Plaintiff's Compilation Complaint Record Detail
 4595                   Kandarpa Deposition, 07/19/2018 - Exhibit 05 - Medical Monitor Meeting Minutes, August 29, 2005, Beechwood
                        Hotel, Worcester, MA, Version 1.0 (6 pages), signed 12/16/05. *only the last page is bates stamped BBA-00012962
 4596                   Kandarpa Deposition, 07/19/2018 - Exhibit 06 - Everest Clinical Trial, Medical Monitor Meeting agenda and power
                        point, June 19, 2006, Revision B
 4599                   Kandarpa Deposition, 07/19/2018 - Exhibit 09 - Summary of Filter Movement, 5mm or greater, Final Clinical
                        Summary Report EVEREST
 4600                   Kandarpa Deposition, 07/19/2018 - Exhibit 10 - Device Observation Table (as of 10/23/2006)
 4601                   Kandarpa Deposition, 07/19/2018 - Exhibit 11 - Listing of Device Observations, Final Clinical Summary Report
                        EVEREST
 4602                   Kandarpa Deposition, 07/19/2018 - Exhibit 12 - Adjudication Manual of Operations, EVEREST (trial exhibit 5983
 4603                   Kandarpa Deposition, 07/19/2018 - Exhibit 13 - Recovery G2 Filter System - Femoral and Jugular/Subclavian
                        Delivery Kits, Tradition 510(k), October 31, 2007
 4604                   Kandarpa Deposition, 07/19/2018 - Exhibit 14 - Article entitled "Technical Success and Safety of Retrieval of the G2
                        Filter in a Prospective, Multicenter Study", Nov. 2009


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 Trial
              Notes                                                           Description
Ex. No.
 4607                      Kandarpa Deposition, 07/19/2018 - Exhibit 17 - Memorandum dated June 21, 2006 Subject: G2 Caudal Migration
                           Failure Investigation Team Agenda, From Natalie Wong
 4617                      VanVleet Deposition, 09/26/2016 - Exhibit 496 - Bard Recovery G2 EVEREST Final Study Report
 4785                      Fermanich Deposition, 3/17/17 - Exhibit 2: Email, from Tim Hug, 3/19/10, Re: Adversity-How are you going to
                           respond (6 pages)
 4786                      Fermanich Deposition, 3/17/17 - Exhibit 3: Email, from Tim Hug, 4/27/10, Re: Flair-April Expected Results (3
                           pages)
 4794                      Fermanich Deposition, 3/17/17 - Exhibit 11: Email from Tim Hug to Hans Yentz (and others), 2/9/10, Subject: Filter
                           Accounts-Eclipse Transition (2 pages)
 4795                      Fermanich Deposition, 3/17/17 - Exhibit 12: G2 Filter product brochure (4 pages)
 4797                      Fermanich Deposition, 3/17/17 - Exhibit 14: Email from Tim Hug to Nine Aghakhan (and others), 3/24/10, Subject:
                           FW: G2 X not available for order (2 pages)
 4798                      Fermanich Deposition, 3/17/17 - Exhibit 15: Email from Bret Baird to TPW-PV Sales-DG, 4/28/10, Subject: When
                           was the last time… (2 pages)
 4800                      Fermanich Deposition, 3/17/17 - Exhibit 17: Email from David Ciavarella to Brian Berry (and others), 12/27/05,
                           Subject: FW: G2 Caudal Migrations (2 pages)
 4804     Only admitted    Fermanich Deposition, 3/17/17 - Exhibit 21: Email from Mary Christine Starr to Matt Fermanich, 2/17/11, Subject:
          1st email,       RE: Technician Registration (4 pages)
          redacted other
          emails
 4806     Only admitted    Fermanich Deposition, 3/17/17 - Exhibit 23: Email from Cynthia L. Haas to Matt Fermanich, 4/21/11, Subject: RE:
          pg. 2            Expired product (7 pages)
 4809                      Fermanich Deposition, 3/17/17 - Exhibit 26: Email from Tim Hug to Matt Fermanich, 12/13/00, Subject: G2 Filter
                           Discontinued (2 pages)




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 Trial
            Notes                                                         Description
Ex. No.
 4812                  Fermanich Deposition, 3/17/17 - Exhibit 29: BPV Memo from Filter Marketing to Bill Little, 4/27/10, Subject: Filter
                       naming (2 pages)
 4820                  Fermanich Deposition, 3/17/17 - Exhibit 37: Health Hazard Evaluation memo from David Ciavarella to Gin Schulz,
                       2/15/06, Re: G2 Inferior Vena Cava Filter - Migration (3 pages)
 4842                  Hug Deposition, 8/23/17 - Exhibit 1117: Email to Nine Aghakhan from Tim Hug, 3/8/11, Subject: FW: GW Fem
                       Filter Backorder (2 pages)
 4893                  GX2 Risk Analysis
 4894                  Eclipse Risk Analysis
 4895                  Meridian Risk Analysis
 4896                  Caudal Migration Testing Meridian and Optease
 4897                  G2 Express Product Performance Specification, PPS-8058
 4938                  BPV Consulting Request Form
 5001                  Dec. 2004 Dear Doctor Letter
 5003                  Feb. 8, 2005 Conference FDA and BPV re Recovery Retrievable (K031328)
 5017                  Aug. 5, 1999 R&D Technical Report RNF Migration Study, Design Verification (RD-RPT-100)
 5022                  RD-LNB-087 Laboratory Notebook
 5037                  ETR-05-02-02 (Effects of Changes to the Recovery Filter & The Femoral Delivery System on Filter Stresses Based
                       on FEA Analysis)
 5126                  Guidance for Industry and FDA Reviewers/Staff - Guidance for Cardiovascular Intravascular Filter 510(k)
                       Submissions
 5126                  Guidance for Industry and FDA Reviewers/Staff - Guidance for Cardiovascular Intravascular Filter 510(k)
                       Submissions
 5164                  July 8, 2003 Fax IMPRA to FDA re Recovery Retrievable (K031328)


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            Notes                                                           Description
Ex. No.
 5169     REDACTED      Apr. 25, 2003 Recovery Retrievable Abbreviated 510(k) (K031328)
 5177                   Nov. 27, 2002 FDA Clearance Letter re Recovery Permanent (K022236) (Substantial Equivalence)
 5178                   Oct. 25, 2002 Letter IMPRA to FDA re Recovery (K022236)
 5179                   Oct. 4, 2002 Letter FDA to IMPRA re Recovery (K022236)
 5182                   Aug. 30, 2002 Letter IMPRA to FDA re Recovery (K022236)
 5187                   Aug. 5, 2002 Letter FDA to IMPRA re Recovery (K022236)
 5189                   July 10, 2002 IMPRA Recovery Permanent Special 510(k) (K022236)
 5193                   Feb. 28, 2005 Letter BPV to FDA re FDA AI re Recovery Retrievable (K031328)
 5195                   Nov. 30, 2004 Letter FDA to BPV re Recovery IFU and DDL, dear doctor letter
 5196                   Oct. 5, 2004 Letter BPV to FDA re Recovery IFU and DDL
 5197                   July 25, 2003 FDA Clearance Letter re Recovery Retrievable (K031328) (Substantial Equivalence)
 5232                   RD-RPT-116 (RNF Migration Study) (Test report for RD-SOP-035.02) RD-RPT-116
 5233                   RD-SOP-054.00 (Recovery Filter Endura TEC Fatigue Testing SOP NMT)
 5234                   RD-RPT-099 (Recovery Filter Endura TEC Fatigue Testing Report NMT)
 5238                   Slides from Bariatric Surgeons Panel Meeting on Feb. 12, 2005
 5239                   Jan. 21, 2005 Conference FDA and BPV re DDL and Recovery Retrievable (K031328)
 5247                   May 11, 2005 BPV began distributing DCL
 5252                   ETR-04-03-02 (RNF v. Competitive Product -- migration resistance)
 5268                   NMT's 510(k) (K963016) for modifications to the SNF(submitted by Hogan & Hartson)
 5272                   Nov. 23, 2009 BPV's Eclipse Filter System Special 510(k) (K093659)
 5273                   Jan. 14, 2010 FDA Clearance Letter Eclipse Filter (K093659) (Substantial Equivalence)


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            Notes                                                           Description
Ex. No.
 5283                   G2 IFU (Femoral) PK5250500 Rev. 0 01/08
 5290                   TD-00456 (EVEREST Study Final Report)
 5296                   G2 Filter Product Performance Specification, v.2
 5301                   ETR-05-01-06 Animal Model Evaluation of Recovery Filter G1A Femoral System Report
 5302                   TPR 05-01-13 G1A Recovery Filter Femoral System Design Verification and Validation Protocol
 5303                   ETR-05-02-05 (G2® DV&V summary testing)
 5304                   ETR 05-02-11 G1A Recovery Filter Femoral System Chronic Animal Study Report
 5315                   Phase 2 Design Review G1A Recovery Filter Femoral Delivery System, BPV-17-01-00121226 -255
 5316                   Phase 3 Design Review (Design Review 3 & 4) G1A Recovery Filter Femoral Delivery System, BPV-17-01-
                        00121256 -286
 5322                   Nov. 2, 2005 FDA Grants Full Approval of G2 Everest Study (G051304)
 5323                   Aug. 8, 2005 FDA Grants BPV Conditional Approval for G2 Everest Study (G050134)
 5324                   July 8, 2005 BPV's original IDE submission re G2 Everest Study (G050134)
 5325     REDACTED      Oct. 3, 2005 Letter BPV to FDA re G2 Everest Study (G051034) and Conditional Approval
 5329     REDACTED      June 21, 2006 Letter BPV to FDA re G2 Everest Study (G051304) IDE Supplement
 5333                   Feb. 2, 2007 Letter BPV to FDA re G2 Everest Study (G051304) Annual Progress Report
 5334                   Sept. 21, 2007 Letter FDA to BPV Questions re G2 Everest Study (G051304)
 5335                   Aug. 23, 2007 Letter BPV to FDA re G2 Everest Study (G051304) Annual Progress Report
 5336                   Oct. 25, 2007 Letter BPV to FDA re Responses to FDA re G2 Everest Study (G051304), BPV-17-01-00123498 -562
 5339                   Jan. 15, 2008 FDA Clearance Letter G2 Filter Retrievable (K073090) (Substantial Equivalence)
 5340                   Oct. 31, 2007 BPV's G2 Filter Retrievable Traditional 510(k) (K073090)
 5343                   Aug. 29, 2005 FDA Clearance Letter re G2 Permanent (K050558) (Substantial Equivalence)

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 Trial
            Notes                                                          Description
Ex. No.
 5344                   July 28, 2005 Letter FDA to BPV re AI re Modified Recovery (K050558)
 5348                   Mar. 30, 2005 Letter FDA to BPV re Modified Recovery (K050558)
 5349                   Mar. 2, 2005 BPV's Modified Recovery Filter Special 510(k) (K050558)
 5350     REDACTED      June 3, 2005 Letter BPV to FDA re Modified Recovery conversion Traditional 510(k) (K050558)
 5352                   Aug. 10, 2005 Letter BPV to FDA Responses to AI re G2 (K050558)
 5353                   Nov. 25, 2005 FDA Clearance Letter G2 Filter - Jugular (K052578) (Substantial Equivalence)
 5354                   Sept. 19, 2005 BPV's G2 Filter - Jugular Subclavian Delivery Kit Special 510(k) (K052578)
 5361                   Sept. 25, 2006 BPV's G2 Filter - Femoral Delivery Kit Special 510(k) (K062887)
 5362                   Oct. 26, 2006 FDA Clearance Letter G2 Filter - Femoral Delivery Kit (K062887)
 5368                   July 30, 2008 FDA Clearance Letter G2 Express Filter (K080668) (Substantial Equivalence)
 5373                   Mar. 7, 2008 BPV's G2 Express Filter Special 510(k) (K080668)
 5376                   Oct. 31, 2008 FDA Clearance Letter G2X Filter (K082305) Substantial Equivalence
 5379                   Aug. 12, 2008 BPV's G2X Filter Special 510(k) (K082305)
 5384                   G2 Express Feasibility Acute Animal Study Report TR-07-05-18
 5385                   G2 Express Filter Arm Fatigue Comparison TR-07-07-04
 5483                   sopq1417500 Rev 1 -- Statistical Complaint Trending Procedure PMA Related, BPV-17-01-00144123 - 126
 5486                   Dec. 17, 2009 Letter from BPV to FDA re Eclipse Filter System Response to FDA Questions (K093659)
 5488                   June 21, 2010 Letter from BPV to FDA re Eclipse Filter System Response to FDA Questions (K101431)
 5523                   ETR-04-03-05 (RNF Characterization testing comparing GFO v. NMT manufactured filters) (followed TPR-04-02-
                        02) ETR-04-03-05, Rev. 0 (GFO and NMT Manufactured Recovery; Filters Migration Resistance Comparison, Phase
                        1)



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 Trial
              Notes                                                          Description
Ex. No.
 5526                     TPR-04-02-02 (Protocol for RNF Migration Testing v. Competitive) Test Protocol Number TPR-04-02-02 (Rev. 0) --
                          Characterization of the Recovery Filter (RF) - Migration Resistance
 5534                     Picture of Clot from Feb. 2004 RNF Migration
 5536                     Meeting Summary from Filter Expert Panel June 1, 2006
 5537                     June 2006 Expert Panel Meeting Slides
 5539     Only admitted   G2 Caudal Migration Failure Investigation Report Aug. 4, 2005 G2 Filter Caudal Migration Failure Investigation
          pgs. 12 -32     Report (FIR-06-01-01) G2 Caudal Migration Failure Investigation Report
 5560                     Standard Operating Procedures / Division Operating Procedures -- CQA-STD-R002 Rev 11, BPV-17-01-00166749 -
                          776.
 5561                     Standard Operating Procedures / Division Operating Procedures -- CQA-STD-R002 Rev 12, BPV-17-01-00166777 -
                          806
 5563                     Standard Operating Procedures / Division Operating Procedures -- CQA-STD-R002 REv 14
 5565                     Standard Operating Procedures / Division Operating Procedures -- RA-STD-002 Rev 10
 5586                     May 20, 2010 BPV's Eclipse Filter Special 510(k) (K101431)
 5587                     June 18, 2010 Letter FDA to BPV re FDA AI Demand re Eclipse (K101431)
 5588                     Dec. 15, 2009 Letter FDA to BPV re FDA Al Demand re Eclipse (K093659)
 5589                     June 22, 2010 - FDA Clearance Letter for Eclipse Filter (K101431) (Substantial Equivalence)
 5593                     Aug. 14, 2009 Conference FDA and BPV re future Eclipse Filter 510(k)
 5602     REDACTED        FDA CONTACT REPORT January 7 2010 FINAL
 5612     REDACTED        Nov. 17, 2009 (Filters and future submissions)
 5691     Only admitted   BPV FDA 483 Update Response March 26, 2015, BPV-17-01-00200156 - 338
          pgs. 12-32



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              Notes                                                          Description
Ex. No.
 5706     Only admitted   September 3 2015 Update Response to Warning Letter issued July 13 2015.pdf
          pgs. 48-61
 5851                     TD-04698 Retrospective IVC Filter Review.pdf
 5872                     FDA Warning Close Out Letter
 5874                     Bard filter rate information December 2016
 5877                     1996 Memo from Veronica Price
 5879                     April 11, 2006 Letter to FDA re Caudal Migration
 5880                     March 23, 2006 Letter to FDA re G2 Caudal Migration
 5881                     May 11, 2006 Letter to FDA re Caudal Migration
 5905                     Jan. 22, 2005 Email to FDA
 5923     REDACTED        September 2010 Letter to Clinicians re FDA PHN
 5929                     TR-07-12-01 (Test Report re G2 Express DV& V Flat Plate Fatigue and Corrosion)
 5931                     G2X (Jugular) 2009.10 – PK5100070 rev. 5 IFU
 5942                     January 7, 2010 FDA PowerPoint Presentation
 5946                     QMBR—July 2006
 5949                     ETR-06-05-02 (Test report re G2® Clot Trapping Efficiency)
 5967                     G2 Risk Benefit Analysis (RBA-0003, Rev. 0)
 5970                     HHE re G2 Caudal Migration February 15, 2006
 5991                     FM1287100 Rev. 5 (MDR Reportability Guidelines)
 5994                     TD-04316 Nov. 4, 2015 FDA and Bard Teleconference
 5995                     TD-04326 Oct. 26, 2015 FDA and Bard Teleconference
 6013                     Dec. 27, 2010 Letter from BPV to FDA re Meridian

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 Trial
            Notes                                                             Description
Ex. No.
 6046                     August 28, 2006 EVEREST Medical Monitor Adjudication Meeting Minutes
 6061                     Aug. 22, 2005 Internal FDA memo reviewing BPV's Responses to FDA Al re G2 (K050558)
 6064                     July 26, 2005 Internal FDA memo re BPV Responses to FDA AI re Modified Recovery (K050558)
 6075                     Nov. 10, 2004 FDA Internal Memo re Dear Doctor Letter
 6082                     FDA_PRODUCTION_00001288 -- July 2, 2003 Email chain FDA and BPV re Recovery Retrievable (K031328)
 6089                     Product Development Cycle PPT
 6842                     ACR-SIR-SPR Practice Parameter for the Performance of Inferior Vena Cava (IVC) Filter Placement for the
                          Prevention of Pulmonary Embolism. Revised 2016.

                    ***   Note: “Admitted for the limited purpose to establish knowledge to the medical community, not for the truth of the
                          matter asserted.”
 6892                     Binkert CA, Drooz AT, Caridi JG, Sands MJ, Bjarnason H, Lynch FC, Rilling WS, Zambuto DA, Stavropoulos SW,
                          Venbrux AC, Kaufman JA. Technical success and safety of retrieval of the G2 filter in a prospective, multicenter
                          study. J Vasc Interv Radiol. 2009 Nov;20(11):1449-53. doi: 10.1016/j.jvir.2009.08.007.
 6991                     FDA Safety - Inferior Vena Cava (IVC) Filters: Initial Communication: Risk of Adverse Events with Long Term Use,
                          08/09/2010.
 6992                     FDA Safety Communications, Removing Retrievable Inferior Vena Cava Filters. 05/06/2014.
                          http://wayback.archive-
                          it.org/7993/20170722215731/https://www.fda.gov/MedicalDevices/Safety/AlertsandNotices/ucm396377.htm
 6993                     FDA Safety Communications, Removing Retrievable Inferior Vena Cava Filters: Initial Communication. 08/09/2010.
                          http://www.fda.gov/MedicalDevices/Safety/AlertsandNotices/ucm221676.htm
 7312                     SIR Guidelines for IVC Filters

                    ***   Note: “Admitted for the limited purpose to establish knowledge to the medical community, not for the truth of the
                          matter asserted.”


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            Notes                                                           Description
Ex. No.
 7411                  2008 Surgeon General's Call to Action re PE and DVT
 7753                  2014 Draft FDA Guidance re Benefit-Risk Factors When Determining Substantial Equivalence in Premarket
                       Notifications 510k with Different Technological Characteristics
 7758                  2014 FDA Guidance re 510k Evaluating Substantial Equivalence in Premarket Notifications
 7771                  Braun Vena Tech LP Femoral – October 2010
 7787                  Cordis Optease Femoral Jugular Antecubital - 2013
 7795                  Screenshot from FDA, MAUDE - Manufacturer and User Facility Device Experience, available online at
                       https://www.accessdata.fda.gov/ scripts/cdrh/cfdocs/cfmaude/search.cfm
 7960                  IVC Filters Clinical Overview
 7961                  Corporate Quality Assurance Manual, Standard for Product Complaint Handling
 7962                  Corporate Quality Assurance Manual, Standard for Medical Device Reporting
 7900                  Demonstrative depiction of sales of bard’s retrievable IVC filters
 8325                  Eclipse IFU 02.2010 PK5100600 Rev. 1
 8358                  TR-09-10-15 -- Eclipse Flat Plate Fatigue and Corrosion Examination of the Vail (Eclipse) Filter
 8359                  TR-09-10-16 DV&V Eclipse Filter Arm Fatigue Comparison Study (Project #8113)
 8362                  Eclipse Filter Patient Questions & Answers
 8368                  TP-09-10-15 Rev. 0 - Eclipse DV&V Flat Plate Fatigue and Corrosion Test Protocol
 8482                  Bard IVC Filter G3 Design/Development Timeline
 8546                  Draft Test Report re Rotary Beam Fatigue of Nitinol Wire
 8572                  G3 Meeting Minutes Nov 27, 2007
 8574                  TR 09-10-10, Test Report Cyclic Fatigue Testing of Electropolished Vail Filter Wire
 8575                  TP 09-10-10, Test Protocol Cyclic Fatigue Testing of Electropolished Vail Filter Wire


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      Exhibit 2 – Admitted Exhibit List from Bellwether Trials and Documents No Longer Subject to Protective Order

 Trial
             Notes                                                           Description
Ex. No.
 8583                    G3 Project Status Report April 19, 2006
 8837                    Defendants' Exhibit 10 to Joint Report on Determining Filter Type
 9080                    10/7/07 Email from Dr. Lehman


                                   Document deemed no longer subject to the Protective Order


Trial Ex.
              Notes                                                          Description
  No.
908                      Ciavarella Deposition, 03/01/2011 - Exhibit 12 - 5/11/2005 "Dear Colleague" letter from BPV re. the Recovery filter
                         system




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